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                         Exhibit 1
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                                    Shannon M. Blick,

                                         Plaintiff,

                                            v.

              Ann Arbor Public School District, Ann Arbor Board of Education,

                 Shonta A. Langford, Dawn Linden, and Jeanice Kerr Swift,

                                       Defendants.



                            Michael D. Pakter’s Expert Report

        On Shannon M. Blick’s Economic Damages - Lost Salary, Benefits and Pension




                                    Michael D. Pakter

                                     CPA, CFF, CGMA
                                     CFE, CVA, MAFF
                                     CA, CIRA, CDBV

                                   Managing Member
                              Gould & Pakter Associates, LLC
                                203 N. LaSalle, Suite 2100
                                  Chicago, Illinois 60601


                                      April 15, 2022
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 SCOPE OF ENGAGEMENT

 Gould & Pakter Associates, LLC (“G&P”) and I were engaged, effective January 18, 2022, by
 Tishkoff PLC, Plaintiff’s legal counsel (“Retaining Counsel”), in the matter of Shannon M. Blick
 (“Plaintiff”) v. Ann Arbor Public School District, Ann Arbor Board of Education, Shonta
 A. Langford, Dawn Linden, and Jeanice Kerr Swift (collectively, “Defendants”). 1 Retaining
 Counsel engaged G&P and me to determine Plaintiff’s economic damages assuming
 Defendants’ liability.

 I am a Managing Member of G&P. G&P’s Managing Members are members of the American
 Institute of Certified Public Accountants (“AICPA”) Forensic and Valuation Services Section
 (“FVS”) and Private Companies Practice Section (“PCPS”). G&P is affiliated with Friedman &
 Huey Associates LLP (“F&H”), a full service certified public accounting firm providing tax,
 accounting and business consulting, compliance, planning and advice throughout the United
 States.

 G&P is a certified public accounting firm that, among other services, provides financial
 forensics, commercial litigation services, internal investigations and financial analysis of
 disputes; calculates lost profits, economic damages, insurance claims, and earn-outs; values
 closely held businesses for litigation, family law services, estate and gift tax compliance and
 bankruptcy and business litigation; traces undisclosed assets and analyzes financial transactions
 and balances; determines sources of funds used to acquire assets; and reconstructs incomplete
 accounting and financial information.

 This expert report includes a description of the generally accepted, peer reviewed
 methodologies that guided my work, my understanding of the background of the issues, my
 assumptions, the methodology I followed and the information and/or documentation I
 considered, reviewed and/or relied on.

 This expert report and accompanying schedules present my financial analysis, my findings, my
 conclusions, a complete statement of my opinions and the bases for those opinions and the
 facts, data and assumptions considered in forming them. My professional profile, including
 details of my prior publications and testimony, accompanies this expert report.




 1
  Shannon M. Blick, Plaintiff, v. Ann Arbor Public School District, Ann Arbor Board of Education, Shonta A. Langford,
 Dawn Linden, and Jeanice Kerr Swift, Defendants, In the United States District Court for the Eastern District of
 Michigan, Case No. 2:19-cv-12127.

                                                          1
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 G&P’s fees for its professional services are based on actual time expended on the engagement
 by its Managing Members and its Associates at agreed-upon hourly billing rates. G&P’s
 compensation in this matter is not contingent on the outcome of this matter and/or any judicial
 findings. G&P may be reimbursed for certain out-of-pocket expenses not waived.

 Agreed-upon hourly billing rates for this matter are Managing Members $450-550, Senior
 Associates $320-350, Associates $150-250 and Paraprofessionals $100-150. I and the Senior
 Associate, Associate and Paraprofessional on this engagement have hourly billing rates of $460,
 $330, $230, and $130 respectively. At the date I signed this expert report, G&P has not yet
 billed Retaining Counsel for this study.

 In completing this engagement, I reviewed, analyzed, and/or extracted information from
 documents provided to me and/or from my research. At times, I refer to such information,
 documentation and/or research to support my conclusions and opinions. These references are
 not necessarily the only support for my conclusions and opinions.

 In my opinion, the representations, information, documentation and/or research are of types
 reasonably relied on by experts in similar engagements. Absent indications to the contrary
 and/or unless and until shown to the contrary, I accepted the representations, information,
 documentation and/or research without independent verification and assume it will be
 acceptable to the fact finder.

 To the extent any representations, information, documentation and research – and my
 understanding thereof - are shown to be inaccurate or incomplete, I reserve the right to
 amend, update and/or supplement my conclusion and/or opinions upon receipt of additional
 representations, information, documentation, research and/or understanding.




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 EXPERIENCE AND QUALIFICATIONS

 As described in additional detail in this expert report and my accompanying professional profile
 (Exhibit A), I have more than 40 years of experience in accounting and forensic accounting,
 business economics and investigations in numerous industries and diverse engagements,
 including more than 20 years of experience in determining economic damages and performing
 business valuations.

 I have participated in public hearings and alternative dispute resolutions, submitted expert
 reports in several jurisdictions and testified in arbitrations, regulatory proceedings, and litigated
 disputes. State, Federal and Bankruptcy Courts, as well as arbitral bodies, have recognized me
 as an expert in accounting, financial analysis, forensic accounting, economic damages, business
 valuation and business economics.

 I am a Certified Public Accountant (“CPA”), registered and licensed in the State of Illinois. The
 American Institute of Certified Public Accountants (“AICPA”) has recognized me as additionally
 Certified in Financial Forensics (“CFF”) and as a Chartered Global Management Accountant
 (“CGMA”).

 I earned the National Association of Certified Valuators and Analysts (“NACVA”) Certified
 Valuation Analyst (“CVA”) designation having completed its business valuation specialty
 program and earned its Master Analyst in Financial Forensics (“MAFF”) designation as a result
 of completing its business and intellectual property damages specialty program. The MAFF
 credential is designed to provide assurance to the legal and business communities that the
 credential holder possesses a level of experience and knowledge deemed acceptable by the
 NACVA to provide competent and professional financial forensic support services.

 The Association of Insolvency and Restructuring Advisors (“AIRA”) has awarded me its Certified
 Insolvency and Restructuring Advisor (“CIRA”) certificate, recognizing my knowledge and
 proficiency related to situations involving distressed and/or insolvent entities, and its
 Certification in Distressed Business Valuation credential (“CDBV”), a certification uniquely and
 specifically formulated for the performance of services encompassing valuation of
 underperforming assets, including distressed and/or bankrupt companies.

 I am a Certified Fraud Examiner (“CFE”), which credentials denote proven expertise in fraud
 prevention, detection, and deterrence. I earned a Chartered Accountant (“CA”) credential and
 my undergraduate academic education was in accounting, auditing, commerce, and business
 economics. I have taught and completed continuing education courses to stay current with
 professional issues and/or as required to maintain my certifications. Some continuing
 education courses have led to additional certifications, some with and some without experience
 and/or examination requirements.


                                                   3
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 GENERALLY ACCEPTED METHODOLOGY

 I and/or others working at my direction performed our work using generally accepted and/or
 peer reviewed accounting, forensic accounting, financial and economic damages analyses
 and/or methodologies normally and routinely used by professionals performing economic
 damage determinations, financial analyses, investigations, valuation analyses, accounting and
 forensic accounting engagements.

 In so doing, I was guided by the standards contained in the American Institute of Certified
 Public Accountants (“AICPA”) Code of Professional Conduct including, but not limited to, ET
 §1.300.001, the General Standards Rule. 2

 While performing my work, I reviewed, analyzed, considered and was guided by, to the extent
 applicable, professional standards and guidance including, but not limited to, those described
 below:

      •   AICPA Standards and Practice Aids including Statements on Standards for Forensic
          Services (“SSFS”) issued by the AICPA Forensic and Valuation Services Executive
          Committee and Forensic and Valuation Services Practice Aids authored by the AICPA
          Forensic and Litigation Services Damages Task Force.

      •   Generally Accepted Accounting Principles (“GAAP”), 3 as issued by the Financial
          Accounting Standards Board (“FASB”), to the extent that GAAP may apply; and Special
          Basis Frameworks4 to the extent that they may apply.

 22 ET §1.300.001 provides that a member of the AICPA shall comply with: (a) Professional Competence – undertake
 only those professional services that the member can reasonably expect to be completed with professional
 competence; (b) Due Professional Care – exercise due professional care in the performance of professional
 services; (c) Planning and Supervision – adequately plan and supervise the performance of professional services;
 and (d) Sufficient Relevant Data – obtain sufficient relevant data to afford a reasonable basis for conclusions or
 recommendations in relation to any professional services performed.
 3 U.S. generally accepted accounting principles (GAAP) are accounting rules used to prepare, present and report
 financial statements for a wide variety of entities, including publicly-traded and privately-held companies and non-
 profit organizations. GAAP is published as the FASB Accounting Standards Codification® (the ASC) which represents
 the single source of authoritative accounting literature for general purpose nongovernmental financial statements
 in the United States. The ASC provides the authoritative domestic U.S. accounting framework that sets forth the
 rules and standards regarding recognition, measurement, presentation, and disclosure that apply to financial
 statements. These principles govern the recognition and measurement of transactions and prescribe the
 information that must be presented and disclosed in financial statements.
 4 A special-purpose framework in U.S. accounting refers to a system of accounting other than GAAP. As explained
 in AICPA Professional Standards, Clarified Auditing Standards AU-C Section 800, Special purpose frameworks are a
 financial reporting framework other than GAAP that is one of the following bases of accounting: (a) Cash Basis. A
 basis of accounting that the entity uses to record cash receipts and disbursements and modifications of the cash
 basis having substantial support; (b) Tax Basis. A basis of accounting that the entity uses to file its tax return for

                                                           4
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     •   Litigation Services Handbook, The Role of the Financial Expert, Sixth Edition, Roman L.
         Weil, Daniel G. Lentz and Elizabeth A. Evans, John Wiley & Sons, Inc., Hoboken, NJ, 2017
         (“Weil Text”).

     •   The Comprehensive Guide to Economic Damages, Sixth Edition, edited by Nancy J.
         Fannon and Jonathan M. Dunitz (“Fannon Text”).

     •   Measuring Damages Involving Individuals: a CPA’s Litigation Service Guide with Case
         Studies, Holly Sharp, American Institute of Certified Public Accountants (“Sharp Text”).




 the period covered by the financial statements; (c) Regulatory Basis. A basis of accounting that the entity uses to
 comply with the requirements or financial reporting provisions of a regulatory agency to whose jurisdiction the
 entity is subject; (d) Contractual Basis. A basis of accounting that the entity uses to comply with an agreement
 between the entity and one or more third parties other than the auditor; (e) Other Basis. A basis of accounting that
 uses a definite set of logical, reasonable criteria that is applied to all material items appearing in financial
 statements.

                                                          5
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 METHODOLOGY

 I was engaged to determine Plaintiff’s economic damages assuming Defendants’ liability. In
 completing this engagement, I applied my expertise in accounting, financial analysis, financial
 forensics, economic damages, business valuation and/or investigations and made certain
 assumptions, which, unless implicit, are disclosed in this expert report. I considered certain
 facts and data and performed certain procedures listed below and/or in certain other sections
 of this expert report:

    1. Considered the First Amended Complaint and Jury Demand and Exhibits A through B
       attached thereto.

    2. Considered Defendants’ Answer to Plaintiff’s First Amended Complaint and Affirmative
       and Other Defenses.

    3. Considered the Plaintiff’s Rule 26(a)(1) Initial Disclosures.

    4. Considered Defendants' Initial Disclosures.

    5. Considered the following information and/or documentation produced during
       discovery/provided by Retaining Counsel:

            a. Federal Income Tax Returns 1040 for Marcus A. and Shannon M. Blick – 2016-
               2021.

            b. Shannon Marie Blick W-2 Wage and Tax Statements from Ann Arbor Public
               Schools – 2015-2021.

            c. Shannon Marie Blick Pay Stubs for Ann Arbor Public Schools – Lawton
               Elementary – 2015-2021.

            d. AAAA Salary Schedule 2021-2022.

            e. 2021-2022 AAEA Teachers Degree/Step.

            f. Email to Shannon Blick from Holly Scherer dated August 12, 2021 to confirm
               assignment.

            g. Current Benefits, Confirmation Statement for Mrs. Shannon M. Blick as of April
               12, 2021.



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            h. Current Benefits, Confirmation Statement for Mrs. Shannon M. Blick as of April
               11, 2022.

            i.   Michigan Office of Retirement Services – State Employees Defined Benefit Plan.

    6. Interviewed Shannon M. Blick regarding her salary, benefits, pension and expected
       retirement date.

    7. Prepared various financial analyses included in schedules accompanying this expert
       report and incorporated by reference.

 My methodology and the analysis sections that follow are presented from an accounting,
 financial forensics, financial analyses and/or business economics point of view. I am not
 reaching legal conclusions and I am not rendering legal opinions.

 At times, my narrative discussion of my financial analyses may contain amounts that are
 approximate and/or rounded for presentation. In any accompanying schedules and/or charts,
 amounts may have been rounded and/or may contain rounding adjustments.




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  BACKGROUND

  My understanding of the selected background facts described below are intended solely to
  identify the parties, chronology and/or transactions at issue in this litigation to provide some
  context to the reader of this expert report. The selected facts listed below are not intended to
  constitute a comprehensive description of all applicable contextual background.

  This section of this expert report is not intended to represent all the facts relating to this
  litigated dispute. I have not made an independent factual determination as to the truth of all
  the facts presented below. It is my understanding that the litigants may dispute some of the
  description, characterization and/or the completeness of the facts set forth below.

      •   Plaintiff is an individual residing in the City of Ann Arbor, State of Michigan. 5

      •   Defendant Ann Arbor Public School District (“AAPSD”) is a school district organized
          under the laws of the State of Michigan, located in the City of Ann Arbor, State of
          Michigan.6

      •   Plaintiff began her employment with AAPSD as Principal of Lawton on September 16,
          2013.7

      •   Since her above hire by AAPSD, Plaintiff served as the Principal at Lawton.8 Throughout
          her employment with AAPSD for approximately six years, Plaintiff maintained an
          exemplary employment record. 9

      •   From the commencement of Ms. Blick’s assumption of her duties as Lawton’s Principal
          in September 2013 through end of the 2018 public school summer break, Plaintiff had a
          spotless and pristine employment record with AAPSD, including the complete absence
          of any warnings, disciplines, suspensions, complaints, write-ups, grievances, charges or
          negative employment actions of any type.10




  5
    First Amended Complaint and Jury Demand, paragraph 1.
  6
    First Amended Complaint and Jury Demand, paragraph 2.
  7
    First Amended Complaint and Jury Demand, paragraph 24.
  8
    First Amended Complaint and Jury Demand, paragraph 25.
  9
    First Amended Complaint and Jury Demand, paragraph 26.
  10
     First Amended Complaint and Jury Demand, paragraph 35.

                                                       8
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         •   As particularly recounted in Count 2, Count 4 and the general allegations in Plaintiff’s
             First Amended Complaint, Defendants violated Plaintiff’s constitutional rights, and
             retaliated against Plaintiff for exercising her constitutional rights, by, inter alia, by
             suspending Plaintiff and placing her on administrative leave on April 26, 2019,
             constructively terminating Plaintiff’s employment with AAPSD, and formally and
             officially terminating Plaintiff’s employment with AAPSD on June 30, 2021.

         •   Defendants conduct and omissions caused Ms. Blick significant damages and injuries,
             including: economic loss, extreme emotional distress; lost wages and income, past and
             future; lost benefits, past and future; loss of job and career opportunities; loss of
             earning capacity; extreme emotional distress, humiliation and mortification; psychiatric
             and physiological injury; loss of esteem in the community, damages to personal
             reputation; damage to business reputation; loss of enjoyment of the ordinary pleasures
             of everyday life; and loss of the ability to pursue her employment of training and
             choice.11




  11
       First Amended Complaint and Jury Demand, paragraph 112.

                                                         9
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  ANALYSIS

  I computed Plaintiff’s economic damages assuming Defendants’ liability as follows:

       1. Computed lost backpay from June 7, 2021 (the date Plaintiff no longer received a
          Principal salary or any compensation from AAPSD and was unemployed) to August 23,
          2021 (the date Plaintiff was hired by AAPSD as a Teacher at a Teacher’s salary).

       2. Computed lost backpay from August 24, 2021 to December 31, 2022 (the assumed date
          of trial award) based on the Principal/Teacher salary differential.

       3. Computed lost front pay from January 1, 2023 (the assumed date of trial and award) to
          the expected retirement date of age 67.12

       4. Computed lost pension from the expected retirement date to the end of Plaintiff’s
          expected natural life at age 83.13

       5. Computed lost benefits based on the amount Plaintiff paid out of pocket from June 7,
          2021 to August 23, 2021 plus the Principal/Teacher benefit differential thereafter.

       6. Added 5% prejudgment interest to the computation of Plaintiff’s backpay.

       7. Computed the present cash value of Plaintiff’s front pay discounted at 3.02% 14

       8. Included an estimated 1.1% cost of living allowance (“COLA”) on the Principal/Teacher
          salary and benefits starting in 2023.

       9. Computed the additional economic damage resulting from the award being taxed at a
          higher rate than if it was earned over individual tax years.

       The above computations are presented in detail in the schedules attached as Exhibit B.




  12
     According to Full Retirement Age. http://www.ssa.gov/planners/retire/1960.html, the average age of full
  retirement in the United States is approximately 67 years.
  13
     Social Security Actuarial Life Table – female age 42 – life expectancy 40.89 = 82.89.
  14
     20-year Treasury Rate at April 11, 2022.

                                                         10
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  EXPERT OPINIONS AND BASES THEREOF

  Based on my knowledge, skill, experience, training and education, the information and/or
  documentation I reviewed, my understanding of the facts at issue, the assumptions I made and
  the results of the procedures I performed, it is my opinion, to a reasonable degree of certainty,
  that Plaintiff’s economic damages, as set forth below are $1,347,906.

          Plaintiff’s Economic             Retirement at Age 67
          Damages
          Back Pay                                $66,384
          Front Pay                               $596,334
          Lost Pension                            $358,859
          Prejudgment Interest                     $2,201
          Tax Component Award                     $324,398
          Total Economic Damages                 $1,347,906

  The economic damages I computed relate only to Plaintiff’s lost wages, benefits, and pension.
  They exclude loss of job and career opportunities; extreme emotional distress, humiliation and
  mortification; psychiatric and physiological injury and permanent mental disturbance; loss of
  reputation and esteem in the community, damages to personal reputation; damage to business
  reputation; loss of enjoyment of the ordinary pleasures of everyday life; and loss of the ability
  to pursue her employment of choice.

  A description of my knowledge, skill, experience, training and education, the information
  and/or documentation I reviewed, my understanding of the facts at issue, the assumptions I
  made, the results of the procedures I performed and the bases for my opinion are set forth in
  this expert report and/or in the schedules accompanying this expert report that are
  incorporated by reference.




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                        EXHIBIT A
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  MICHAEL D. PAKTER


                                                          CERTIFICATIONS

  Chartered Global Management Accountant (CGMA), (2012)
  Certified Valuation Analyst (CVA), (2011)
  Master Analyst in Financial Forensics (MAFF), (2009)
  Certified in Financial Forensics (CFF), (2008)
  Certification in Distressed Business Valuation (CDBV), (2006)
  Certified Insolvency and Restructuring Advisor (CIRA), (2002)
  Certified Fraud Examiner (CFE), (1994)
  Certified Public Accountant (CPA), (1988)
  Chartered Accountant (CA), (1980) (Non-Dues Paying)

                                                             EDUCATION

  Bachelor of Commerce, Witwatersrand University, South Africa (1974-1976)
  Bachelor of Accountancy, Witwatersrand University, South Africa (1977-1979)
  Bankruptcy Mediation Certificate Program, DePaul University (2000)
  Construction Management Certificate Program, DePaul University (2007)
  Continuing Education, including AICPA, ICPAS, ACFE, AIRA, NACVA (1986 - present)

                                                       RANGE OF EXPERIENCE

  Mr. Pakter focuses his professional practice on forensic accounting, economic damages, financial analyses, distressed
  businesses, fraud/financial investigations, business valuation, business economics and litigation support services. He has
  provided expert services in matters involving accounting, lost profits/earnings, insurance claims interruption, breach of
  contract, audit failure, analysis of financial transactions/balances, alter ego, bankruptcy, fraud, accounting books and records
  and the reconstruction of incomplete, misstated and/or falsified financial information.

  Mr. Pakter provides consulting and dispute avoidance/resolution services to trial lawyers, trustees, examiners, receivers,
  business owners and managers and units of federal, state, and local government. Many engagements combine complex
  financial analysis, economic damages, valuation, and distressed business issues, often involving applying many professional
  disciplines to assist in resolving complex commercial litigation and business disputes.

  Mr. Pakter has more than 40 years of experience in accounting and forensic accounting, business economics and investigations
  in numerous industries and diverse engagements, including more than 20 years of experience in economic damages and
  business valuations. State, Federal and Bankruptcy Courts, as well as arbitrators, have recognized him as an expert in
  accounting, forensic accounting, economic damages, financial analysis, business valuation and business economics. He has
  served as a Rule 213(f)3 expert witness, a Rule 30(b)(6) witness and a Rule 1006 witness.

                                                  PROFESSIONAL ORGANIZATIONS

  National Association of Certified Valuators and Analysts (NACVA) Practitioner Member; Assistant Editor (National Litigation
  Consultants’ Review 2013-2016); Editorial Board (QuickRead); Editorial Board (The Value Examiner); Litigation Forensics Board
  (2012-2014, 2017-2020); Foundations of Financial Forensics Instructor; Instructor of Exceptional Distinction (2012+2020);
  Outstanding Member Award (2015); and MAFF (Bankruptcy, Insolvency and Restructuring Track) Instructor
  Illinois CPA Society (ICPAS) Member; Past President (North Shore Chapter); Member, Ethics Committee (1991-1995); Chair,
  Fraud Conference (2005-2009); Member, Accounting Principles Committee (2010-2012); and Chair, Forensic Accounting
  Conference/Workshop (2010-2013); Healthcare Compliance & Fraud Conference (2016-2017)
  American Institute of Certified Public Accountants (AICPA) Member, Forensic and Valuation Services & Private Companies
  Practice Sections
  Association of Certified Fraud Examiners (ACFE) Member and Past President (Chicago Chapter); 25 Year Pin
  Association of Insolvency and Restructuring Advisors (AIRA) Member
  Chicago International Dispute Resolution Association (CIDRA) Treasurer




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  MICHAEL D. PAKTER

                                               PROFESSIONAL AND BUSINESS HISTORY

  Gould & Pakter Associates, LLC
       Managing Member (2004 - present)
  Russell Novak & Company, LLP
       Partner (2000 - 2004); Principal (1998 - 1999)
  Rome Associates LLP
       Principal (1996 - 1998)
  Altschuler, Melvoin and Glasser
       Manager/Senior Manager, Litigation (1991 - 1996); Supervisor/Manager, Review and Technical Guidance (1986 - 1991)
  Sussman & Goddard
       Manager, Accounting and Auditing; Manager, Technical and Training (1985 - 1986)
  Macsteel Group of Companies
       Corporate Treasurer/Corporate Secretary, (1982 to 1985)
  SADF Directorate of Internal Auditing
       Accounting, Auditing, Financial Analysis and Fraud Detection, (1980 to 1982)
  Schwartz Fine & Company/Arthur Andersen Worldwide
       Accounting, Auditing and Financial Analysis, (1977 to 1980)

                                                  REPRESENTATIVE ENGAGEMENTS

  Courts and arbitral bodies have recognized Mr. Pakter as an expert in economic damages, accounting, financial forensics,
  financial analysis and business economics. For illustrative purposes only, his expertise is additionally described in the areas
  listed below and the representative engagements that follow:

  •    Economic DamagesLost profits/earningsbusiness interruptionbusiness damages and other damages

  •    Litigation SupportDiscovery assistanceevidence/deposition/trial binderstestimonylitigation support

  •    Forensic AccountingFinancial forensicsanalysis of transactions/balancesreconstructing accounting books/records

  •    Bankruptcy/Distressed BusinessesFraudulent conveyancessolvencypreferencesplan feasibility

  •    InvestigationsInternal corporate investigationsfraud detectionfinancial reporting irregularitiesemployee misconduct

  •    Valuation AnalysisContractual disputesclaimsdistressed businessesturnaroundsbankruptcy core proceedings

  •    Accounting AnalysisAccounting books and recordsinternal controlsbusiness processesbusiness performance

  •    Intellectual Property/FranchiseCopyright/trademark infringementuse of likenessroyalty auditsprojections

  •    Real Estate/ConstructionLandlord/tenant disputescosts of constructioncommon area expensesreal estate
       developers

  •    Wholesale/RetailBenchmarks”earn outs”inventoryforecastsfinancial condition/performance

  •    Manufacturing/Distribution/TransportationCost accountingcharge backsexpense categorization/reduction

  •    Federal/State/Local GovernmentVendor auditsprogram revenues/costsfalse claims




                                                                                                                                    2
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  MICHAEL D. PAKTER


                                                       ECONOMIC DAMAGES

  Determine economic damages, primarily compensatory damages based on consequences of breach of contract/fiduciary
  duties, business interruption, personal injury and wrongful death. Focus on lost profits/earnings using financial analysis to
  project the “but for world.”

  •   Determine economic damages alleged by both supplier and distributor in cross-claims, each alleging the liability of the
      other for breaching an exclusive distribution agreement with fixed purchase commitments. Submitted affidavits, expert
      reports and rebuttal reports and testified at arbitration regarding lost profits, fixed and variable costs, effective selling
      prices and future sales projections.

  •   Compute economic damages claimed by a printing company due to alleged malfunction of company’s sole printing press.
      Investigate the impact on profits from economic, industry, customer and other intervening factors other than the alleged
      malfunction and evaluated economic damages determined by opposing expert.

  •   Determine lifetime lost earnings of employee based on injuries sustained as a result of a shooting by a police officer.
      Determine lifetime lost earnings and present and future medical costs of independent owner operator based on injuries
      sustained while loading equipment. Determine lost earnings of a police officer as a result of being wrongfully denied
      promotions.

  •   Investigate property damage and business interruption claims arising from a roof collapse at a nursing home; an electrical
      fire at a car wash; a burglary at a convenience store; an explosion at an arms manufacturer; storm damage at an
      automobile vehicle dealership; and defective drums on an assembly line. Assist attorneys and clients with claims
      resolution involving insurance claims adjusters, umpires and mediators.

  •   Calculate damages claimed by a “B2C” e-commerce retailer as a result of the alleged wrongful acts of a computer software
      provider. Integrate into the damages all functional elements to have been included in multiple high-volume websites and
      determine the “but for” lost profits from lost sales, higher cost of sales and additional fixed costs over several years and
      products.

  •   Engaged by Department of Justice to determine lost earnings capacity of individuals as a result of their wrongful death,
      based on Mandatory Victims Restitution Act and case law. Incorporate minimum or last known wages, taxes, work life
      expectations, employment cost indices and lost pensions.

  •   Compute economic damages suffered as a result of actions of a key supplier. Evaluate reasonableness of lost revenue
      estimates and analyzed incremental “but for” costs incurred with special emphasis on long-run and short-run cost
      behaviors for fixed and variable costs with multiple cost drivers.

  •   Calculate property damages in local plant producing raw materials and business interruption losses in a foreign plant
      producing finished goods as a result of an acid spill. Reconcile property damages and lost profits with financial analysis of
      insurance company claim report and witness depositions.

  •   Determine Senior VP’s compensation improved after termination and opposing expert report improperly concluded to the
      contrary because of unsupported assumptions. Testify that even if wrongfully terminated, the Senior VP suffered no
      financial damages because of his employer’s conduct. Factor in alternative facts regarding expected work life,
      compensation, work-related economic benefits, taxes and prejudgment interest.

  •   Prepare Court ordered accounting of earnings lost from trading activities of a team of brokers before and after leaving a
      clearing firm. Reconstruct missing transactions and estimate unallocated overhead and other costs before and after
      effects of team leaving.




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  MICHAEL D. PAKTER

                                                        LITIGATION SUPPORT

  Provide trial lawyers and their clients with review, analysis and support in all phases of the commercial and civil litigation
  process to assist with discovery, analysis and/or preparation for deposition and trial. Focus on assembling deposition and
  trial binders concerning financial analysis, evaluating material financial transactions and the conduct of directors, offices,
  employees and professional advisors.

  •   Establish a company had excessive levels of debt, insufficient operating cash flows to service debts and negative net worth
      before the alleged improper termination of a key agreement; that its financial condition was worse than comparable
      companies and industry benchmarks; that it had a high risk of business failure; and that its eventual self-liquidation was
      not the result of the agreement termination.

  •   Engaged by public company’s legal counsel to evaluate merits of contemplated litigation against its Big Four CPA firm for
      alleged audit failures resulting in restatement of financial statements and decline in its share price. Conducted detailed
      analyses of GAAP and GAAS relating to significant misstatements in the company’s financial condition and results of
      operations and deficiencies in its internal controls.

  •   Determine that Corporate Defendants existed as separate entities with distinct business purposes, followed proper
      procedures regarding separate accounting records, properly disclosed distributions and segregated revenues, expenses,
      assets and liabilities. Establish that funds were not commingled, debts were paid as they fell due until business activities
      ceased and assets were used to pay liabilities.

  •   Perform financial analysis regarding the nature, form and substance of a merger and related transactions for a dispute
      focused on the entity’s assets, conditions precedent in the merger agreement and funds no longer available in the entity’s
      treasury after the merger. Render opinions as to the form and substance of the merger and that the transaction resulted
      in a wrongful dividend.

  •   Assist counsel for a large diversified public company to evaluate the merits of claims against prior auditors, directors and
      officers under Private Securities Litigation Reform Act of 1995, Investment Company Act of 1940, PCAOB Standards, GAAP
      and GAAS. Perform detailed analyses of specific financial transactions and balances and evaluated whether the prior
      auditors performed their work with the requisite standard of due care.

  •    Evaluate company documents, SEC reports, accountant's work product and analysts' files in a Section 10(b) 5 securities
       litigation. Provide counsel with financial analysis and discovery concerning the directors' and officers' knowledge of
       material misrepresentations to the market during the class period.

  •    Assist a national accountants’ malpractice insurance carrier, and its counsel and claims specialists, to assess the merits of
       claims brought against accountants. Evaluate and report on work product of over 50 public accounting firms and assisted
       the insurance carrier to reduce liability risks through educational programming.

  •    Estimate lost revenues that would be sustained to comply with the Americans with Disabilities Act. Performed financial
       analysis with market surveys to determine financial impact on the service provider.

  •    Determine and testify that auditors failed to follow due professional care in the course of its engagement. Review all
       discovery in the litigation, including auditors’ deposition transcripts and working papers to identify specific GAAS failures.

  •    Determine and testify that auditors exercised the requisite skill and ordinary care and properly complied with GAAS.
       Investigate, conclude and testify that audited company’s financial statements were not misstated and that all disclosures
       were adequate and proper.




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  MICHAEL D. PAKTER

                                                      FORENSIC ACCOUNTING

  Provide trial lawyers and their clients with forensic accounting services and testimony to enable financial analysis and court-
  ordered accountings in litigation. Focus on complex multiple-entity business disputes, financial reporting and evaluating the
  effect of financial transactions.

  •   Design and conduct forensic accounting procedures, on behalf of counsel for passive minority investors, on the operations
      and transactions of underperforming privately held businesses with significant cash transactions. Examine the accounting
      books and records of businesses operated by owner-managers and used financial and benchmark analyses to find
      questionable transactions and the range of estimated cash shortfalls.

  •   Engaged by counsel for family-held businesses to perform a financial analysis of related corporate defendants to
      determine whether financial/business considerations dictated that personal defendants should be liable for the
      corporations’ debts by plaintiffs’ attempt to “pierce the corporate veil.”

  •   Determine nature and extent of a manufacturer’s post-closing purchase-price adjustments after acquisition by a public
      company. Recompute the GAAP versus accelerated tax-basis accounting for Plant and Equipment.

  •   Investigate, on behalf of SEC Division of Enforcement, the propriety of the accounting and financial reporting of related-
      party transactions between hotel operating subsidiaries and parent. Issues included proper accounting for acquisitions
      generating significant revenues at year-end date.

  •   Assist counsel in their representation of investors in failed limited partnerships with significant damage claims, analyzed
      material financial transactions, developed financial analysis and investigated accounting malpractice.

  •   Investigate and report to the Receiver significant, unusual changes in the methods and patterns of cash disbursements
      prior to and following the sudden disappearance of the company’s owner-manager/physician.

  •   Analyze one company’s domination and control of another, the disregard of corporate formalities and the financial effects
      of assets distributions. Issues included cash management systems, intercompany financial reporting, “division stripping”
      and the impact of the treatment of existential liabilities.

  •   Perform specific forensic accounting procedures on behalf of industrial property company in support of substantive lease
      restructuring discussions. The company had built and leased a state-of-the-art corporate headquarters and national
      distribution warehouse. The tenant entered into a series of ill-fated acquisitions culminating in financial difficulties likely
      to result in a potential bankruptcy filing. The analyses of the tenant’s financial condition were an integral part of the
      property owner’s strategic responses.

  •   Trace and segregate cash flows, profits and resulting net assets between legal and illegal activities to enable the Court to
      determine the extent of illegal activities. Engaged on behalf of Defendant seeking to reduce sentence under Federal
      Sentencing Guidelines.

  •   Perform accounting procedures to analyze and support an expert opinion in marital dissolution proceedings regarding the
      marital or non-marital character of assets. Trace currently owned assets back to assets acquired before marriage or
      acquired during the marriage by gift, inheritance or descent.

  •   Analyze and determine additional losses suffered as a result of alleged carelessness and negligence in demolishing certain
      buildings and related facilities located on specific property earmarked for construction of an ethanol plant. Research and
      evaluate industry conditions, state of capital markets, management assumptions and the discounted cash flow modeling of
      accounting and industry experts.




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  MICHAEL D. PAKTER

                                              BANKRUPTCY/DISTRESSED BUSINESSES

  Provide trustees and trial lawyers and the debtors or creditors they represent with bankruptcy and reorganization services,
  primarily in core proceedings. Focus on performing financial analysis of material transactions, fraudulent conveyances,
  solvency and preference analyses, the forensic reconstruction of accounting books and records and plan feasibility.

  •   Demonstrate that the Debtor’s Cash Flow Projections were a well-prepared forecast of future operations, based on
      reasonable assumptions that took into consideration the changes expected as a result of the Plan Confirmation that would
      enable the Debtor to fund the Plan’s cash flow requirements.

  •   Complete solvency, preference and liquidation analyses to support counsel’s actions against lenders, management and
      professional advisors resulting from diversified corporation's default on its bank loans. Develop support for the Debtor’s
      request for the Court's denial of post-petition financing.

  •   Investigate and analyze a Debtor's pending claims and adversary proceedings against shareholders, lenders and
      professional advisors concerning a LBO transaction involving fraudulent conveyances. Analyze the impact of various
      business combinations on the Debtor’s financial condition after restructuring, performed a solvency analysis and reviewed
      material transactions contributing to the Debtor’s deepening insolvency.

  •   Demonstrate a company’s business started to decline before a specific transaction and its business continued to decline
      while related companies prospered. Issues included a pattern of transactions transferring assets and revenues to related
      companies, the liquidity of assets and the value of the use of related company assets.

  •   Provide litigation services in an action filed on behalf of unsecured creditors seeking recovery of pre-petition fraudulent
      conveyances. Perform a financial analysis of significant pre-petition transactions.

  •   Analyze and testify as to the Debtors’ financial condition after assuming certain liabilities and as to the value of the
      Debtor’s net assets. Prove that Debtors did not receive quantifiable benefits from assuming liabilities and issued checks to
      each other that did not result in checks to third parties.

  •   Review Debtor’s Amended Disclosure Statement and Plan of Recognition; compare projections to pre- and post-petition
      actual results; evaluate key assumptions included in the Debtor’s projections of sales revenues and royalty income; and
      reconstruct previously incomplete financial records.

  •   Perform a preference analysis relating to vendors and insiders of a privately held business. Prove the foundation for
      preference actions and secured original checks, invoices and wire transfers as evidence. Complete debtors’ amended
      income tax returns for the Plan Trustee.

  •   Assist manufacturing company with post-bankruptcy reorganization and restoration of operations. Issues included
      transfer and resumption of business, preserving contracts, ensuring ongoing economic viability, restructuring real estate
      entities and administrative aspects of accounting records and income tax compliance.

  •   Employed by a Chapter 7 Trustee to investigate allegedly unsubstantiated and/or fraudulent financial reporting by a
      consolidated health care provider. Provide the Trustee and legal counsel with forensic accounting and litigation
      accounting support, including reconstruction of incomplete and/or falsified financial records.

  •   Perform financial analysis and specific agreed upon procedures for a large, privately held holding-entity that operated a
      manufacturing division and managed a corporate office. Determine and attest to the sufficiency of assets to meet
      liabilities, including additional worker’s compensation judgment liability and issue an independent report detailing work
      performed and findings reached.




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  MICHAEL D. PAKTER

                                                         INVESTIGATIONS

  Conduct internal investigations on employee/officer misconduct, financial reporting irregularities and fraudulent financial
  transactions. Focus on financial analysis, examining documents, interviewing personnel, gathering evidence and performing
  whistleblower-directed or risk-based procedures to determine findings as to the nature, timing and extent of fraud
  perpetrated.

  •   Investigate of the accounting for receivables, loans, advances, suspense accounts and related transactions. Interview
      directors, officers and senior personnel, including a whistle-blower, and examine over 1,000 accounting entries in the
      general ledgers, account analyses and handwritten “second set of books.” Perform financial analyses, forensic accounting
      and investigative analyses and gather, review and control more than 3,000 documents for trial. Conclude the former CFO
      created, directed and controlled a financial reporting system to systematically and fraudulently manipulate and conceal
      true financial condition from the directors, officers, shareholders, auditors, lenders and revenue authorities for more than
      ten years.

  •   Conduct an internal corporate investigation for new management to determine the nature, timing and extent of fraud
      perpetrated by the former general manager and controller. Conduct forensic procedures to detect fraud and quantify the
      extent of fraudulent financial reporting and misconduct.

  •   Engaged by the Office of the United States Attorney to assist in qui tam originated investigation of approximately $10
      million charged to NIH and VA Federal Grants. Apply risk assessment, forensic accounting and investigative techniques to
      electronic data provided by grantee organization’s legal counsel to complete financial analysis leading to preliminary
      findings of which amounts charged under the grants were allowable, allocable, reasonable, consistent and conforming.

  •   Report to a public company’s Audit Committee on the sufficiency of the nature, timing and extent of the investigative
      and/or internal audit procedures performed on improper transactions authorized by the Senior Vice President for
      Marketing. Assist management to reestablish internal controls over the safeguarding of corporate assets against
      unauthorized use and achieve proper financial reporting.

  •   Investigate of the falsified expense reports of a foreign national senior director of a large steel company. Prove the
      director submitted expenses for reimbursement for travel to cities that he had not been in on dates presented. Discover
      the pattern of alleged fraud and the officer’s motives through an analysis of telephone bills submitted for reimbursement.

  •   Determine that a leading U.S. and international news and information company failed to design, operate and/or
      implement adequate internal controls to prevent theft of its assets by a controller. Demonstrate how the controller
      defrauded the public company because of significant deficiencies and/or material weaknesses in the design, operation
      and/or implementation of its internal controls and how it missed several opportunities at specific dates to reduce the
      amount stolen.

  •   Support SEC Division of Enforcement in administrative proceedings under SEC Rules of Practice to determine violations of
      Federal securities laws. Investigate and analyze conduct of directors, officers and auditors regarding improper revenue
      recognition of material “bill and hold” transactions.

  •   Investigate the propriety of the design and structure of financial transactions related to specific life insurance policies
      issued by an insurance carrier that were originated by a specific independent insurance producer. Review and analyze the
      use of irrevocable life insurance trusts, premium finance agreements and sale of beneficial interests to reveal the true
      nature and use of the financial transactions.




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  MICHAEL D. PAKTER

                                                       VALUATION ANALYSIS

  Provide trial lawyers and their clients with financial analysis regarding valuations, especially related to applying formulae in
  contracts, distressed businesses and/or turnaround and bankruptcy proceedings. Focus on definitions of value in contracts,
  fair values of assets and liabilities, reasonably equivalent value, future economic benefit streams, financial condition and
  contingent assets and liabilities.

  •   Reconstruct and analyze a Debtor’s restructurings, determine that its successor assumed more of its liabilities, at fair
      value, than the assets it acquired, to demonstrate the Debtor received more than reasonably equivalent value in exchange
      for assets transferred and liabilities assumed. Reconstruct the financial condition and results of operations of companies
      managed by the Debtor, benchmarking their performance to industry standards and comparable companies, to determine
      the fair values of accounts receivable, trademarks and other assets transferred by the Debtor to its successor.

  •   Determine, using a discounted cash flow analysis, the total present value of the net assets of a joint venture LLC
      established to raise, invest and manage funds on behalf of foreign investors in real estate projects. Reconcile my
      calculation to the business valuation performed on behalf of other joint venture partners and rebut the methodology,
      assumptions and information relied upon by the business appraiser.

  •   Determine and testify as to the fair value of a minority shareholder’s ownership interest in a distressed corporation as of a
      date ordered by the Arbitral Panel. Determine and compare book value, going concern value, liquidation value,
      replacement value and fair market value of corporation.

  •   Determine the value of a public company’s investment in a foreign enterprise using international accounting principles,
      financial data, financial condition, management interviews and supporting documentation. Compare value of investment
      in the foreign enterprise using “net investment value,” “book value” and other valuation bases under the insurers’
      Expropriation and Forced Abandonment Insurance Coverage of Foreign Projects.

  •   Determine fair (market) value of a distributor before and after termination of a distributor agreement, prove other expert
      wrongly concluded as to value because of failure to obtain sufficient relevant data to afford a reasonable basis for
      opinions, use of improper valuation methods, applying valuation methods improperly, failing to consider all methods and
      improperly reconciling disparate conclusions.

  •   Determine and testify as to the Fair Market Value of Equipment based on definitions and formulae in the Landlord's
      Purchase Option Agreement, the Master Lease Agreement and other agreements. Perform valuation analyses and
      incorporate the opinions and assumptions of other experts.

  •   Calculate, for the board of directors’ decision-making and performance evaluation processes, the internal rates of return
      and payback periods for investments in acquired companies, based on their expected, actual and “normalized” future
      benefit streams as compared to initial costs of acquisition.

  •   Investigate, on behalf of U.S. governmental insurer, claims filed by an energy company for losses incurred by foreign gas
      pipeline operators. Verify valuation of investor’s interests, unravel complex corporate structures and analyze extent to
      which investment was impaired by foreign government’s currency devaluation and expropriation.

  •   Determine, on behalf of the Liquidating Trustee, the fair market value of the invested capital of a company marketing a
      unique line of nutrition related products and energy drinks before and after the date of certain transactions. Analyze and
      compare the discounted cash flows based on projections prepared before and after the date of those transactions.




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  MICHAEL D. PAKTER

                                                     ACCOUNTING ANALYSIS

  Provide owners and managers of businesses, their legal counsel and insurers, with financial and accounting analysis to
  address specific business needs. Focus on analyses of contractual terms, establishing benchmarks, examining divisional
  revenues and expenses and measuring cash flows and business performance.

  •   Evaluate the reasonableness of management’s assumptions included in an architect’s forecasted and projected financial
      statements. Issues included analysis of direct and indirect costs, operating expenses and profits in contemplation of
      significant increases in interest rates.

  •   Investigate and trace, on behalf of attorney general and bankruptcy trustee, the nature, timing and extent of participants’
      contributions and distributions in a “Ponzi” scheme and assist with “claw back” proceedings. Evaluate potential recoveries
      under “Rising Tide” and “Net Investment” approaches.

  •   Analyze multi-year, multi-million-dollar construction program to modernize a city’s physical school facilities. Investigate
      and perform financial analysis of capital improvement program on behalf of inspector general. Develop benchmarks for
      fixed cost bids and change orders by school, contractor and project type and selected contracts with significant variances
      for additional review and checking.

  •   Develop a comparative financial analysis of a privately held company’s current and prior five years’ financial performance,
      including trends in key financial ratios, comparisons to peer company benchmarks and “normalizing” adjustments.

  •   Develop and implement, in close cooperation with owners and senior management, monthly executive committee
      meetings to address the primary business needs of a specialty distributor. Develop action plans and implement corrective
      action and business solutions, including provide advice on corporate restructuring and restoring several divisions to
      profitability.

  •   Investigate thefts of unclaimed cash wages and other elements of payroll fraud. Design and implement internal
      accounting controls to prevent the reoccurrence of such fraud. Present findings during an investigation by a governmental
      accounting oversight review board.

  •   Perform financial analysis of all program revenues and expenditures for a large city services department. Establish internal
      control systems and financial reporting systems to provide program managers with early warning of significant over/under
      utilization of program revenues. Attest to examinations of program revenues and costs, including financial compliance
      with federal programs.

  •   Review functions, duties and responsibilities of president and senior management of a multi-division food processing
      company. Analyze nature of acquisitions and divestitures. Identify and implement organizational changes, establish
      working committees of middle management and implement recommendations of organizational psychologists.

  •   Prepare an internal control study to document current procedures and internal controls relating to specific activities and
      locations to determine if any control objectives were not being adequately met to reduce internal control risk to
      acceptable levels.

  •   Review calculations of expected present values of actual and/or contingent asbestos and other contingent liabilities, with
      comparisons to anticipated insurance recoveries under various probability assumptions.




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  MICHAEL D. PAKTER

                                               INTELLECTUAL PROPERTY/FRANCHISE

  Provide trial lawyers, their clients and franchisees and franchisors with consulting and expert services related to intellectual
  property issues and franchise related disputes. Focus on startup businesses, economic damages related to copyright
  infringement and franchise cash flow modeling.

  •    Determine economic damages suffered by designer, manufacturer and seller of original fine furniture as a result of
       copyright, trademark and trade dress infringements by multiple unlawful manufacturers and sellers. Determine the unjust
       enrichment of the infringing companies and lost profits on infringed and companion sales.

  •    Engaged by legal counsel to investigate and report on the nature, timing and extent of multiple fraud schemes involving
       counterfeit and “buy-down” products. Describe how, in order to increase customer and revenue base, Defendants
       created, directed and engaged in multiple schemes that caused the Plaintiff to pay rebates that it otherwise would not,
       and should not, have paid.

  •    Review, analyze and render opinions relating to direct and indirect economic damages from alleged infringement of a
       copyrighted song whose lyrics were included as an element of a radio imaging piece with the creativity and production of
       others and aired on commercial radio station. Focus on an analysis in the event the trier of fact finds infringement of
       copyright claims of statutory damages and actual damages considering Plaintiff’s and Defendant’s Profits.

  •    Calculate damages suffered by franchisees as a result of franchisors’ breach of franchise agreement. Analyze lost profits
       during the “but for” period and support for assumptions in the damages model.

  •    Evaluate economic damages suffered by manufacturer as a result of a distributor’s breach of an exclusive private-label
       food production contract. Identify flaws in opposing expert’s methodology and calculations creating specific significant
       and quantifiable overstatements of damages.

  •    Review transactions acquiring and managing skilled nursing facilities and related franchised businesses and calculate
       management fees, “earn out” calculations and profits earned on charges exceeding the fair market value of goods and
       services.

  •    Reconstruct and determine the actual losses sustained by several car wash purchasers/licenses due to the alleged
       fraudulent misrepresentations made by the seller/licensor regarding the financial performance, licensee involvement and
       maintenance required to own and operate the car washes.

  •    Rebut expert report on present value of lost profits associated with alleged failure to renew franchise agreements, proving
       the damages claim was unsubstantiated and unsupported, the claim was speculative and that there were no damages.

  •    Determine that the franchisee’s payments of rents and royalties under a Master Franchise Agreement were proper,
       accurate and complete. Investigate whether the franchisee had correctly accounted for all adjustments necessary after
       acquiring certain regional franchise and non-franchise businesses.

  •    Determine the completeness of revenues due by a manufacturer and distributor of electronic equipment under a royalty
       and licensing agreement. Investigate and reconstruct the manner in which the royalty revenues were calculated and
       perform a royalty audit.

  •    Analyze the completeness and/or proper reporting of royalty payments due an individual for use of their likeness by a
       distributor of specialized products through multiple distribution channels. Investigate and recreate the quantities and
       pricing of reportable products sold over a ten-year period.




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  MICHAEL D. PAKTER

                                                  REAL ESTATE/CONSTRUCTION

  Provide developers, owners and tenants of property/equipment with financial analysis and services to resolve disputes.
  Focus on real estate development, landlord/tenant issues, environmental remediation and working with architects,
  engineers and counsel to analyze and determine costs and economic damages.

  •   Perform a financial analysis of a lump sum engineering, procurement and construction contract for a high-tech steel
      production plant to determine amounts owed to vendors. Categorize, trace and verify internal and third-party charges,
      pass-through costs and change orders to support drawdowns on letters of credit.

  •   Perform court-ordered accounting of six years of profits and losses of ten real estate developments in different stages of
      construction with varying partnership interests. Report to the Court the extent of partners’ compliance with partnership
      agreements and prepared amended financial statements and tax returns.

  •   Investigate complex international real estate transactions in a matrimonial dispute and integrate the work of U.S. and
      international experts. Prepare pre-trial summary and analysis of marital assets and assisted counsel to gain an
      understanding of complex transactions by demonstrating the true substance of the transactions.

  •   Review documentation and interview contractors regarding rehabilitation of homeless shelters to develop strategic
      responses to unresolved issues. Perform analysis of contractor and subcontractor invoices, working with architects and
      engineers to establish scope of work for binding arbitration.

  •   Analyze Landlord’s calculation of Additional Rent defined in the Building Lease and rendered expert opinion that Landlord
      failed to provide Tenant with sufficiently complete and supportable information and documentation to verify expenses
      included in the calculation. Compute, to the extent Landlord’s limited information and documentation was reliable, the
      annual aggregate overcharges of Additional Rent.

  •   Determine lost profits, sunk costs and other damages in a dispute between a real estate developer and its client over air
      rights. Economic damages included analyses of real estate development costs incurred, direct and indirect overhead of
      land parcels and replacement value.

  •   Prepare financial analysis of asbestos abatement expenditures in accordance with regulatory requirements, verified
      expenditures and reimbursement requests, reconciled costs to contracts and change orders, responded to adverse EPA
      findings and segregated costs between original scope of work and unforeseen site conditions.

  •   Assist CEO of a major law firm in recovering significant revenue in a case involving operating expenses on a lease. Discover
      and develop a proof of the lessor’s pattern of overcharging on common area expenses.

  •   Analyze key processes in a city’s ongoing capital improvement program, especially construction management policies and
      procedures. Conduct construction document reviews of a sample of new construction and major renovation projects with
      emphasis on the nature, extent and pattern of change orders.

  •   Reconstruct all annual financial statements and financial accounting books and records of rental property, including all
      cash received from and/or disbursed to partners, and prepare report as to the net amount due from one partner in the
      real estate venture to the other.

  •   Investigate a landlord/tenant dispute as to the amount of rent and common area maintenance costs charged to the tenant
      and other issues alleged in the Complaint. Trace all available invoices, summaries of costs, general ledgers, trial balances
      and check registers. Compute the annual allocations of common area maintenance costs by reference to the original
      lease, subsequent lease amendments, a reclamation agreement and correspondence between the parties.




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  MICHAEL D. PAKTER

                                                        WHOLESALE/RETAIL

  Provide wholesalers and retailers and their legal counsel with financial analysis regarding expected revenues and costs of
  revenues. Focus on economic damages, “earn outs” and evaluating the reasonableness of management’s forecasts,
  projections and assumptions.

  •   Determine accuracy and validity of “earn out” calculations of multiple wholesale business units pursuant to a Sale and
      Purchase Agreement, taking into account inconsistencies between GAAP and the Sellers’ prior practices. Investigate
      allegations that after-acquired businesses were comingled, revenues were diverted, expenses were shifted and underlying
      supporting documentation was destroyed.

  •   Determine an authorized dealer for a large retailer of tools, garden products, home electronics and appliances suffered no
      lost profits and had no damages as a result of the retailer’s actions. Find that its damages analysis was speculative,
      unsubstantiated and/or unsupported, that the authorized retailers financial performance and profitability began to decline
      before the retailer opened a competing store.

  •   Identify, on behalf of counsel for minority shareholders, selected classes of transactions for in-depth investigation to
      ensure properly accounted for in a manufacturing and distribution company’s financial books and records to establish the
      business’ true financial condition for settlement negotiations and business valuation purposes.

  •   Compare valuation of year-end retail inventory performed by public company’s officers and auditors. Issues included
      concealment of internal control deficiencies, inappropriate “roll-forward” procedures, accounting for rebates, cost
      accounting and sampling errors and fraudulent physical counting problems.

  •   Develop corporate performance measurement systems, internal controls, financial reporting, accounting policies,
      procedures and processes for a large structural steel wholesaler and retailer. Analyze profitability, liquidity and return on
      investment by customer, by warehouse and by product segment.

  •   Assist counsel with discovery, financial analysis and document requests relating to termination of a merger agreement in
      reliance on a material adverse change clause. Analyze acquired company’s GAAP earnings, revenue recognition, “earn
      out” calculations and causes of business failure.

  •   Perform a Court-ordered accounting of the amount that may be owed by a large, diversified retailer to its overseas
      supplier in the event monies were still owed at all. Verify, including by non-statistical sampling, the accounting of all
      invoices, payments and other debits and credits for a three-year period.

  •   Evaluate contracts to outsource operations to outside vendors, review bid results and assess the performance of vendors
      under contracts, including inspections to determine vendors’ compliance with contract elements. Determine damages and
      identify operational efficiencies.

  •   Investigate and identify suspicious cash and credit card disbursements of a senior executive director using specific
      investigative criteria and integrate findings into spreadsheets, calendars and other demonstrative presentations. Support
      special counsel’s investigation into executive director’s activities and its interviews of senior management and others and
      implement additional internal control procedures.

  •   Enable large coffee wholesaler to reduce several of its costs of doing business using an expense reduction approach that
      integrated non-payroll overhead audits, payroll reviews, information technology teams, reengineering of operational
      procedures and establishing and monitoring budgets.




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  MICHAEL D. PAKTER

                                      MANUFACTURING/DISTRIBUTION/TRANSPORTATION

  Provide manufacturing and distribution companies with financial analysis regarding costs of manufacturing, distribution and
  transportation. Focus on issues related to financial reporting and other disclosures, adequacy of documentation, cost charge-
  backs, costing systems, economic damages, special purpose examinations and purpose of business expenditures.

  •   Assist counsel for truck drivers’ association to determine excessive charge-backs and other damages, suffered by a class of
      independent owner-operators as a result of actions by a regulated motor carrier. Damage analysis necessitated
      reconstructing an accounting of all fuel purchases and sales and other charge-backs during the class period.

  •   Investigate and reconstruct the job-cost accounting system and internal control structure of a manufacturer of tooling
      molds to the automotive industry. Apply cost accounting principles to recompute manufacturing labor and overhead
      rates, verify in-house and outsourced material component costs and reallocate job-costs of a capital nature, in conformity
      with customer’s manufacturing guidelines

  •   Perform, on behalf of Inspector General, an in-depth investigation, evaluation and management study of a school
      transportation program. Evaluate program manager’s performance and vendors’ contract compliance. Perform
      unannounced inspections of school buses for driver and bus safety compliance. Provide numerous efficiency initiatives
      and management recommendations.

  •   Determine damages sustained by an Illinois distributor as a result of the alleged breach of contract and violation of the
      Illinois Consumer Fraud and Deceptive Business Practices Act by national developer and marketer of educational materials.

  •   Investigate of the activities of the chief financial officer of a distribution company through interviews of the target, senior
      management and employees. Supervise forensic examinations of computers using predetermined search criteria.
      Integrate reviews of company documentation with online public records database searches. Determine the entity’s losses
      by type of fraud scheme and present the fraudulent activities to senior management and legal counsel.

  •   Engaged by insurance company to investigate contractor’s claim for increased transportation and material handling costs
      of performance of environmental remediation during conversion of a military base to residential redevelopment. Prepare
      analysis of construction claims and liens.

  •   Investigate diversion of assets by principal stockholders and senior management from a transportation carrier using
      related party leases and other financial schemes. Evaluate the audits performed by a national CPA firm prior to discovery
      of the wrongdoing and the investigative work performed after the fraud was uncovered.

  •   Engaged by legal counsel to investigate and evaluate vendors’ claims for amounts owed in construction of a rail transit
      project. Review architects’ and engineers’ reports, contracts, change orders, financial/accounting records and deposition
      transcripts to determine vendors’ increased costs of performance.

  •   Enable large coffee wholesaler to reduce several of its costs of doing business using an expense reduction approach that
      integrated non-payroll overhead audits, payroll reviews, information technology teams, reengineering of operational
      procedures and establishing and monitoring budgets.

  •   Reconstruct the accounting books and records of a joint venture formed by distributors of printing presses from date new
      entity formed through date of dissolution. Account for the parties’ contributions, distributions, profits and losses as
      provided for by the terms of the joint venture’s operating agreement.




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  MICHAEL D. PAKTER

                                               FEDERAL/STATE/LOCAL GOVERNMENT

  Provide managers of state and local governmental units with financial analysis and consulting to create efficient and
  effective operations and accountability. Focus on program revenues and costs, false claims and investigating and analyzing
  billings by and payments to government contractors to establish allowability, allocability and reasonableness.

  •   Determine the nature, timing and extent of the involvement of two separate public accounting firms that allegedly failed
      to discover a more than $50 million embezzlement from 1983 to 2012 by the appointed controller and treasurer of an
      Illinois city, believed to be the largest municipal fraud in U.S. history.

  •   Trace the historic use of the City of Harvey, Illinois’ Water Funds to determine whether funds were used for non-water
      purposes or non-City purposes and assess the City’s overall financial condition. Investigate the City’s financial practices,
      procedures and internal controls and report findings and recommendations to the Court.

  •   Perform utility rate structure audits on behalf of a city’s energy department to analyze and review propriety of charges
      levied by utility vendors. Verify the use of the contractual tariff structure, examine billing for cost savings and inaccuracies,
      quantify billings under alternative tariff rates and negotiate credits with vendors.

  •   Assist a United States Attorney for Northern District of Illinois to review financial records of defendants violating Clean
      Water Act to determine ability to pay damages under Consent Decree. Identify material inconsistencies in defendants’
      financial documents and representations to U.S. Department of Justice.

  •   Conduct fraud investigation on behalf of chief operating officer of city government into financial activities of delegate
      agency. Find delegate agency filed false and misleading financial reports, breached federal, state and city mandates and
      was insolvent. Provide inspector general with support for termination of agency.

  •   Examine a city hall’s renovation programs to determine construction and other costs incurred by the city since inception.
      Evaluate allocations of project costs for reasonableness in accordance with accounting, allocation and cost
      principles/criteria.

  •   Analyze a real estate developer’s financing and other carrying costs associated with acquiring, holding and developing
      property awaiting annexation by a village. Determine costs arose primarily due to the way in which the property was
      acquired and transactions were originally structured, not primarily related to alleged delays in the village’s processes and
      that claims for damages were speculative, insufficiently detailed and overreaching.

  •   Analyze and evaluate the contractors’ labor, overhead and capital expenditures for allowability, allocability and
      reasonableness in accordance with a city’s multi-million contract to upgrade its emergency communications system and
      assemble evidential matter supporting the city’s legal counsel claims for recovery of overcharges.

  •   Investigate if a board of commissioners properly expended funds in the best interests of taxpayers in accordance with
      prescribed requirements. Evaluate internal controls to ensure adequate safeguarding of funds and perform additional
      specific procedures to report findings covering a four-year period.

  •   Perform agreed upon procedures, on behalf of Special Counsel to the Board of Commissioners of a large, developing
      Illinois county, to analyze the financial condition of the provider of a Guaranty relative to financial performance obligations
      of the developer and operator of a waste disposal facility located in the county.

  •   Perform special-purpose vendor compliance examinations on behalf of city government and audit vendor charges to
      ensure billings in accordance with contract and prevailing tariffs. Determine vendor overcharges and contractual
      violations and assist in recovering significant refunds due to the city.




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  MICHAEL D. PAKTER

                                                  PUBLICATIONS AND PRESENTATIONS

  Implementing New Firm-wide Audit Methodologies for Generally Accepted Auditing Standards
  Altschuler, Melvoin & Glasser (“AM&G”)
  Various dates 1986 – 1991

  Financial Statements 1
  Chicago Bar Association (“CBA”), Continuing Legal Education (“CLE”) Forum
  Various dates 1996 – 2019

  Consideration of the Internal Control Structure in a Financial Statement Audit
  Illinois CPA Society (“ICPAS”) News Journal
  July 1989

  Communications of Internal Control Structure Related Matters Noted in an Audit:
  SAS No. 60 Audit Procedures
  ICPAS News Journal
  August 1989

  Effective Audits and the Detection of Fraud
  AM&G Ledger
  September 1989

  Preparing Your CPA Firm for Quality Review
  Chicagoland Public Accounting Firm
  January 17, 1990

  Audit Strategy and the New Expectation Gap Standards
  Chicagoland Public Accounting Firm
  December 12, 1990

  Accounting & Auditing: The Effect of Incorporating SAS no. 55 on Audit Strategy
  ICPAS Insight
  February/March 1991

  Avoid Being Sued! Your Pockets Aren’t Deep Enough
  ICPAS Insight
  February/March 1991

  Closing the Gap: Beyond SAS No. 55
  ICPAS Insight
  April 1991

  Effects of Expectation Gap Standards on Quality Control
  ICPAS Insight
  May 1991

  New Audit Standards on Internal Control: Should Lenders Care?
  Commercial Loan Monitor
  Spring 1991

  Litigation Relating to the Accountants of Automobile Dealerships
  Crum & Forster Managers Corporation (IL)


  1 Various annual presentations on the theme of financial statements (understanding them and/or financial statement misstatements) with or
  without incorporating the “Confree Manufacturing” or “Composite Manufacturing” case study including: ”Financial Statements - What They Can
  and Can’t Tell You”; ”Understanding Financial Statements”; “A Financial (Mis)Statements Case Study”; “Understanding Financial Statements,
  Uses and Application, Principles and Practices and Terminology and Fundamentals”; and “Using and Misusing Financial Statements - Can You
  Trust the Financial Information you are Given?”
                                                                                                                                         15
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  MICHAEL D. PAKTER

  April 8, 1992

  You Can’t Be Sued for Providing Consulting Services … Can You?
  ICPAS Insight
  April 19, 1992

  White Collar Crime: Could it Happen to You?
  AM&G Ledger, later reprinted in the Isle of Man Financial and Business Review
  Summer 1992

  Does the Balance Sheet Reflect Net Worth?
  Law Firm, Chicago, Illinois
  February 6, 1995

  Does the Balance Sheet Reflect Net Worth?
  Law Firm, Chicago, Illinois
  February 15, 1996

  Four Phases of a Fraud Audit
  ICPAS Midwest Accounting and Business Management Show
  August 27, 1996

  Fraud Auditing and Forensic Accounting
  Philippine Certified Public Accountants of Greater Chicago Chapter
  Other 1996

  Determining Vendor Compliance and Detecting Procurement Fraud
  ICPAS Government Conference
  April 23, 1997

  Management Financial Statements – Can You Trust the Financial Information You Are Given?
  Law Firm, Chicago, Illinois
  May 1, 1997

  Four Phases of a Fraud Audit
  ICPAS Management of an Accounting Practice Division
  May 28, 1997

  Expense Reduction Services
  Law Firm, Chicago, Illinois
  July 1997
  Rome ‘n Times
  August 1997

  Intermediate Financial Analysis
  CNA Insurance Systems and Financial Training Forum
  August 26-27, 1997

  Achieving Efficiency: A Study in Cost Reduction,
  ICPAS Business & Technology Solutions Show
  August 28, 1997

  Introduction to Financial Analysis
  CNA Insurance Systems and Financial Training Forum
  September 17-18, 1997

  A Look at SAS No. 82, Considering Fraud in a Financial Statement Audit
  Chicago Chapter of Association of Certified Fraud Examiners
  September 19, 1997

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  MICHAEL D. PAKTER


  GAAP Update
  Rome Associates LLP, Accounting and Audit Department Training
  October 27, 1997

  Internal Control and COSO; Framework, Evaluation and Reporting
  ICPAS
  November 17, 1997

  GAAS Update with Focus on Audit Risk Alerts
  Rome Associates LLP, Audit Department Training
  December 8, 1997

  Accounting and Auditing, GAAP and GAAS Update
  ICPAS, North Shore Chapter
  December 16, 1997

  How Expense Reduction Services Can Bring Value to Your Clients
  National Council of Philippine American Canadian Accountants Annual Convention
  Other 1997


  Four Phases of a Fraud Audit
  National Council of Philippine American Canadian Accountants Annual Convention
  Other 1997

  Non-Traditional Services - Consulting, Litigation and Assurance Services
  Rome Associates LLP, Audit Department Training
  Other 1997

  SSARS Update
  Rome Associates LLP, Accounting and Audit Department Training
  January 23, 1998

  Dollar Value Auditing
  The Institute of Internal Auditors, Chicago Chapter
  March 16, 1998

  Review of Expert Reports in Labor Litigation
  Law Firm, Chicago, Illinois
  May 7, 1998

  How Do You Really Comply with Fraud Detection Standards?
  ICPAS
  November 4, 1998

  Financial Statements – What They Can and Can’t Tell You!!!
  The Chicago Bar Association
  November 9, 1998

  Accounting and Auditing (GAAP & GAAS) Update
  Rome Associates LLP Accounting and Auditing Department
  October 30, 1998

  Review of Expert Reports of Lost Profits in Commercial Litigation
  Law Firm, Chicago, Illinois
  Other 1998



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  MICHAEL D. PAKTER

  Fraud and the Audit Process
  Rome Associates LLP Audit Department
  Other 1998

  Expense Reduction Services Case Study
  Rome Associates LLP
  Other 1998

  The Financial Shenanigans of Confree Manufacturing
  LaSalle Bank N.A.
  Other 1998

  Introduction to Financial Analysis
  CNA Insurance Systems and Financial Training Forum
  Other 1998

  A Financial (Mis)Statements Case Study
  Business Law Center, School of Law, Loyola University, Chicago, Illinois
  October 31, 2000

  Financial Statements: What They Can and Cannot Tell You About Your Vendors
  Chicago Public Schools Office of the Inspector General
  Other 2000

  Financial Statements: What They Can and Cannot Tell You About Your Vendors
  Chicago Bar Association
  May 11, 2001

  A Forensic Examination of Financial Statements
  Illinois Chapter of the Association of Inspectors General
  September 14, 2001

  Understanding Financial Statements
  Business Law Center, School of Law, Loyola University, Chicago, Illinois
  March 12, 2002

  Four Topics CPE
  Russell Novak & Company, LLP
  October 21, 2002

  Composite Manufacturing Company: A Financial (Mis)Statement Case Study
  The Chicago Bar Association
  September 17, 2007; May 21, 2008; September 11, 2008; September 11, 2009; September 15, 2010; November 8, 2011;
  September 11, 2012; September 10, 2013; September 9, 2014; September 20, 2016; September 19, 2017; September 20, 2018;
  November 18, 2019; September 23, 2020; and September 28, 2021.

  Composite Manufacturing – A Financial (Mis)Statements Case Study
  Business Law Center, School of Law, Loyola University, Chicago, Illinois
  February 25, 2003; November 2, 2010; March 29, 2011; and October 18, 2011

  Composite Manufacturing – A Financial (Mis)Statements Case Study
  Law Firms, Chicago, Illinois
  September 17, 2003; February 8, 2005; January 11, 2011; July 23, 2012; October 3, 2012; July 30, 2013; April 3, 2014; June 11,
  2014; October 8, 2014; November 19, 2020; December 2, 2020; December 7, 2020; December 9, 2020; December 10, 2020;
  January 13, 2020; January 20, 2020; and February 2, 2021.

  Vendor Audits, How to Recover Money
  ICPAS, Annual Fraud Conference
  November 6, 2003

                                                                                                                               18
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  MICHAEL D. PAKTER

  How Labor and Employment Lawyers Can Use Forensic Accountants/
  Expert Witnesses in Litigation Proceedings
  Law Firm, Chicago, Illinois
  February 19, 2004

  Due Diligence Considerations, Preparing to Buy or Sell a Closely Held Business
  Lorman Education Services, Oak Brook, Illinois
  October 19, 2004

  ACFE Report to the Nation: Occupational Fraud and Abuse
  Law Firm, Chicago, Illinois
  December 3, 2004

  Forensic Accounting
  Business Law Center, School of Law, Loyola University, Chicago, Illinois
  April 19, 2005

  Financial Statements, Finding the Red Flags
  CBA Young Lawyers Section, Family Law Committee
  May 10, 2005

  Understanding the Fraud Environment and How Fraud Occurs in the Construction Industry:
  Price Fixing, Bid Rigging and Customer Allocation
  ICPAS Construction Conference
  November 7, 2005

  ACFE Report to the Nation on Occupational Fraud and Abuse
  Professional Networking Group, Inc.
  January 18, 2006

  Some Thoughts on Vendor Fraud
  Law Firm, Chicago, Illinois
  February 20, 2006

  Fraud and Forensic Accounting
  ICPAS
  February 21, 2006

  Fraud & Forensic Accounting
  Independent Accountants Association of Illinois, Northwest Suburban Chapter 18
  August 3, 2006

  Forensic Accounting and Construction Claims/Damages
  ICPAS, Construction Conference, Oak Brook, Illinois
  November 2, 2006

  The Red Flags of Fraud: Finding and Preventing Financial Fraud in the Real Estate Industry
  ICPAS, Chicago, Illinois
  December 15, 2006

  Forensic Accounting Update
  Professional Networking Group
  Other 2006

  Financial Statements
  Business Law Center, School of Law, Loyola University, Chicago, Illinois
  April 10, 2007



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  MICHAEL D. PAKTER

  Forensic Accounting Conference: Special Applications in Business Litigation
  Half-Day Conference, ICPAS, Chicago, Illinois and Springfield, Illinois
  May 22, 2007 & July 27, 2007

  Forensic Accounting and Fraud: 2006 ACFE Report to the Nation on Occupational Fraud and Abuse
  Graduate School of Business, Loyola University, Chicago, Illinois
  June 25, 2007

  Top Five Issues to Look for In Financial Statements
  Law Firm, Chicago, Illinois
  June 28, 2007

  Forensic Procedures and Specialists
  Graduate School of Business, Loyola University, Chicago, Illinois
  October 2, 2007

  Forensic Accounting Half-Day Conference
  ICPAS, Chicago, Illinois
  May 13, 2008 & May 13, 2009

  ACFE 2008 Report to the Nation
  Loyola University, Chicago, Illinois
  September 15, 2008

  ACFE 2008 Report to the Nation on Occupational Fraud and Abuse:
  With Special Emphasis on Financial Statement Fraud
  Illinois Chapter of the Association of Inspector Generals, Chicago, Illinois
  Also, ICPAS, Industry & Business Forum, Skokie, Illinois
  April 13, 2009

  An Analysis of Recent Published Fraud Surveys: Lessons for Academics and Practitioners
  Working Paper
  July 8-11, 2009

  Exploring the Anatomy of Fraud – The Cendant/CUC Revenue Recognition Fraud
  Thomson Reuters AuditWatch National School for Audit Leaders, Chicago, Illinois
  August 7, 2009

  Lost Profits Damages 101
  Gould & Pakter Associates, LLC, Chicago, Illinois
  August 13, 2009

  Financial Statement Fraud
  ICPAS, North Shore Chapter, Northbrook Illinois
  September 15, 2009

  Lost Profits Damages 101:
  Including Comparisons to Business Interruption Claims, Lost Earnings and Lost Business Value
  Loyola University, Chicago, Illinois & CPA CPE Group, Highland Park, Illinois
  October 6, 2009 & October 7, 2009

  Are You Being Robbed from Within?
  Ravinia Green Country Club, Deerfield Illinois
  November 5, 2009




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  MICHAEL D. PAKTER

  Warning Signs of Distressed Entities 2
  CBA Corporation & Business Law Committee Forum
  November 17, 2009

  Financial Shenanigans and Accounting Magic Tricks in Mergers and Acquisitions
  CBA Corporation & Business Law Committee, Mergers and Acquisitions Subcommittee Forum
  December 10, 2009

  Initial Financial Analysis of Financial Statements
  Law Firm, Chicago, Illinois
  Loyola University, School of Law, Chicago, Illinois
  February 8, 2010 & February 16, 2010

  Using Forensic Accounting in Real World Litigation
  Prentice Hall Accounting Symposium for Educators, Oak Brook, Illinois
  March 5, 2010

  Business Damages Determination: Special Forensic Accounting Considerations
  ICPAS, Forensic Accounting Conference
  June 2, 2010

  Business Damages Determination: Special Forensic Accounting Considerations
  Loyola University, School of Accounting, Chicago, Illinois
  June 22, 2010

  Composite Manufacturing Company: A Financial (Mis)Statement Case Study
  Journal of Business Case Studies, Clute Institute for Academic Research, Vol. 6, No. 5 (2010)
  2010 3 (Presented with Best Paper Award October 11-13, 2010)

  Unique Forensic Accounting Issues Involving Organized Crime
  Learnucopia, Indianapolis, Indiana
  February 25, 2011

  Annual Forensic Accounting Update
  ICPAS Fox River Trail Chapter, Lake Zurich, Illinois
  April 28, 2011

  Janis Joplin’s Yearbook, Ex Ante, Ex Post and
  Other Essential Elements of Measuring Benefit
  Streams in Determining Economic Damages
  ICPAS Forensic Accounting Conference, Chicago, Illinois
  June 8, 2011

  Economic Damages: Non-Competition and Other Claims:
  Establishing Lost Profits Damages in the Context
  Of a Violation of a Non-Compete Agreement
  Law Firm, Chicago, Illinois
  June 22, 2011

  Establishing Lost Profits Damages
  Law Firm, Chicago, Illinois
  June 29, 2011




  2 Part of Panel Presentation: Distressed Entity Issues for the Non-Bankruptcy/Insolvency Practitioner.
  3 Co-authored with Professor Ellen Landgraf, Ph.D., MBA, CPA, BBA, and Andrea Katzenstein, CFE and presented by Professor Landgraf to
  the 2009 International Fraud & Forensic Accounting Education Conference, Las Vegas, Nevada.
                                                                                                                                      21
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  MICHAEL D. PAKTER

  SEC Whistleblower Program
  American Accounting Association
  2012 Forensic and Investigative Accounting Section Meeting
  March 30, 2012

  Economic Damages: Non-Competition and Other Claims:
  Establishing Lost Profits Damages in the Context
  Of a Violation of a Non-Compete Agreement
  Loyola University, School of Accounting, Chicago, Illinois
  October 19, 2011
  ICPAS Financial Forensic Workshop
  June 27, 2012

  Financial Forensics in Litigated Solvency and Preference Analyses
  National Association of Certified Valuators and Analysts
  May 18, 2012

  Cornerstones of Financial Forensics Workshop
  National Association of Certified Valuators and Analysts
  May 25, 2012 (Chicago), August 10, 2012 (Denver), November 16, 2012 (Philadelphia); July 19, 2013 (Orlando); October 25,
  2013 (San Diego); November 8, 2013 (Houston); November 18, 2013 (Fort Lauderdale); and October 24, 2014 (New Orleans)

  Financial Forensics in Litigated Solvency and Preference Analyses
  National Association of Certified Valuators and Analysts
  August 17, 2012

  Latest Developments in Forensic Accounting
  ICPAS, Industry & Business Forum, Skokie, Illinois
  September 10, 2012

  Business Valuations 4
  Sacramento Valley Bankruptcy Forum; Annual Fall Program, California
  September 28, 2012

  Providing Services to Family Offices … CPA Risks and Responses
  Accountants & Lawyers’ Annual Defense Network (“ALADN”) Conference
  October 10, 2012

  Litigation for Bankruptcy and Insolvency
  Consultants’ Training Institute Online Learning Lecture Series
  January 17, 2013 and February 8, 2013

  Apple v. Samsung: Lessons Learned for Financial Experts
  National Litigation Consultants’ Review
  Volume 1, 2013

  Book Review: How to Prepare Your Expert Witness for Deposition
  National Litigation Consultants’ Review
  Volume 1, 2013

  Spousal Support and Asset Division
  AICPA 2013 Family Law Conference, Las Vegas, Nevada
  May 9, 2013




  4 Three-part program with emphasis on normalizing adjustments, valuation approaches, methods and discount rates for “mom & pop,”
  distressed and start-up businesses and identifying fraudulent financial statements and persons engaged in fraud.
                                                                                                                                     22
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  MICHAEL D. PAKTER

  Measuring Performance and Defending Your Budget
  Developing, Managing and Analyzing a Budget
  Lorman Education Services, Chicago, Illinois
  May 16, 2013

  Financial Forensics Symposium: Bankruptcy, Insolvency, Reorganization
  2013 NACVA Annual Consultants’ Conference, Washington, DC
  June 6, 2013

  Janis Joplin’s Yearbook: Ex Post, Ex Ante and
  Other Approaches to Determining Economic Damages
  ICPAS Forensic Accounting Conference, Chicago, Illinois
  June 21, 2013

  Apple v. Samsung Debate: Focus on Damages
  National Litigation Consultants’ Review
  Volume 2, 2013

  Book Review: The Litigation Services Handbook
  National Litigation Consultants’ Review
  Volume 2, 2013

  Introduction to Financial Forensics in Bankruptcy Proceedings
  NACVA’s Business Valuation Webinar Week
  July 22, 2013

  Economic Damages: Non-Competition and Other Claims:
  Establishing Lost Profits Damages in the Context
  Of a Violation of a Non-Compete Agreement
  Law Firm, Chicago, Illinois
  July 24, 2013; October 17, 2013; November 6, 2013

  How to Survive a Motion to Exclude Your Expert Testimony
  John Marshall Law School
  August 5, 2013

  How to Survive a Motion to Exclude Your Expert Testimony
  NACVA Webinar
  August 8, 2013 and February 20, 2014

  How to Survive a Motion to Exclude Your Expert Testimony
  Forensic Expert Witness Association
  December 7, 2013

  ACFE 2012 Report to the Nations on Occupational Fraud and Abuse
  Law Firm, Chicago, Illinois
  September 24, 2013

  Book Review: Determination of Value
  National Litigation Consultants’ Review
  Volume 3, 2013

  Determining a Distressed Debtor Company Discount Rate, Part 1
  Business Valuation Update
  Vol. 20, No. 1, January 2014




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  MICHAEL D. PAKTER

  Determining a Distressed Debtor Company Discount Rate, Part 2
  Business Valuation Update 5
  Vol. 20, No. 2, February 2014

  Ex-Ante and Ex-Post Considerations in Economic Damages Calculations
  NACVA QuickRead
  April 2, 2014

  Presenting Personal Injury and Wrongful Death Opinions to the Judge and Jury
  Consultants’ Training Institute Financial Forensics Webinar Week
  March 14, 2014 and April 11, 2014

  Lost Profits Methods and Procedures
  NACVA Master Analyst in Financial Forensics Specialty Webinar
  May 8, 2014

  Other Considerations in Lost Profits Calculations
  NACVA Master Analyst in Financial Forensics Specialty Webinar
  May 9, 2014

  Nature, Timing and Extent of Financial Investigations
  Necessary to Determine Income Available for
  Spousal and Child Support Calculations
  NACVA Webinar
  May 19, 2014

  Establishing Lost Profits Damages in the Context
  Of a Violation of a Non-Compete Agreement
  Law Firm, Chicago, Illinois
  May 30, 2014

  Does Your Expert Report Need a Peer Review?
  National Litigation Consultants’ Review
  Volume 2, 2014

  Developing a FRE 702 Expert Report
  John Marshall Law School
  August 7, 2014

  Financial Investigations Necessary to Determine Spousal and Child Support
  NACVA
  September 22, 2014

  Services Provided to Distressed Businesses
  NACVA Master Analyst in Financial Forensics Workshop
  November 3, 2014

  Fraud, Financial Forensics and Special Investigations
  NACVA Master Analyst in Financial Forensics Workshop
  November 4, 2014

  Finance for Lawyers
  Law Firm, Chicago, Illinois
  February 3, 2015




  5 Part 1 and Part 2 republished in Business Valuation Resources, LLC. (BVR) Business Valuation & Bankruptcy Case Law Compendium,
  Second Edition, 2014
                                                                                                                                     24
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  MICHAEL D. PAKTER

  Determining a Distressed Debtor Company Discount Rate
  NACVA Business Valuation Specialty Webinar Week
  March 13, 2015

  Standards for Distressed Business Valuation, Part One
  NACVA QuickRead
  April 1, 2015

  Unique Issues in Standards for Distressed Business Valuation, Part Two
  NACVA QuickRead
  May 6, 2015

  Business Valuation with a Focus on Valuations of Distressed Businesses
  Northwest Bar Association’s Civil Litigation Seminar
  November 11, 2015

  The Income Tax Treatment of Economic Damages Awards
  National Litigation Consultants’ Review
  Volume 3, 2015
  NACVA QuickRead
  June 16, 2016

  Mr. Unlucky—A Construction Worker Injured Twice On-site
  NACVA QuickRead
  April 6, 2016

  How to Assist an Expert Witness Practice – The Support Staff Program
  Gould & Pakter Associates, LLC
  April 7, 2016

  Valuation in the Context of a Fraudulent Transfer or Preference Attack
  Financial Poise Faculty Webinar
  May 27, 2016

  Book Review: The Comprehensive Guide to Economic Damages
  Volume 1 and 2, 4th ed.
  Business Valuation Update
  Volume 22, No. 7, July 2016

  Book Review: Analyzing Complex Appraisals for Business Professionals
  NACVA QuickRead
  October 27, 2016

  Fraud in Local Governmental Entities
  City of Chicago, Department of Law
  March 7, 2017

  Composite Manufacturing Company: A Financial (Mis)Statement Case Study
  Office of the Illinois Attorney General
  March 22, 2017

  Taking a Deeper Dive into The Lost Profits “But-For” World
  NACVA 2017 Annual Conference
  June 9, 2017
  City of Chicago, Law Department
  July 21, 2017




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  MICHAEL D. PAKTER

  Role of Financial Litigation Consultants in Class Certification
  NACVA Financial Litigation and Expert Witness Superconference
  November 15, 2017
  NACVA Business Valuation and Financial Litigation Virtual Superconference
  June 19, 2020
  August 7, 2020

  Foundation of Financial Forensics – Bankruptcy
  Consultants’ Training Institute
  November 16, 2017

  Book Review: Business Valuation and the IRS: Five Books in One
  NACVA QuickRead
  March 28, 2018

  Bankruptcy, Insolvency and Restructuring
  NACVA/CTI Master Analyst in Financial Forensics Specialty Area
  Training Program
  November 2, 2018; March 8, 2019; March 22, 2019; September 27, 2019; October 29, 2019; December 13, 2019; March 27,
  2020; May 11-15, 2020; and June 26, 2020

  Nuts and Bolts of Lost Profits Cases
  Financial Poise Faculty Webinar
  February 26, 2019
  March 4, 2020
  March 23, 2022

  Valuing Lost Profits for Litigation Purposes
  Financial Poise Faculty Webinar
  March 28, 2019
  March 26, 2020
  March 3, 2021

  Attaining Reasonable Certainty in Economic Damages Calculations
  NACVA QuickRead
  March 28, 2019 (Part I); April 18, 2019 (Part II); and May 22, 2019 (Part III)

  How to Read a Balance Sheet – and Why You Care
  Financial Poise Faculty Webinar
  April 4, 2019
  February 18, 2021

  Defending Against Bankruptcy Avoidance Actions
  Financial Poise Faculty Webinar
  April 23, 2019
  May 6, 2020
  May 19, 2021

  Working with Experts
  Financial Poise Faculty Webinar
  April 24, 2019

  Using the Cash Flow Statement to Spot Financial Distress
  Chicago Bar Association, Bankruptcy & Reorganization Committee
  October 16, 2019

  Some Trends in Expert Witness Industry Revenues
  NACVA QuickRead
  October 17, 2019

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  MICHAEL D. PAKTER


  How to Identify a Company’s Financial Distress by Using Cash Flow Statements
  Chicago Bar Association, CBA Record
  January/February 2020

  Common Issues and Strategies in Business Breakups
  Financial Poise Faculty Webinar
  February 5, 2020

  The New Revenue Accounting Standard: Major Impacts on Business Valuation
  The Value Examiner
  January/February 2020

  The New Revenue Accounting Standard: Impact on Economic Damage Analyses
  The Value Examiner
  March/April 2020

  Using International Economic Time Series Data in Determining Lost Profits
  NACVA QuickRead
  June 25, 2020

  Bankruptcy, Insolvency and Restructuring
  NACVA/CTI Financial Litigation Specialty Webinars
  May 11-15, 2020

  Five Key Methods of Analyzing Financial Statements
  Lorman Education Services, Chicago, Illinois
  July 9, 2020

  Understanding the New Small Business Bankruptcy Process
  NACVA Business Valuation and Financial Litigation Virtual Superconference
  August 3, 2020
  NACVA August 2020 Around the Valuation World
  August 16, 2020
  NACVA 2020 Financial Valuation Virtual Conference
  November 18, 2020 and December 8, 2020

  Fraud in Bankruptcy, Insolvency, and Restructuring
  Dayton Fraud, Cyber, and Ethics Virtual Conference 2020
  October 8, 2020

  Specific Methods of Finding Financial Statement Misstatements
  Law Firm, Chicago, Illinois
  February 24, 2021

  Benefit of the Bargain Damages
  Business Valuation Resources (“BVR”), Webinar
  March 23, 2021

  Selecting the Right Valuation Expert
  Financial Poise Faculty Webinar
  April 7, 2021

  Resolving Shareholder Disputes
  Financial Poise Faculty Webinar
  April 1, 2020
  April 21, 2021
  Where Did All My Profits Go? Mastering the Concept of Working Capital
  Financial Poise Faculty Webinar
  April 22, 2021
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  MICHAEL D. PAKTER

  Understanding Accounts Receivable
  Financial Poise Website
  May 14, 2021

  How Can Financial Forensics Prove Bankruptcy Fraud
  NACVA/CTI Business Valuation & Financial Litigation Hybrid & Virtual Super Conference
  June 24, 2021

  Inventory Accounting
  Financial Poise Publication
  August 5, 2021

  The Role of Financial Forensics in Detecting Bankruptcy Fraud
  The Value Examiner
  November/December 2021

  The Litigators Guide to Business Valuation
  Northwest Suburban Bar Association
  January 26, 2022

  Accounting For Dummies
  Law Firm
  March 2, 2022




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  MICHAEL D. PAKTER

  PRIOR EXPERT REPORTS AND/OR TESTIMONY

  MATTER                                    VENUE                                     DETAILS
  Woodbine Healthcare Center and            Circuit Court of Cook County, Illinois,   Submit Insured’s Claim for Contents, Repairs, Extra
  First Healthcare Associates, Inc. v.      County Department, Law Division           Expenses and Business Interruption Loss (circa 2000);
  American Zurich Insurance Company         (1999)                                    and present at Mediation (circa 2001).
  Stanley R. Meierfeld and Alfred J.        Before the New York Mercantile            Submit Expert Report of Estimated Interest Claimed
  Mascia v. Geldermann, Inc.                Exchange, NYMEX Arbitration (1998)        by Meierfeld and Mascia (November 6, 1997); and
                                                                                      testify at arbitration (circa 1998).
  Jeffrey B. Gelman v. William A.           Circuit Court of Cook County, Illinois,   Submit Expert Report (circa 1999).
  Miller                                    County Dept, Chancery Division
                                            (1998)
  In Re: Novamont SpA                       New York, 3rd District, Bankruptcy        Submit Expert Report (circa 1997); and provide
                                            Court (1998)                              current accounting information during Court
                                                                                      appearance (circa 1998-1999).
  David J. Freund v. E. D. & F. Man         United States District Court for the      Submit Expert Report (Damages Issues); testify at
  International, Inc.                       Northern District of Illinois (1998)      deposition (July 29, 1998); and testify at trial (circa
                                                                                      1999).
  In Re: Midwest Video Games                United States Bankruptcy Court,           Submit Expert Report (Valuation Issues) (August 24,
                                            Northern District of Illinois, Eastern    1998).
                                            Division (1998)
  In Re: American Limousine Partners,       Chicago Commission on Human               Submit Expert Report of Estimated Lost Revenues to
  Inc.                                      Relations (Circa 1995)                    Be Sustained by Airport Limousine Partners, Inc.
                                                                                      (October 12, 1995).
  George Ahlstrand et al. v. Jeffrey        Circuit Court of Cook County, Illinois    Testify at deposition (circa 1999).
  Krol et al.                               Law Division (1994)

  In the Matter of G. Bradley Taylor        Securities and Exchange Commission,       Testify at SEC Administrative Hearing (circa 1999).
                                            Administrative Matter 3-9955 (1999)
  EPA Assistance Audit Dispute of the       United States Environmental               Submit Expert Report of Financial Analysis of
  Napoleon Area City School District        Protection Agency, Assistance             Expenditures by Napoleon Area City Schools (May 5,
                                            Agreement No. J858656 (Audit              2001).
                                            Dispute Regarding Audit Report No.
                                            2001-1-00073)
  In Re: Metropolitan Plant & Flower,       United States Bankruptcy Court,           Submit Expert Report Regarding the Financial
  Inc., a/k/a The Silkcorp Factory          Northern District of Illinois, Eastern    Condition and Related Matters of Metropolitan Plant
  Outlet, Debtor                            Division (1998)                           & Flower, Inc. (April 30, 1997); and submit Affidavit
                                                                                      Regarding Debtor’s First Amended Plan of
                                                                                      Reorganization (circa 1997).
  Chicago District Council of               United States District Court for the      Submit Expert Report (2001); testify at deposition
  Carpenters Pension Fund, et al. v.        Northern District of Illinois, Eastern    (circa December 21, 2001); and submit Declaration
  United Interiors, Inc. et al.             Division (2001)                           (circa January 2002).
  Protocomm Corporation v. Novell,          United States District Court for the      Submit Expert Report (December 7, 2000); submit
  Inc.                                      Eastern District of Pennsylvania          Response Report (July 7, 2001); and testify at
                                            (various dates)                           deposition (circa July 2001).
  In Re: Chris Pawlowicz, et al. v. David   United States Bankruptcy Court for        Submit Expert Report on the Debtors’ Financial
  P. Leibowitz as Chapter 7 Trustee         the Northern District of Illinois,        Condition (September 10, 2003); and testify at trial
                                            Eastern Division (2001)                   (circa April 16, 2004).

  FutureSoft Consulting, Inc. v. Msys,      Before the American Arbitration           Submit Expert Report on Damages by Claimant (circa
  Inc. and Rajamani Thiyagarajan            Association (AAA #51 117 003 0602)        2003); testify at deposition (circa February 24, 2004);
                                                                                      and testify at arbitration (circa March 2, 2004).
  Zenith Electronics Corporation v.         Circuit Court Cook County, Illinois,      Submit Rebuttal Report on Damages Claimed
  The Dow Chemical Company, Inc.            County Department, Law Division,          (February 6, 2004).
  and Liqui-Flo, Inc.                       Civil (No. 99 L 010701)
  Golden Image Graphics, Inc. v.            Before the American Arbitration           Submit Expert Report (circa 2004); submit Rebuttal
  Mitsubishi Lithographic Presses and       Association (AAA #13 Y 181 02830          Report (circa 2004); and testify at arbitration (circa
  MLP USA, Inc.                             03)                                       July 22, 2004).

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  American Top English, Inc. v. Lexicon    United States District Court for the      Submit Expert Report (circa 2004); and testify at
  Marketing (USA), Inc.                    Northern District of Illinois, Eastern    deposition (circa August 10, 2004).
                                           Division (Case No. 03 C 7021)
  Jamax Corporation v. Alvin J. Varner     Circuit Court of the Second Judicial      Submit Rebuttal Report (February 1, 2005); and
  and Pam D. Varner d/b/a Whoa             Circuit, Lawrence County, Illinois        testify at deposition (August 18, 2005).
  Nellie’s Disposal                        (Case No. 04-L-7)
  Budget Rent-A-Car System, Inc. v.        United States District Court for the      Submit Expert Report (June 29, 2005); submit
  Consolidated Equity LLC                  Northern District of Illinois, Eastern    Supplemental Expert Report (September 7, 2005);
                                           Division (Case No. 04C 1772)              and testify at deposition (September 7, 2005).
  Luis Puig, Sr. and Luis Puig, Jr. v.     Circuit Court of Cook County, County      Submit Expert Report on Payments for Billboard Site
  Infinity Outdoor, Inc.                   Department, Chancery Division (Case       (August 9, 2005).
                                           No. 02 CH 5978)
  Owner-Operator Independent               United States District Court for the      Submit Expert Report (November 22, 2005); and
  Drivers Association, Inc. et al. v.      District of New Jersey (Case No. 04-      testify at deposition (January 19, 2006).
  Bridge Terminal Transport, Inc.          2846)
  Central Mfg. Co, Lindy-Little Joe,       United States District Court for the      Submit Declaration (circa 2005).
  Inc., Pure Fishing, Inc. et al. v. Leo   Northern District of Illinois, Eastern
  Stoller et al.                           Division (Case No. 05C 0725)

  Howard B. Samuels, Credicorp, Inc.,      Circuit Court of Cook County, Illinois,   Submit Expert Report (January 16, 2006); and testify
  and Jeffrey B. Schwartz v.               County Dept., Law Division                at deposition (July 12, 2006).
  Kupferberg Goldberg Niemark, LLC
  Owner-Operator Independent               United States District Court for the      Submit Expert Report (July 14, 2006); and testify at
  Drivers Association, Inc. et al. v.      Middle District of Florida,               deposition (August 21, 2006).
  Landstar Inway, Inc.; Landstar Ligon,    Jacksonville Division (Case No. 3:02-
  Inc.; and Landstar Ranger, Inc.          CV-1005-J-25-MCR)
  Owner-Operator Independent               United States District Court for the      Submit Expert Report (January 13, 2006); submit
  Drivers Association, Inc. et al. v. C.   District of Utah (Case No. 2:02 CV        Responsive Expert Witness Report (March 21, 2006);
  R. England, Inc.                         950 TS)                                   testify at deposition (February 7, 2006); and testify at
                                                                                     trial (October 19, 2006).
  Arlene Gladney v. Francine Gladney       Circuit Court of Cook County, Illinois,   Submit Expert Report (July 19, 2006).
                                           County Dept., Chancery Division
  PRW Inc., and Gloria Jean’s Gourmet      Before the American Arbitration           Submit Summary of Opinions (September 1, 2006).
  Coffees Franchising Corp.,               Association, Chicago, Illinois
  Owner-Operator Independent               United States District Court for the      Submit Expert Report on Actual and Estimated
  Drivers Association, Inc. et al. v.      District of Minnesota (Case No. 05-       Lumping Fees Paid by Owners and Operators
  SuperValu, Inc.                          cv-2809 JRT/JJG)                          (October 2, 2006); submit Report on Lumping Service
                                                                                     Fees Paid by Drivers (March 31, 2008); and testify at
                                                                                     deposition (May 30, 2008).
  Brian J. Cloch and AT&R II LLC, v.       Circuit Court of Cook County, Illinois,   Submit Rebuttal Report (December 11, 2006); and
  Evergreen Healthcare Realty, LLC, et     County Department, Law Division           submit Rebuttal Report of Supplemental Report
  al.                                      (Case No. 04 L 004113)                    (February 2, 2007).
  In Re: The Quay Corporation, Inc.,       United States Bankruptcy Court for        Submit Rebuttal Report on Lost Profits (January 14,
  Debtor/Debtor in Possession              the Northern District of Illinois,        2007); testify at deposition (January 19, 2007);
                                           Eastern Division                          submit Expert Report on the Debtor’s Cash Flow
                                                                                     Projections (January 16, 2007); and testify at
                                                                                     deposition (January 22, 2007).
  In Re: Super Wash, Inc. and Robert       Circuit Court of Cook County, Illinois,   Submit Expert Report on Preliminary Financial
  D. Black                                 County Department, Law Division           Analyses of Losses (in eleven Plaintiff cases,
                                           (Case No. 2005 L 23)                      consolidated for discovery purposes) (various dates
                                                                                     2006-7); and testify at depositions (various dates on
                                                                                     and after May 14, 2007).
  In Re: Delta Phones, Inc., Debtor        United States Bankruptcy Court for        Submit Expert Report on the Financial Condition of
                                           the Northern District of Illinois,        Delta Phones, Inc. from October 1, 2002 to January
                                           Eastern Division                          8, 2004 (November 7, 2007).
  In Re: The Matter of Mark A.             Before the Financial Industry             Submit Rebuttal of Expert Report on Damages
  Frommer v. Lehman Brothers, Inc.         Regulatory Authority (FINRA               (January 7, 2008); and testify at arbitration (January
                                           Arbitration No. 06-01341)                 25, 2008).

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  Infinity Resources, Inc. v. Oracle       Superior Court of California, County       Submit Financial Analyses and Expert Opinion
  Corporation; and Does 1-50               of San Francisco (Case No. CGC 06 –        regarding Damages (November 21, 2007); testify at
                                           455550)                                    deposition (August 29, 2007); and testify at trial
                                                                                      (November 26-27, 2007).
  Lorillard Tobacco Company v. Elston      United States District Court for the       Submit Expert Report on Defendants’ Fraud Schemes
  Self Service Wholesale Groceries,        Northern District of Illinois, Eastern     (January 18, 2008); submit Rebuttal Report on
  Inc., et al.                             Division (Civil Action No. 03C 4753)       Anticipated Testimony Regarding Damages Suffered
                                                                                      by Defendants (March 12, 2008); submit
                                                                                      Supplemental Expert Report on the Defendants’
                                                                                      Fraud Schemes and the Depositions of Defendants’
                                                                                      witnesses (September 23, 2008); and testify at
                                                                                      deposition (December 19, 2008).
  One CW, LLC v. Cartridge World           Before the Franchise Arbitration and       Submit Expert Report on the Actual and Statutory
  Midwest, LLC, Steven V. Vollmer and      Mediation Services (FAM Case No.           Damages Sustained by One CW, LLC (May 1, 2008);
  Cartridge World North America, LLC       07A1001)                                   and testify at arbitration (September 5, 2008).
  United States of America v. Frank        United States District Court for the       Submit Expert Report on Lost Earnings Capacity
  Calabrese, Sr., et al.                   Northern District of Illinois, Eastern     (October 1, 2008); and submit Revised Report on
                                           Division (Case No. 02 CR 1050-4)           Lost Earnings Capacity (January 15, 2009).
  Java TC, Inc. v. Gloria Jean’s           Before the American Arbitration            Testify at arbitration on audit procedures performed
  Gourmet Coffees Franchising Corp.        Association (Case No. 51 114 Y 00873 08)   and damages calculations made (January 23, 2009).
  Roger Shekar v. Steve Zielinski, Jack    Circuit Court of DuPage County,            Submit Expert Report on Mr. Shekar's Lost Earnings
  Kopis, Alice Kopis, Paulette Zielinski   Illinois, Chancery Division (Case No.      (January 28, 2009); and testify at deposition (May 14,
  and Quality Surface Mount, Inc.          2007MR:000128)                             2009).
  In Re: Restaurant Development            United States Bankruptcy Court for         Submit Expert Report on Financial Analysis of the
  Group, Inc., Debtor                      the Northern District of Illinois,         Debtor’s December 28, 2003 Restructuring and
                                           Eastern Division (Case No. 07 B592;        Certain Other Matters (March 23, 2009).
                                           Adv. No. 07 A937)
  Jesus Hernandez, et al. v. Gatto         United States District Court for the       Submit Declaration (May 8, 2009); submit
  Industrial Platers, Inc. and George      Northern District of Illinois, Eastern     Preliminary Report of Payment of Gross Wages by
  Gatto                                    Division (Case No. 08 C 2622)              Gatto Industrial Platers, Inc. in Accordance with the
                                                                                      Fair Labor Standards Act (May 13, 2009); and testify
                                                                                      at deposition (May 29, 2009).
  In Re: JII Liquidating Inc. f/k/a        United States Bankruptcy Court for         Submit Expert Report on the Debtor's Net Potential
  Jernberg Industries, Inc. et al.         the Northern District of Illinois,         Preference to Republic Engineered Products, Inc.
                                           Eastern Division (Case No. 05-25909)       (May 22, 2009); and submit responses to other
                                           (Advs. No. 07-A-0585)                      expert’s report (June 15, 2009).
  National Union Fire Insurance            Circuit Court of Cook County, Illinois,    Submit Report on Wade A. Beck’s Fraud and Gannett
  Company of Pittsburgh, Pa, v. Wade       County Department - Law Division           Company’s Internal Controls (June 18, 2009).
  A. Beck; Bank One, NA; et al.            (Case No. 02 L 5293)
  Sendra Retail, Inc. v. Sears, Roebuck    Before the American Arbitration            Submit Rebuttal of the Damage Calculation of Sendra
  and Co.                                  Association (Case No. 51-114-01371-08)     Retail, Inc. (July 24, 2009).
  Alter Asset Management, LLC, as          Circuit Court of the 18th Judicial         Submit Rebuttal of the Report of William H. Thullen
  agent for SMII Oak Creek/LP              Circuit, DuPage County, Illinois (Case     (August 10, 2009).
                                           No. 2007 L 00579)
  Apex Digital, Inc. v. Sears, Roebuck     United States District Court for the       Submit Report on The Amount That May Be Owed by
  and Co.                                  Northern District of Illinois, Eastern     Sears, Roebuck and Co. to Apex Digital, Inc. and/or
                                           Division (Case No. 09 CV 1452)             CIT Group (August 20, 2009); and testify at
                                                                                      deposition (December 3, 2009).
  Sylvester and Tanja D’Souza v.           Circuit Court of Cook County, Illinois     Submit Report on Lost Earnings of Tanja and
  Andjelko Galic and Andjelko Galic &      County Department, Law Division            Sylvester D’Souza (September 8, 2009); and testify at
  Associates, Ltd.                         (Case No. 2006 L 011637)                   trial (September 27, 2010).
  Rose Terry, et al. v. Ameriquest         United States District Court for the       Submit Affidavit Regarding Defendant’s Financial
  Mortgage Company, et al.                 Northern District of Illinois, Eastern     Condition While Paying Dividends (October 29,
                                           Division (Case No. 08-2475)                2009).
  Mark McManus, Deborah McManus            Circuit Court for the 14th Judicial        Submit Affidavit Regarding Financial Analysis of
  and McManus Enterprises, LLC v.          District Whiteside County, Illinois        Losses (November 25, 2009); submit Expert Report
  Super Wash, Inc. and Robert D. Black     (Case No. 06 L 58 ST)                      on Plaintiff’s Compensatory Damages Under Counts
                                                                                      I, II and V of the Complaint (July 3, 2012); and testify
                                                                                      at deposition (February 14, 2013).
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  MICHAEL D. PAKTER

  Michael S. Pekin v. The Paul Revere      United States District Court for the       Submit Financial Analysis of Michael Pekin’s Claim of
  Life Insurance Company                   Northern District of Illinois, Eastern     Alleged Losses of Monthly Earnings (October 2,
                                           Division (Case No. 08 C 3644)              2009); and testify at deposition (January 6, 2010).
  John J. Roh and OLM, LLC v. George       United States District Court for the       Submit Affidavit Regarding Financial Information and
  Devack                                   District of Connecticut (Case No.          Documentation (December 18, 2009).
                                           3:07CV01901PCD)
  Cousins Subs Systems, Inc. v. Better     United States District Court for the       Submit Expert Report on Lost Franchise Fees and
  Subs Development, Inc., Better Subs      Eastern District of Wisconsin, Eastern     Royalties (March 1, 2010).
  Restaurants, LLC, James B. Railing,      Division (Case No. 09-cv-0336)
  Karen E. Railing, and Shantel E.
  Vaughn
  The People of the State of Illinois v.   Circuit Court of Cook County, Illinois     Submit Responsive Expert Report on the Financial
  Janet Yurus, et al.                      County Department, Criminal                Condition of Janet Yurus (March 4, 2010); and testify
                                           Division (Case No. 06-CR-13771)            at trial (November 19, 2010).
  K’s Merchandise Mart, et al. v.          United States District Court for the       Submit Expert Report on Lost Profits of New K’s
  Gordon Brothers Group, et al.            District of Massachusetts (Case No.        Furniture Department and Expert Report on Count II
                                           08-11254 (DPW)                             (Accounting) (June 15, 2010); submit First
                                                                                      Supplemental Expert Report on Count II (Accounting)
                                                                                      (August 31, 2010); and testify at deposition (October
                                                                                      20, 2010).
  Echo, Inc. v. Timberland Machines &      United States District Court for the       Submit Expert Report on (a) Timberland’s Financial
  Irrigation, Inc.                         Northern District of Illinois, Eastern     Condition and Risk of Business Failure and (b)
                                           Division (Case No. 08 CV 7123)             Rebuttal of Initial Expert Report of Jerome H. Lipman
                                                                                      and Timberland’s damages (July 12, 2010); and
                                                                                      testify at deposition (July 26, 2010).
  F, G, H & S 2 D, L.L.C. f/k/a            Circuit Court of Cook County, Illinois,    Submit Expert Report on Calculations of Fair Market
  CenterPoint Capital Funding, L.L.C.,     County Department, Chancery                Value Pursuant to Landlord’s Purchase Option and
  v. CenterPoint Properties Trust          Division (Case No. 05 CH 15840)            Tripartite Agreements (August 12, 2010); and testify
                                                                                      at deposition (February 23, 2011).
  WDT Wireless Communications, Inc.        United States District Court for the       Submit Michael D. Pakter’s Expert Report on The
  v. Dolins, Dolins & Sorinsky, Ltd.       Northern District of Illinois Eastern      Accountants’ Standard of Due Care (September 14,
                                           Division (Case No.: 1:09-cv-00622)         2010).
  MKJ Holding of Illinois, Inc. v. SDI,    Before the American Arbitration            Testify at arbitration as to the Value of MKJ Holding
  LLC, Seif Elsharif and Deborah Diaz      Association                                of Illinois' 25% Ownership Interest in SDI, LLC as of
                                                                                      September 30, 2008 (October 14, 2010 and
                                                                                      November 15, 2010).
  Board of Education, Joliet Township      Circuit Court of the Twelfth Judicial      Submit Responsive Expert Report on Joliet Township
  High School District No. 204 v.          Circuit, Will County, Illinois (Case No.   High School District 204’s Lost Tax Increment
  CenterPoint Intermodal LLC and the       05 L 524)                                  Financing Revenues (January 10, 2011).
  Village of Elwood
  John M. Schoppe v R.J. Schoppe           United States Bankruptcy Court for         Submit Expert Report on the Debtor’s Preferential
                                           the Northern District of Illinois,         Transfers to R. J. Schoppe (February 1, 2011).
                                           Eastern Division (Case No. 09-04652)
  Bureau Veritas North America, Inc.       Circuit Court of the 18th Judicial         Submit Affidavit Regarding Completeness of
  v. St. John Mittelhauser &               District, DuPage County, Illinois (Case    Accounting Books and Records (February 8, 2011).
  Associates, Daniel J. Lombardi, Gary     No. 2008CH5033)
  Perkowitz and Monte Nienkerk
  National Union Fire Insurance            Circuit Court of Cook County, Illinois,    Submit Expert Report on Atlantic Express’ Failure to
  Company of Pittsburgh, PA v. Steven      County Department, Law Division            Exercise Ordinary Care and Related Matters (March
  Cordell and JPMorgan Chase Bank          (Case No. 08 L 1982)                       11, 2011).




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  MICHAEL D. PAKTER

  Vincent E. Jackson v. N’Genuity            United States District Court for the      Submit Affidavits (February 24, 2011 and May 31,
  Enterprises, Co., Valerie Littlechief,     Northern District of Illinois, Eastern    2011); submit Expert Report On Plaintiff’s Prove
  Alfred Bowen and Dustin Thomas             Division (Case No. 09 CV 06010)           Up of Damages Following Judgment by Default
  Bowen                                                                                on Liability Against the Default Judgment
                                                                                       Defendants (February 1, 2012); testify at
                                                                                       deposition (March 20, 2012); submit Declaration
                                                                                       for Trial (October 24, 2012); submit Affidavit
                                                                                       (December 17, 2012); submit Addendum to
                                                                                       Michael D. Pakter’s Expert Report on Plaintiff’s
                                                                                       Prove Up of Damages Following Judgment by
                                                                                       Default on Liability Against the Default Judgment
                                                                                       Defendants (February 3, 2014); submit Affidavit
                                                                                       (March 25, 2014); and submit Affidavit (June 6,
                                                                                       2014).
  N’Genuity Enterprises Co., Debtor          United States Bankruptcy Court for        Submit Affidavit (November 23, 2011); submit
                                             the District of Arizona (Case No. 2:11-   Expert Report Rebutting the November 17, 2011
                                             bk-28705-GBN)                             Declaration and Business Valuation Filed in
                                                                                       Support of the Debtor’s Chapter 11 Proceedings
                                                                                       (March 16, 2012); testify at deposition (March
                                                                                       20, 2012); testify at trial (February 1, 2013); and
                                                                                       submit Calculation Report: The Fair Value of
                                                                                       Vincent E. Jackson’s 49% Ownership Interest in
                                                                                       N’Genuity Enterprises Co., Debtor (January 27,
                                                                                       2014).
  In Re N’Genuity Enterprises Co., Debtor    United States Bankruptcy Court for        Submit Expert Report on Defendants’ Standard of
  Vincent E. Jackson v. Wayne H.             the District of Arizona (Case No. 2:11-   Due Care and Economic Damages (July 18, 2014);
  Clouser, Ltd., Wayne H. Clouser and        bk-28705-GBN) (Adv. No. 2:13-ap-          submit Expert Report Rebutting the Opinions of
  Richard J. DeAlva                          00215)                                    Douglas E. Farrow Dated September 9, 2014
                                                                                       (October 3, 2014); and provide sworn statements
                                                                                       under oath (June 30, 2015).
  N’Genuity Enterprises Co., Debtor          United States Bankruptcy Court for        Submit Affidavit (September 5, 2014).
                                             the District of Arizona (Case No. 2:14-
                                             bk-11553-GBN)
  Habersham Plantation Corporation v.        United States District Court Southern     Submit Expert Report on Economic Damages Due
  Bernard Molyneux, et al.                   District of Florida (Case No. 10-CV-      to Copyright and Trade Dress Infringements (April
                                             61526-XXXX)                               2, 2011); submit a responsive expert report (May
                                                                                       6, 2011); submit a supplemental expert report
                                                                                       (August 29, 2011); testify at deposition (June 15,
                                                                                       2011); and testify at trial (January 5 and 9, 2012).
  Habersham Plantation Corporation v.        United States District Court              Submit Expert Report on Economic Damages Due
  Art & Frame Direct, Inc., et al.           Southern District of Florida              to Copyright, Trade Mark and Trade Dress
                                             (Case No. 10-CV-61532-JIC)                Infringements (April 4, 2011); submit a
                                                                                       responsive expert report (June 6, 2011); testify at
                                                                                       deposition (June 17, 2011); and testify at trial
                                                                                       (September 23, 26 and 27, 2011).
  Thorncreek Apartments I, LLC et al. v.     United States District Court for the      Submit Expert Report on The Owner’s Financial
  Village of Park Forest, et al.             Northern District of Illinois (Case No.   Damages (April 15, 2011); testify at deposition
                                             08 C 4303)                                (May 20, 2011); and testify at trial (April 21,
                                                                                       2014).
  Thorncreek Apartments II, LLC et al. v.    United States District Court for the      Submit Expert Report on The Owner’s Financial
  Village of Park Forest, et al.             Northern District of Illinois (Case No.   Damages (April 15, 2011); testify at deposition
                                             08 C 869)                                 (May 20, 2011); and testify at trial (April 21,
                                                                                       2014).
  Thorncreek Apartments III, LLC et al. v.   United States District Court for the      Submit Expert Report on The Owner’s Financial
  Village of Park Forest, et al.             Northern District of Illinois (Case No.   Damages (April 15, 2011); testify at deposition
                                             08 C 1225)                                (May 20, 2011); and testify at trial (April 21,
                                                                                       2014).



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  Xyience Incorporated v. Zyen, LLC,          United States Bankruptcy Court            Submit Expert Report on Xyience’s Financial
  Fertitta Enterprises, Inc. et al.           District of Nevada (Case No. BK-S-08-     Condition at October 5, 2007 (April 29, 2011).
                                              10474-MKN and Case No. 09-1402-
                                              MKN and Adversary Case No. 09-1402-
                                              MKN)
  Jennifer S. Arons v. Centrum                Circuit Court of Cook County, Illinois,   Submit Expert Report Calculating Amounts Due
  Properties, Inc., et al.                    County Department, Law Division           to Jennifer S. Arons Pursuant to Her Employment
                                              (Case No. 08 L 007322)                    Contract (May 28, 2011); submit Rebuttal of the
                                                                                        Expert Report of Ronald A. Bero, Jr. (July 15,
                                                                                        2011); testify at deposition (July 22, 2011); and
                                                                                        testify at trial (October 5 and 14, 2011).
  National Presto Industries, Inc. v. Grant   Circuit Court of Eau Claire County,       Testify at deposition (June 10, 2011 and June 24,
  Thornton, LLP                               Wisconsin (Case No. 09 CV 246)            2011); and testify at trial (January 11, 2012).
  United States of America ex. rel. Greg      United States District Court for the      Submit Expert Report on Walsh Construction
  Hudalla v. Walsh Construction               Northern District of Illinois, Eastern    Company’s Improper Billing Scheme (July 1, 2011,
  Company                                     Division (Case No. 05 C 5930)             revised July 29, 2011); testify at deposition
                                                                                        (August 11, 2011); and submit Supplemental
                                                                                        Expert Report (October 20, 2011).
  Andrew Dean v. Krash Creative               United States District Court for the      Submit Expert Report on Plaintiff’s Economic
  Solutions, LLC et al.                       Northern District of Ohio, Western        Damages Due to Defendants’ Alleged Copyright
                                              Division (Case No. 3:10 CV 00386)         Infringement (October 28, 2011).
  Jayshree Patel v. Chicago Carriage Cab      Circuit Court of Cook County, Illinois,   Submit Expert Report on Jayshree Patel’s Lost
  Corp. and Mohamed N. Ali                    County Department, Law Division           Earnings Resulting from Her March 15, 2009
                                                                                        Injuries (April 20, 2012).
  Novaflex, Inc. and The Ameriflex            Circuit Court of Cook County, Illinois,   Submit Expert Report (May 15, 2012); testify at
  Group, LLC v. Denny McGee, Advanced         County Department, Chancery Division      deposition (June 6, 2012); testify at trial (August
  Converting Technology, LLC and MPS                                                    15, 2013); and submit affidavits (July 21, 2016
  Systems, B.V.                                                                         and September 20, 2016).
  Green Investment Group, Inc. v. Alton       Circuit Court, Third Judicial Court,      Submit Expert Report on Lost Profits Suffered by
  Recovery, LLC et al.                        Madison County, Illinois                  Green Investment Group, Inc. (August 1, 2012);
                                                                                        and testify at deposition (November 2, 2012).
  Ohio National Life Assurance                United States District Court for the      Submit Expert Report on The Design and
  Corporation v. Douglas W. Davis, et al.     Northern District of Illinois, Eastern    Structure of The Financial Transactions Relating
                                              Division (Case No. 10-cv-2386)            to Certain Life Insurance Policies (August 22,
                                                                                        2012).
  MJK Partners, LLC, F. Paul Ohadi, F.        United States District Court for the      Submit Expert Report on Economic Damages in
  Paul Ohadi, as Trustee of the F. Paul       Northern District of Illinois, Eastern    Response to Plante & Moran’s August 17, 2012
  Ohadi Family Trust, and James Mann,         Division (Case No. 10-C-87)               Report (October 2, 2012); and testify at
  as Trustee of the Mann 1994 Family                                                    deposition (October 19, 2012).
  Trust v. David Husman
  United States of America v. David           United States District Court for the      Submit Expert Report on the Lifetime Lost
  Vance, et al.                               Northern District of Illinois, Eastern    Earnings of Tramaine Gibson (October 12, 2012,
                                              Division (Case No. 05 C 5930)             Supplemented November 1, 2012).
  Miriam Haskins, et al. v. First             United States District Court for the      Submit Expert Statement In Support of Plaintiffs’
  American Title Insurance Co.                District of New Jersey (Case No. 1:10-    Application for Discovery Relief (November 1,
                                              cv-05044)                                 2012); submit Expert Report on Overcharges of
                                                                                        Title Insurance Premiums (March 1, 2013);
                                                                                        submit Corrected Expert Report on Overcharges
                                                                                        of Title Insurance Premiums (March 5, 2012);
                                                                                        testify at deposition (April 19, 2013); submit
                                                                                        Supplemental Expert Report on Overcharges of
                                                                                        Title Insurance Premiums (June 21, 2013); testify
                                                                                        at the class certification hearing (January 9,
                                                                                        2014); and submit Declaration (June 9, 2014).
  Ramon Vahdatinia, dba Sonic Futures         Before the National Futures               Submit Expert Report on Economic Damages
  & Options ~ Arman Vahdatinia, dba           Association (NFA Arbitration No.: 12-     (November 12, 2012); submit Supplementary
  Expo Futures & Options v. Farr              ARB-11 ~ 12-ARB-12)                       Financial Analysis (November 19, 2012); and
  Financial, Inc.; Ironbeam, Inc.; and                                                  testify at arbitration (November 29, 2012).
  Omid M. Farr
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  Edward J. Tyrpak v. Roundy’s             State of Wisconsin, Circuit Court,        Submit Expert Report on Financial Accounting
  Supermarkets, Inc.                       Milwaukee County (Case No. 12-CV-         and Reporting for Vendor Allowances and
                                           005605)                                   Related Matters (November 27, 2012); and
                                                                                     testify at deposition (December 20, 2012).
  Demand by RCI Capital Group Inc.         Before the American Arbitration           Submit Expert Report on the Total Present Value
  against FPP Investments LLC, Robert      Association: International Centre for     of RCI FPP Investments LLC’s Net Assets
  W. Kraft, Richard Zagorski and Daniel    Dispute Resolution (Case No. 50 148 T     (November 2, 2012); and submit Rebuttal of the
  Wycklendt                                00212 12)                                 November 2, 2012 Report of John D. Emory, Jr.
                                                                                     (November 28, 2012).
  General Insurance Company of             United States District Court for the      Submit Expert Report on the Mega Mall’s
  America v. Clark Mall Corp. d/b/a        Northern District of Illinois, Eastern    Business Interruption and Other Lost Profits After
  Discount Mega Mall Corp., et al.         Division (Case No. 08-CV-2787)            the September 8, 2008 Fire (February 1, 2013);
                                                                                     and testify at deposition (July 16, 2013).
  In Re: The Marriage of Julie A.          In the Circuit Court of Cook County,      Submit Expert Report Tracing Certain Cash
  O’Flaherty and John C. O’Flaherty        Illinois, County Dept. Domestic           Disbursements by the O’Flaherty Corporations
                                           Relations Division (Case No. 10 D 552)    (March 15, 2013).
  In Re: The Marriage of Julie A.          In the Circuit Court of Cook County,      Submit Affidavits (April 2, 2015, November 16,
  O’Flaherty and John C. O’Flaherty        Illinois, County Department –             2015 and February 9, 2016); submit Preliminary
                                           Domestic Relations Division (Case No.     Expert Report Reviewing and Analyzing Certain of
                                           13 D 4792)                                John O'Flaherty’s Real Estate Transactions
                                                                                     (January 14, 2016); submit Expert Report On
                                                                                     Lifestyle Expenditures (January 14, 2016); submit
                                                                                     Expert Report Reviewing and Analyzing Certain of
                                                                                     John O'Flaherty’s Real Estate Transactions
                                                                                     (February 4, 2016); and testify at deposition
                                                                                     (February 16, 2016).
  In Re: LHC, LLC, an Illinois Limited     United States Bankruptcy Court,           Submit Expert Report On The Debtor’s March
  Liability Company                        Northern District of Illinois, Eastern    and April 2013 Expenditures and Related Matters
                                           Division (Case No. 13-07001)              (May 10, 2013); testify at deposition (May 13,
                                                                                     2013); submit Supplemental Expert Report On
                                                                                     The Debtor’s March and April 2013 Expenditures
                                                                                     and Related Matters (May 17, 2013); and testify
                                                                                     at hearing to appoint a trustee (June 4, 2013 and
                                                                                     June 11, 2013).
  Tom Waldbillig and W Squared, LLC v.     United States District Court for the      Submit Expert Report on Plaintiffs’ Lost Business
  Blue Magic, Inc., York International     Western District of Wisconsin (Case       Income (June 14, 2013).
  Corporation, Blains’ Supply, Inc.        No. 12 CV 713)
  Dawn Geraty v. The Village of Antioch    In the United States District Court for   Submit Expert Report on the Lost Earnings of
                                           the Northern District of Illinois,        Dawn Geraty As a Result of the Denied
                                           Eastern Division (Case No. 09-cv-6992)    Promotion (June 7, 2013); and submit
                                                                                     Supplemental Lost Earnings - Back Pay
                                                                                     Calculation of Dawn Geraty As a Result of the
                                                                                     Denied Promotion (April 30, 2014).
  Chaz Altman and Gina Gaffke v. P.O.      United States District Court for the      Submit Expert Report on Lifetime Lost Earnings
  Kirk Helgesen, individually, and the     Northern District of Illinois, Easter     and the Value of Lost Household Services (June
  Village of Gurnee                        Division (Case No. 10 CV 5619)            21, 2013); and testify at deposition (January 30,
                                                                                     2014).
  Joan E. Comiskey v. Mandel, Lipton and   In the Circuit Court of Cook County,      Submit Expert Report on Comiskey’s Unpaid
  Stevenson Limited, et al.                Illinois, County Department, Law          Wages for the Period July 1, 2003 through June
                                           Division (Case No. 12 L 001727)           30, 2006 (August 12, 2013).
  Anthony J. Tomaska, individually and     In the Circuit Court of Cook County,      Submit Expert Report on Checks Made Payable to
  derivatively on behalf of Old Town       Illinois, County Department, Law          Cash by Old Town Entertainment, LLC
  Entertainment, LLC and Old Town          Division (Case No. 2011 L 8364)           (September 23, 2013); testify at deposition
  Entertainment Management, LLC v. Old                                               (November 15, 2013); and submit Expert
  Town Entertainment, LLC, et al.                                                    Rebuttal Report (January 10, 2014).
  Gucci Food Mart, Inc., v. Farmers        In the Circuit Court of Cook County,      Submit Michael D. Pakter’s Expert Report on
  Underwriters Association et al           Illinois County Department, Law           Gucci Food Mart, Inc.’s Lost Business Income
                                           Division                                  (May 6, 2013); and submit additional analyses
                                                                                     (April 18, 2014).
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  Kensington Research and Recovery,          In the Circuit Court of Cook County,       Submit Affidavit (October 8, 2013 and October
  Inc. v. Office of the Cook County          Illinois, County Department, Law           16, 2013).
  Treasurer and Maria Pappas                 Division (Case No. 08 L 10777)
  W44 Trading Company v. Highland            In the District Court for Dallas County,   Submit Expert Report (October 11, 2013); and
  Credit Strategies Fund, L.P., et al.       Texas, 95th Judicial District (Cause No.   submit Affidavit of Michael D. Pakter in Support
                                             11-01021)                                  of Plaintiff W44 Trading Company’s Opposition to
                                                                                        Defendants’ Motion to Strike Plaintiff’s Expert
                                                                                        Witness (February 16, 2014).
  Federal Insurance Company as               In the United States District Court for    Submit Expert Report on MonoSol’s Property and
  Subrogee of MonoSol Holdco, LLC v. J.      the Northern District of Illinois (Case    Business Interruption Damages (November 27,
  K. Manufacturing Co.                       No. 1:12-cv-03465)                         2013); and submit Supplemental Expert Report
                                                                                        on MonoSol’s Property and Business Interruption
                                                                                        Damages (January 6, 2014).
  J.B. Kenehan, LLC v. Open Sky Media,       In the Circuit Court, Civil Division of    Submit Expert Rebuttal Report Regarding J.B.
  LLC                                        Waukesha County, Wisconsin (Case           Kenehan, LLC’s Lost Profits (January 22, 2014).
                                             No. 13CV01885)
  Charles Petrishe, Nikki Caputo-Petrishe    In the United States District Court for    Submit Expert Report on Lifetime Lost Earnings
  and Dianne McGann v. Oak Lawn              the Northern District of Illinois (Case    and the Value of Lost Household Services
  Police Officers Todd Tenison and Scott     No. 10-cv-7950)                            (February 21, 2014).
  Kirk and the Village of Oak Lawn
  John D. Marks v. Verbeck Associates,       In the Circuit Court of Cook County,       Testify at deposition (February 21, 2014).
  LLC and Jon Verbeck                        Illinois, County Department, Law
                                             Division (Case No. 11 L 013850)
  Pratima Muzumdar, individually, and        In the Circuit Court of Cook County,       Submit Expert Report Rebutting the Damages
  Tranquil Passage, LLC v. Robert Plotkin,   Illinois, County Department, Law           Report of Bruce S. Schaeffer Dated December 2,
  The Robert Law Firm, P.C. and Plotkin      Division (Case No. 08 L 000350)            2013 (February 27, 2014).
  & Plotkin, LLC.
  Clarence William Brown, M.D. and           In the Circuit Court of Cook County,       Submit Expert Report on the Amounts Owing to
  Vassilios Dimitropoulos, M.D. v. Rush      Illinois, County Department, Law           the Plaintiffs (February 28, 2014); testify at
  University Medical Center, et al.          Division (Case No. 09 L 15110)             deposition (April 4, 2014); submit Expert Report
                                                                                        on the Amounts Owing to the Plaintiffs (Revised
                                                                                        September 16, 2014 Pursuant to Court Order
                                                                                        Dated June 19, 2014); and testify at trial (October
                                                                                        1, 2014).
  James Eric Wahl v. James Quigley,          In the Circuit Court of Cook County,       Submit Expert Report on The Liquidity of the
  Cynthia Quigley and Clarkson Company       Illinois, County Department, Chancery      Clarkson Company and Related Matters (April 7,
                                             Division (Case No. 10 CH 52640)            2014); and testify at deposition (April 30, 2014).
  Suky Jodi, Inc. v. Prak Properties, LLC,   In the Circuit Court Branch, Sauk          Submit Expert Report on Economic Damages
  Amit Shah, Rakesh Shah, Kishore Patel      County, State of Wisconsin (Case No.       (April 14, 2014).
  and Nipun Panchal                          13-CV-390)
  TNJB, LLC v. Greenview Group of            In the Circuit Court of Cook County,       Submit Expert Report on TNJB’s Damages (April
  Illinois, LLC                              Illinois, County Department, Law           21, 2014).
                                             Division (Case No. 11 L 005248)
  Apex Consulting Group, Inc. v. TTMKK       In the Circuit Court of Cook County,       Submit Expert Report Rebutting Opinion A.2(d) of
  Holdings, LLC and MPS Partners LLC         Illinois, County Department, Chancery      Plaintiff’s Rule 213 Disclosures dated January 2,
                                             Division (Case No. 2009 CH 47207)          2014 (May 19, 2014); and testify at deposition
                                                                                        (July 24, 2014).
  Mahmoud Shaffie, Maliheh Shaffie,          Before the American Arbitration            Submit Expert Report Rebutting Claimants’
  Microsonic Computer, Inc. and Cell         Association, San Francisco, California     Alleged Damages (June 2, 2014); and testify at
  Phone Repair (CPR) Inc. v. Cell Phone      (Case No. 74 114 00275)                    deposition (June 24, 2014).
  Repair, LLC, CPR-Cell Phone Repair
  Franchise System, Inc. and Jeremy
  Kwaterski
  Neck & Back Clinic Ltd. v. Keefe and       Circuit Court of Cook County, Illinois,    Submit Expert Report on Plaintiff’s Damages as a
  Associates LLC                             County Department, Law Division            Result of Defendant’s August 2006 Publication
                                             (Case No. 2006L 11110)                     (June 27, 2014).



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  Touhy and Touhy, Ltd. v. Ryan F.         In the Circuit Court of Cook County,         Testify at deposition (August 13, 2014).
  Stephan, James B. Zouras and Stephan     Illinois, County Department, Chancery
  & Zouras, LLP                            Division (Case No. 07 CH 13552)
  Nancy M. Harvey v. Stephen Wolfram,      In the Circuit Court for the 18th Judicial   Submit Expert Report Rebutting the Opinions of
  Wolfram Research, Inc. and Wolfram       Circuit, DuPage County, Illinois, Law        Peggy Tracy Dated April 24, 2014 (August 18,
  Alpha, LLC                               Division (Case No. 2010L000593)              2014); submit Expert Report Rebutting the
                                                                                        Opinions of Steven R. Kursh Dated May 14, 2014
                                                                                        (August 18, 2014); and testify at trial (November
                                                                                        7 and 10, 2014).
  Dwight Nelson v. Launch Creative         In the Circuit Court of Cook County,         Submit Affidavit (October 21, 2014); and submit
  Marketing, Inc. and Kevin Keating        Illinois, County Department, Law             Expert Report on Plaintiff’s Economic Damages
                                           Division (Case No. 2012L012357)              (November 24, 2014).
  Cendrowski Corporate Advisors v. The     Before the American Arbitration              Submit Expert Report Regarding the Standard of
  Rosen Law Firm                           Association (Case No. 01-14-0000-            Care Exercised by Dr. Barry J. Epstein In Re Puda
                                           6976)                                        Coal Securities, Inc., et al. (October 28, 2014);
                                                                                        and testify at arbitration (November 18, 2014).
  John W. Lee, III v. Chicago Youth        In the United States District Court for      Submit Expert Report Regarding John W. Lee, III’s
  Centers and J. Harry Wells               the Northern District of Illinois,           Lost Salary and CYC’s Financial Condition
                                           Eastern Division (Case No. 12 cv 9245)       (November 24, 2014); and testify at deposition
                                                                                        (January 15, 2015).
  Bruce Levine, et al. v. First American   United States District Court for the         Submit Expert Report on Title Insurance Premium
  Title Insurance Co.                      Eastern District of Pennsylvania (Civil      Overcharges and Related Matters (January 9,
                                           Action No.: 09 842-JHS)                      2015); submit Supplemental Expert Report on
                                                                                        Title Insurance Premium Overcharges and
                                                                                        Related Matters (May 1, 2015); and testify at
                                                                                        deposition (May 15, 2015).
  Stephanie Coleman, et al. v.             United States District Court for the         Submit Expert Report On Title Insurance
  Commonwealth Land Title Insurance        Eastern District of Pennsylvania (Civil      Premium Overcharges and Related Matters
  Company                                  Action No.: 09-CV-679-JHS)                   (January 9, 2015); testify at deposition (May 14,
                                                                                        2015); submit Responsive Expert Report –
                                                                                        Responding to the Korman, Visser and Effner
                                                                                        Reports; testify at deposition (October 27, 2015);
                                                                                        testify at class action certification hearing
                                                                                        (December 8, 2015); and submit Declaration
                                                                                        Regarding Possible Overcharges in Defendants’
                                                                                        Database (March 7, 2016).
  Mitchell and Randi Schwartz, et al. v.   United States District Court for the         Submit Expert Report On Title Insurance
  Lawyers Title Insurance Company          Eastern District of Pennsylvania (Civil      Premium Overcharges and Related Matters
                                           Action No.: 09-CV-841-JHS)                   (January 9, 2015); testify at deposition (May 14,
                                                                                        2015); submit Responsive Expert Report –
                                                                                        Responding to the Korman, Visser and Effner
                                                                                        Reports; testify at deposition (October 27, 2015);
                                                                                        testify at class action certification hearing
                                                                                        (December 8, 2015); and submit Declaration
                                                                                        Regarding Possible Overcharges in Defendants’
                                                                                        Database (March 7, 2016).
  Leemor Katz v. Joel J. Levin             Circuit Court of Cook County, Illinois       Submit Expert Report on Unidentified
                                           (Case No. 11 L 005157)                       Disbursements and Related Matters (February
                                                                                        12, 2015); and testify at deposition (April 13,
                                                                                        2015).
  United States Securities and Exchange    United States District Court Northern        Submit Michael D. Pakter’s Expert Report on
  Commission v. Jason R. Hyatt, Jay        District of Illinois Eastern Division        Hyatt Johnson Capital, LLC Manager
  Johnson and Hyatt Johnson Capital LLC    (Case No.: 1:08-cv-2224)                     Compensation Review (February 16, 2015).
  Nicole Callaly vs. Lieberman             Circuit Court for the 18th Judicial          Submit Expert Report on Damages Suffered by
  Management Services Inc. and the         Circuit DuPage County, Illinois (Case        Nicole Callaly (February 2, 2015); and testify at
  Klein Creek Condominium Association      No. 2011 L 000545)                           deposition (March 25, 2015).



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  Beth and Sheldon Gaffen et al. v.             Circuit Court of Cook County, Illinois,    Submit Affidavit (March 13, 2015); submit
  Charles H. Jesser, et al.                     County Department, Chancery Division       Michael D. Pakter’s Expert Report on Plaintiffs’
                                                (Case No. 12 CH 32776)                     Damages and Related Matters (May 3, 2017);
                                                                                           submit Michael D. Pakter’s Supplemental Expert
                                                                                           Report on Plaintiffs’ Damages and Related
                                                                                           Matters (August 15, 2017); testify at deposition
                                                                                           (November 14, 2017); submit Michael D. Pakter’s
                                                                                           Amended Supplemental Expert Report on
                                                                                           Plaintiffs’ Damages and Related Matters (March
                                                                                           26, 2018); testify at deposition (May 9, 2011);
                                                                                           and testify at trial (May 15-16, 2018).
  Nestle Waters North America, Inc. v.          Before the Judicial Arbitration and        Submit Expert Report on Mountain Glacier’s Lost
  Mountain Glacier, LLC                         Mediation Services (Case No.:              Profits (April 1, 2015); and testify at deposition
                                                1340009869 and 1340010633)                 (May 1, 2015).
  Stuart Simonsen and GMS Devco LLC v.          Circuit Court of Cook County, Illinois,    Submit Affidavit (April 17, 2015).
  BdS Quant Capital, LLC and BdS Quant,         County Department, Chancery Division
  LLC.                                          (Case No. 11 CH05557)
  26 BRIX, LLC. d/b/a B Cellars v. Vin          Before the American Arbitration            Submit Affidavit (April 21, 2015); submit Expert
  Divino, Ltd                                   Association (Case No. 01-14-0000-          Report on Vin Divino’s Economic Damages (May
                                                6831)                                      5, 2015); submit Supplementary Expert Report
                                                                                           Responding to Questions 3 and 4 of Patrick L.
                                                                                           Anderson’s B Cellars Damages Analysis; and
                                                                                           Analyzing B Cellars’ Effective Wholesale Selling
                                                                                           Prices (June 9, 2015); and testify at arbitration
                                                                                           (August 28, 2015).
  Wendy Guzman and Danielle Johnson,            United States District Court District of   Submit Expert Report on the Net Losses of the
  et al. v. Lincoln Technical Institute, Inc.   Nevada (Case No. 2:13-cv-02251-JAD-        Green Valley Clinic (May 5, 2015); and submit
  et al.                                        VCF)                                       Michael D. Pakter’s Rebuttal Expert Report on
                                                                                           the May 4, 2015 Forensic Analysis Report of
                                                                                           Michael Saccomanno and Chad Keeports (June
                                                                                           29, 2015).
  Vivian Makris, et al. v. John Svigos, et      Circuit Court of Lake County, Illinois,    Submit Affidavit (May 7, 2015); testify at
  al.                                           County Department, Chancery Division       deposition (October 15, 2018); and testify at trial
                                                (Case No. 14 CH 2391)                      (July 27, 2020).
  A. L. Dougherty Real Estate                   Circuit Court of Cook County, Illinois,    Testify at deposition pursuant to Illinois Supreme
  Management Company, LLC. and                  County Department, Law Division            Court Rule 206(a)(1) (May 21, 2015); submit
  Phyllis K. Dougherty v. Su Chin Tsai and      (Case No. 13 L 3920)                       Michael D. Pakter’s Expert Report on the
  Cube Global, LLC                                                                         November 2010 Transfer of Assets from March
                                                                                           Fasteners to Cube Global and Related Matters
                                                                                           (October 2, 2015); testify at deposition (October
                                                                                           12, 2015); and testify at trial (November 3-4,
                                                                                           2015).
  Dr. Nicholas Angelopoulos v. Keystone         United States District Court for the       Submit Expert Report of Michael D. Pakter
  Orthopedic Specialists, S.C., WACHN,          Northern District of Illinois, Eastern     Rebutting the Opinions of Jay Sanders (June 26,
  LLC, Martin R. Hall, M.D., Ira K. Dubin       Division (Case No. 12-cv-05836)            2015); testify at deposition (July 23, 2015); and
  LTD. d/b/a Green Dubin & Co, and Ira                                                     testify at trial (June 2, 2017).
  K. Dubin
  Michael Colgrove v. Shawn M. Davies           Circuit Court of Cook County, Illinois,    Submit Michael D. Pakter’s Expert Report on
  and Shawn M. Davies, S.C.,                    County Department, Law Division            Michael Colgrove’s Economic Damages (June 29,
                                                (Case No. 2014-L-006745)                   2015); testify at deposition (July 31, 2015); and
                                                                                           testify at trial (November 18, 2015).
  Tresa Puthenveetil On Her Own Behalf          Circuit Court of Cook County, Illinois,    Testify at deposition pursuant to Supplemental
  and, Derivatively, On Behalf of Victory       County Department, Chancery Division       Rule 213(f)(3) Disclosures (May 28, 2015); and
  Pharmacy, Inc. and North Town                 (Case No. 09 CH 26982)                     testify at trial (March 3, 2016).
  Pharmacy, Inc. v. Arun Patel and
  Bharat Patel



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  Maria Ford et al. v. Gary Yasuda et al.   United States District Court Central        Submit Michael D. Pakter’s Expert Report on the
                                            District of California (Case No. 5:13-cv-   Net Losses of the Bakersfield, Clovis and Fairfield
                                            1961-PSG-DTB)                               Clinics (June 10, 2015); submit Michael D.
                                                                                        Pakter’s Rebuttal Expert Report on the June 10,
                                                                                        2015 Report of Steven B. Boyles (July 8, 2015);
                                                                                        testify at deposition (February 3, 2017), submit
                                                                                        Opening Declaration Of Michael D. Pakter In
                                                                                        Support Of Defendants Gary Yasuda And Amarillo
                                                                                        College Of Hairdressing, Inc.’s Motion For
                                                                                        Summary Judgment And/or Order For Specifying
                                                                                        Material Facts Existing Without Substantial
                                                                                        Controversy Against Plaintiffs Maria Ford, Sundae
                                                                                        Worthy, And Paige Martin On All Counts Of Their
                                                                                        Second Amended Complaint (April 13, 2017); and
                                                                                        submit the Declaration Of Michael D. Pakter In
                                                                                        Support Of Defendants Gary Yasuda And Amarillo
                                                                                        College Of Hairdressing, Inc.’s Motion For
                                                                                        Summary Judgment And/or Order For Specifying
                                                                                        Material Facts Existing Without Substantial
                                                                                        Controversy Against Plaintiffs Maria Ford, Sundae
                                                                                        Worthy, And Paige Martin On All Counts Of Their
                                                                                        Second Amended Complaint (June 12, 2017).
  Robert Irvine v. Owner Insurance          Circuit Court of 17th Judicial Circuit,     Submit Michael D. Pakter’s Expert Report on
  Company and Auto Owners Insurance         Winnebago County, State of Illinois         Robert Irvine’s Lost Wages Before Taxes as a
  Company                                   (Case No. 12 L 32)                          Result of the March 15, 2010 Accident (July 29,
                                                                                        2015).
  Unique Insurance Company v. Tri-State     Circuit Court of Cook County, Illinois      Submit Michael D. Pakter’s Expert Report on the
  Insurance Agency                          Municipal Department, 1st District          Lost Profits Sustained by The Tri-State Insurance
                                            (Case No. 13 1107259)                       Agency (September 18, 2015); and testify at
                                                                                        deposition (March 7, 2016).
  Benjamin Buttolph as Receiver for         In the Circuit Court of Cook County,        Testify at deposition (October 30, 2015).
  Mobile Doctors USA, LLC. Mobile           Illinois, County Department, Law
  Doctors USA, LLC., Mobile Doctors Mgt,    Division (Case No. 14-L-009268)
  LLC and Lake MI Mobile Doctor, P.C. v.
  Dike Ajiri, Christine Chung Kenney,
  Christopher Stemler, Eileen Ajiri and
  Samuel Ajiri
  Federal Deposit Insurance Company as      In the United States District Court for     Submit Expert Report (November 21, 2015);
  Receiver for First Southern Bank, v.      the Eastern District of Arkansas (Case      testify at deposition (December 17, 2015); and
  BKD, LLP                                  No. 4:13 –cv-JM)                            submit Rebuttal Expert Report (February 22,
                                                                                        2016).
  Ryszard Skrzeczyna and Beata              In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Calculations of
  Skrzeczyna v. Imperial Homes, Inc. et     Illinois, County Department, Law            Ryszard Skrzeczyna’s Lost Wages and Medical
  al.                                       Division (Case No. 11 L 3260)               Expenses (Excluding Loss of Household Services,
                                                                                        Other Economic Damages and Prejudgment
                                                                                        Interest) (October 16, 2015); testify at deposition
                                                                                        (November 23, 2015 and March 1, 2016); and
                                                                                        submit Medicare Set-aside Declaration (August
                                                                                        29, 2017).
  In the Matter of CSX Intermodal           Jesse White, Secretary of State, State      Submit Expert Report on the December 31, 2010
  Terminals, Inc. 5567-880-4                of Illinois, (File No. C-C1-14)             Transaction (January 5, 2016).
  Samuel P. Mathew, M.D. v. Unum Life       United States District Court for the        Submit Expert Report (March 7, 2016).
  Insurance Co. of America, and             Northern District of Illinois, Eastern
  Provident Life and Accident Insurance     Division (Case No. 1:14-cv-08000)
  Co.
  Dominick R. Voso v. Sharon Teresa         In the United States District Court for     Submit Affidavit (March 8, 2016).
  Ewton, et al. Frank, and Frederic W.      the Northern District of Illinois,
  Frank, III                                Eastern Division (Case No. 16-CV-
                                            00190)
                                                                                                                                 39
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  MICHAEL D. PAKTER

  Thai Tours and Trans Airways                 In the United States District Court for    Submit Expert Report on Plaintiff’s Lost Profits
  Company, Ltd., v. BCI Aircraft Leasing,      the Northern District of Illinois,         Claims (March 18, 2016); and testify at
  Inc., and Craig Papayanis                    Eastern Division (Case No. 13-cv-          deposition (April 26, 2016).
                                               08511)
  Greg Tehle v. Texor Petroleum Co. Inc.       In the Circuit Court for the Nineteenth    Submit Michael D. Pakter’s Expert Report on The
  and World Fuel Services, Inc. d/b/a          Judicial District Lake County –            Alleged Damages Suffered by Dr. Gregory S.
  Shell Gas Station                            Waukegan, Illinois (Case No. 14 L 905)     Tehle on May 19, 2014 (April 4, 2016).
  Diagnostic Imaging Associates, Ltd. v.       In the Circuit Court of Cook County,       Submit Affidavit (April 29, 2016).
  Abrix Radiology Billing Services, LLC        Illinois, County Department – Law
  and The Abrix Group, LP, Abrix Billing       Division (Case No. 151470)
  Services, LLC, Robert Krypel and Linda
  Siegel
  In Re: The Former Marriage of                In the Circuit Court of the Nineteenth     Submit Michael D. Pakter’s Expert Report on
  Orenstein                                    Judicial Circuit – Lake County, Illinois   Richard Orenstein’s Net Income for Child Support
                                               (Case No.: 03 D 560)                       Purposes (April 29, 2016).
  Greg Merdinger, individually and             In the Circuit Court of Cook County,       Submit Affidavits (April 29, 2016).
  derivatively on behalf of Buck               Illinois, County Department, Chancery
  Broadway & Reade, LLC v. The John            Division (Case No.: 12 CH 37780)
  Buck Company LLC
  In Re: Blue Buffalo Company, LTD.            In the United States District Court for    Submit Affidavit (May 10, 2016).
  Marketing And Sales Practices                the Eastern District of Missouri (Case
  Litigation                                   No.: 4:14 MD 2562 RWS)
  Virginia Blasco v. Milina Gerasimov          In the Circuit Court of Cook County,       Submit Michael D. Pakter’s Rebuttal Expert
                                               Illinois (Case No. 14 L 6697)              Report Of Stan V. Smith’s June 1, 2015 Letter
                                                                                          Regarding Blasco’s Loss of Earnings (May 17,
                                                                                          2016); testify at deposition (June 24, 2016);
                                                                                          submit Michael D. Pakter’s Supplementary Expert
                                                                                          Report Of Stan V. Smith’s Supplementary July 16,
                                                                                          2015 Letter Regarding Blasco’s Loss of Earnings;
                                                                                          and testify at trial (October 14, 2016).
  Mark Oliver, Dana Shourd, Wayne              In the Circuit Court of Cook County,       Submit Michael D. Pakter's Expert Report On
  Herman, and Signature Sales &                County Department, Chancery Division       Amounts Due and Owing To Dana Shourd and
  Marketing, LLC, v. The Combined              (Case No. 2013 CH 15233)                   Wayne Herman (May 20, 2016); testify at
  Group, LLC, and Combined Holding                                                        deposition (June 29, 2016); submit Michael D.
  Group Inc.                                                                              Pakter’s Expert Report On Damages Arising From
                                                                                          Counter-Defendants Not Transferring Saleslink,
                                                                                          LLC to Signature Sales & Marketing, LLC (January
                                                                                          25, 2017); submit Michael D. Pakter’s Revised
                                                                                          Expert Report On Damages Arising From Counter-
                                                                                          Defendants Not Transferring Saleslink, LLC to
                                                                                          Signature Sales & Marketing, LLC (May 3, 2017);
                                                                                          and testify at trial (June 29, 2017).
  Great Northern Lumber, Inc. v. Illinois      In the Circuit Court of Cook County,       Submit Michael D. Pakter’s Expert Report (August
  Concrete - I.C.I., Inc., et al. and Willow   Illinois, County Department, Chancery      26, 2016); testify at deposition (November 11,
  Electrical Supply Co., Inc. v. Illinois      Division Mechanics Lien Section (Case      2016); and testify at trial (May 16, 2017).
  Concrete - I.C.I., Inc., et al.              No. 2010 CH 41543 Consolidated with
                                               2010 L 66042 and 2011 CH 05114)
  Fona International, Inc. v. Flavor           In the Circuit Court of the Eighteenth     Submit Michael D. Pakter’s Expert Report and
  Concepts, Inc. et al.                        Judicial Circuit, County Department,       Disclosure - Rebuttal of Expert Report and
                                               Chancery Division (Case No. 2010 CH        Disclosure of Melissa A. Bennis - Concerning
                                               3722)                                      Defendants’ Alleged Unjust Enrichment
                                                                                          (September 6, 2016); and testify at deposition
                                                                                          (September 28, 2016).
  Unifin, Inc. v. Van Ru Credit                In the Circuit Court Cook County,          Submit Michael D. Pakter's Expert Report on
  Corporation                                  Illinois, County Department, Law           Unifin's Damages (September 9, 2016).
                                               Division (Case No. 2015 L 2181)
  The People of the State of Illinois v.       In the Circuit Court of Cook County,       Submit Michael D. Pakter’s Expert Report
  Jacquelyn Greco                              Illinois, County Department, Criminal      Concerning the Net Assets of Carl Gaimari Near
                                               Division (Case No. 13MC3001359)            the Date of His Death (October 4, 2016).
                                                                                                                                   40
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  MICHAEL D. PAKTER

  Branko Tupanjac, individually and          In the Circuit Court Cook County,         Submit Michael D. Pakter's Expert Report on
  derivatively on behalf of 233 E. Ontario   Illinois, County Department, Law          Plaintiff’s Damages (September 30, 2016); submit
  LLC v. Ramiro Cazares, a/k/a Tony          Division (Case No. 2013 L 003364)         Michael D. Pakter’s Expert Report Responding to
  Cazares, James Cazares and Ivy Hotel                                                 Joan Bowen’s Letter Dated September 28, 2016
  LLC. (and counterclaims)                                                             (November 21, 2016); and testify at trial (October
                                                                                       26, 30 and 31, 2017).
  Robert Lauciello v. Vince & Sons Pasta     In the Circuit Court of Cook County,      Submit Michael D. Pakter’s Expert Report on
  Company, Robert Okon and Jo Mo             Illinois, County Department, Law          Robert Lauciello’s Lost Compensation (October
  Enterprises                                Division (Case No. 2013-L-002483)         26, 2016); and testify at trial (December 12,
                                                                                       2016).
  Edvard Grinyov v. Igor Maslennikov,        In the Circuit Court of Cook County,      Submit Michael D. Pakter’s Expert Report on
  Vem Transportation, Inc. 303 Taxi          Illinois, County Department, Law          Unnecessary Payments Made By 303 Taxi, LLC To
  L.L.C., Suburban Dispatch LLC, Main        Division (Case No. 2009 L 008192)         Related Entities From 2008 to 2010 (October 14,
  Street Investments LLC, Henry Elizar,                                                2016); and testify at deposition (November 15,
  David Gauer and Eugene Rappaport                                                     2016).
  Stephanie Gentles, Richard Messerly,       In the United States District Court for   Submit Michael D. Pakter’s Expert Report on
  Gregg Brown and David Bair,                the Southern District of Illinois (Case   Healthport Technologies, LLC’s Allegedly
  individually and on behalf of all others   No.: 3:15-cv-00069-DRH-DGW)               Unauthorized Overcharges (December 9, 2016).
  similarly situated v. Healthport
  Technologies, LLC
  Vici Marketing, LLC V. United              In the United States District Court for   Submit Michael D. Pakter’s Expert Report on Vici
  Marketing Group, LLC, Teleformix, LLC      the Northern District of Illinois,        Marketing, LLC’s Past and Future Unpaid Monthly
  and SHC Direct, LLC D/B/A Inte Q or        Eastern Division (Case No.: 1:15-cv-      Commissions (December 22, 2016); update
  Inte Q Global, LLC                         11614)                                    commission calculations; and testify at
                                                                                       deposition (April 9, 2019).
  State Farm Fire & Casualty Company v.      In the Circuit Court of Cook County,      Submit Affidavits (January 18, 2017 and January
  David Brown                                Illinois, County Department, Chancery     25, 2017); and submit Estimate of David Brown’s
                                             Division (Case No.: 16 CH 7201)           Assets, Liabilities, Income and Expenses as at
                                                                                       December 31, 2016 (January 11, 2017).
  La Playita Cicero, Inc., d/b/a Serenata    In the Circuit Court of Cook County,      Submit Michael D. Pakter’s Expert Report
  Restaurant and Bar, and Gerardo            Illinois County Department – Law          Regarding the Opinions of Dr. Gregory Green
  Meza, v. The Town of Cicero                Division (Case No.: 11 CV 1702)           (January 25, 2017).
  Nicholas Nesson, Individually and as       In the Circuit Court of The Twenty-       Submit Michael D. Pakter’s Expert Report On
  Executor of the Estate of Jannette         Third Judicial Circuit Kendall County,    Monies Taken By William Warren Nesson From
  Nesson, deceased; Vilas Buckley            Illinois (Cases No: 09 CH 0261 and        The Nesson Family Agreement And His
  Nesson, Julie Vandover, f/k/a Julie        2014 L 68)                                Accounting Thereof And Related Issues (February
  Nesson; Erika Stoker, f/k/a Erika                                                    13, 2017); submit Michael D. Pakter’s
  Nesson; Abby Jean Alvarez, f/k/a Abby                                                Supplemental Expert Report On Monies Taken By
  Jean Nesson; and Dusty Grant Nesson,                                                 William Warren Nesson From The Nesson Family
  v. William Warren Nesson                                                             Agreement And His Accounting Thereof And
                                                                                       Related Issues (September 11, 2017); and testify
                                                                                       at trial (December 6, 2017).
  Nicholas Nesson, as former Agent in        In the Circuit Court of The Twenty-       Submit Michael D. Pakter’s Expert Report on
  Fact of Jannette Nesson, and as            Third Judicial Circuit Kendall County,    Monies Taken by William Warren Nesson From
  Executor of the Estate of Jannette         Illinois (Case No: 2015-L-76)             the Fidelity “Convenience” Account (February 13,
  Nesson v. William Nesson                                                             2017).
  Nicholas Nesson, Individually and as       In the Circuit Court of The Twenty-       Submit Michael D. Pakter’s Expert Report on
  Executor of the Estate of Jannette         Third Judicial Circuit Kendall County,    Notes Payable to The Estate of Jannette Buckley
  Nesson v. William Nesson                   Illinois (Case No: 2014-L-0067)           Nesson From William Warren Nesson And
                                                                                       Related Matters (February 13, 2017); and testify
                                                                                       at trial (December 6, 2017).
  C&C Power, Inc. and uPower Supplies        In the Circuit Court of Cook County,      Submit Michael D. Pakter’s Expert Report
  LLC, v. C&D Technologies, Inc.;            Illinois, County Department, Law          Responding to the January 16, 2017 Expert
  Diversified Assembly Technologies          Division (Case No.: 09 L 12138)           Report of John R. Bone and Candice K. Quinn
  Corporation; EnXergy, LLC; and Gary                                                  (March 14, 2017); and testify at deposition (April
  Gray                                                                                 6, 2017).




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  MICHAEL D. PAKTER

  Ocean Tomo, LLC v. Jonathan Barney           In the United States District Court for   Issue Preliminary Royalty Audit Report Under the
  and PatentRatings, LLC                       the Northern District of Illinois,        September 1, 2004 License Agreement (May 14,
                                               Eastern Division (Case No.: 12 C 8450)    2014); testify at deposition (March 22, 2017);
                                                                                         submit Michael D. Pakter’s Expert Report On
                                                                                         Royalties and Other Payments Owing By Ocean
                                                                                         Tomo, LLC to PatentRatings, LLC (May 1, 2017);
                                                                                         submit Michael D. Pakter’s Expert Report
                                                                                         Regarding Jonathan Barney’s Member’s Capital
                                                                                         Account, Undistributed Profits And Distributions
                                                                                         Owed To Jonathan Barney Under The Ocean
                                                                                         Tomo, LLC Operating Agreement And Related
                                                                                         Matters (May 1, 2017); submit Declaration of
                                                                                         Michael Pakter (May 12, 2017); testify at
                                                                                         deposition (May 19, 2017); testify at deposition
                                                                                         (June 6, 2017); and testify at trial (July 26-28,
                                                                                         2017).
  Demil Metals, Inc. v. Bedford                In the Circuit Court of Cook County,      Submit Michael D. Pakter’s Expert Report
  Recycling, Inc.                              Illinois, County Department, Law          Responding to the Preliminary Report of Michael
                                               Division (Case No.: 15 L 2694)            Goldman Regarding Accounting and Joint
                                                                                         Venture Profitability (March 27, 2017); testify at
                                                                                         deposition (June 14, 2017); and testify at trial
                                                                                         (September 1, 2017).
  Greg Allen, et al., v. International Truck   In the United States District Court for   Submit Calculation of the Estimated Taxes Owing
  and Engine Corporation, f/k/a Navistar       the Southern District of Indiana,         on Mr. Matthew Whitfield’s Damages Award
  International Corporation                    Indianapolis Division (Case No.: 1:02-    letter (May 2, 2017); and submit Response to the
                                               cv-00902-RLY-MJD)                         FTI Expert Report of the Estimated Taxes Owing
                                                                                         on Mr. Matthew Whitfield’s Damages Award
                                                                                         letter (May 12, 2017).
  David Craig v. Village Greene Phase IV       In the Circuit Court of Cook County,      Submit Michael D. Pakter’s Expert Report
  Condominium Assn. Building C and             Illinois County Department Law            Responding to Stan Smith’s February 28, 2017
  M.W. Roofing and Aluminum                    Division (Case No. 14 L 9567)             Letter Regarding Lost Wages, Benefits and
  Incorporated                                                                           Household Services (May 15, 2015); and testify at
                                                                                         deposition (June 16, 2017).
  John Jamrozik v. Lynda Jamrozik              In the Circuit Court of Cook County,      Submit Michael D. Pakter’s Calculation Report on
                                               Illinois (Case No.: 15 D 8976)            The Fair Market Value of John Jamrozik’s 100%
                                                                                         Ownership Interest in LaGrange Custom
                                                                                         Concrete, Inc. as of December 31, 2016 (June 23,
                                                                                         2017); and submit supplemental letter
                                                                                         (December 9, 2017).
  D5 Iron Works Inc., Richard Lindner,         In the District Court for the Northern    Submit Michael D. Pakter’s Expert Report
  Scott Kudingo, Bill Tonnesen, The            District of Indiana, Hammond Division     Responding to Paul C. Maurin’s March 27, 2017
  Estate of Joe Weil, and Harry Harper v.      (Case No. 16 CV 200 JD PRC)               and March 28, 2017 Letters on D5 Iron Works
  Iron Workers Local 395, AFL-CIO,                                                       Damages Allegedly as a Result of the January
  Thomas Williamson Sr., Jeffrey Veach,                                                  2016 Incident (9.1.2017); and testify at
  Joseph Upchurch and Sean Griswald                                                      deposition (9.6.2017).
  Bluff City, LLC v. Plote Investments, L.P.   In the Circuit Court of Cook County,      Submit Michael D. Pakter's Expert Report on
  et al                                        Illinois (Case No. 15 L 011334)           Total Royalties on Chargeable Aggregates Owing
                                                                                         to Bluff City, LLC for Calendar Years 2008 through
                                                                                         2016 (10.23.2017); testify at deposition
                                                                                         (December 20, 2017); and update royalty
                                                                                         calculations based on additional information
                                                                                         received and Court Orders (February 23, 2018,
                                                                                         March 25, 2019, June 10, 2019 and July 8, 2019).
  Robert Bratton, Individually and On          In the United States District Court       Submit Declaration of Michael David Pakter In
  Behalf of All Others Similarly Situated,     For the Western District of Missouri      Support of Plaintiff’s Motion for Class
  Plaintiff, v. The Hershey Company,           (Civil Action No.: 2:16-cv-4322-C-NKL)    Certification (October 27, 2017); and testify at
  Defendant.                                                                             deposition (December 1, 2017).



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  MICHAEL D. PAKTER

  Halo Creative & Design Limited, Halo         In the United States District Court for   Submit Michael D. Pakter’s Expert Report on
  Trademarks Limited and Halo Americas         the Northern District of Illinois,        Plaintiffs’ Damages (November 7, 2017); submit
  Limited v. Comptoir Des Indes Inc., CDI      Eastern Division, (Case No. 1:14-cv-      Michael D. Pakter’s Supplemental Expert Report
  International, and CDI Furniture             08196)                                    on Plaintiffs’ Damages (December 22, 2017);
                                                                                         testify at deposition (January 4, 2018); and testify
                                                                                         at trial (January 26, 2018).
  Amy Montagnani And Steven                    In the Circuit Court of Cook County,      Testify at deposition as to the following
  Montagnani vs. Advocate Health and           Illinois County Department Law            components of Amy Montagnani’s damages:
  Hospitals Corporation, et al.                Division (Case No. 14 L 2915)             Household Services; Personal Care Services; Past
                                                                                         and Future Medical Costs; and Lost Wages
                                                                                         (November 28, 2017).
  Jeffrey S. Reiniche, et al vs. Andrew M.     In the Circuit Court of Cook County,      Submit Michael D. Pakter’s Rebuttal Expert
  Paul, et al                                  Illinois, County Department, Chancery     Report of the Expert Report of James L.
                                               Division, (Case No. 2013 CH 05368)        McGovern (December 22, 2017); and testify at
                                                                                         deposition (January 16, 2018).
  Wisconsin Central Ltd. v. Soo Line           In the United States District Court for   Submit Michael D. Pakter’s Expert Report
  Railroad Company                             the Northern District of Illinois,        Rebutting the Expert Report of Joseph D. Kenyon
                                               Eastern Division (Case No. 1:14-cv-       and Ryan D. Stretmater (January 16, 2018).
                                               08196)
  In Re John Johnson and LaNitta               In the United States Bankruptcy Court     Submit Michael D. Pakter’s Expert Report in
  Johnson, Debtors, Chapter 7;                 for the Northern District of Illinois     Support of Plaintiff’s Amended Adversary
  Installation Specialists, Inc., v. John      (Adversary No. 14-00856)                  Complaint to Deny Discharge and Other Relief
  Johnson and La Nitta Johnson                                                           (February 7, 2018); and testify at trial (June 26,
                                                                                         2018).
  Knight Capital Partners Corporation v.       In the United States District Court for   Submit Michael D. Pakter’s Expert Report on
  Henkel AG & Company, KGaA                    the Eastern District of Michigan          Plaintiff’s Damages (March 1, 2018); and testify
                                               Southern Division (Case No. 16-12022)     at deposition (May 22, 2018).
  DT Grill, Inc. vs. Bolo and Lulu             In the Circuit Court of Cook County,      Submit Michael D. Pakter’s Expert Report
                                               Illinois County Department Law            Estimating DT Grill’s Property and Business
                                               Division (Case No. 16 L 2646)             Losses as a Result of the April 7, 2011 Fire (March
                                                                                         26, 2018); and testify at deposition (April 10,
                                                                                         2018).
  Daryl White, Jr., Individually and On        In the United States District Court For   Submit Declaration of Michael David Pakter In
  Behalf of All Others Similarly Situated,     the Western District of Missouri (Civil   Support of Plaintiff’s Motion for Class
  Plaintiff, v. Just Born, Inc., Defendant.    Action No.: 2:17-cv-04025-NKL)            Certification (April 1, 2018); and testify at
                                                                                         deposition (May 8, 2011).
  Windy City Distribution Company              In the Circuit Court for the Eighteenth   Submit Michael D. Pakter’s Expert Report (April
  Plaintiff, v. Shelton Brothers Inc. and      Judicial District DuPage County,          6, 2018); testify at deposition (May 29, 2018);
  River North Sales & Service, LLC,            Wheaton, Illinois (Case No. 2012 L        submit Supplementary Expert Report (August 3,
  Defendants                                   000774)                                   2018); and submit Supplementary Expert Report
                                                                                         (October 12, 2018).
  Nicole Hayes, Petitioner, v. Marc            In the Circuit Court of Cook County,      Submit Michael D. Pakter’s Calculation Letter of
  Hayes, Respondent                            Illinois, County Department, Domestic     the Fair Market Value of Nicole Hayes’ 50%
                                               Relations Division (Case No. 15 D 28)     Ownership Interest in Haywill, LLC as of
                                                                                         December 31, 2016 (April 10, 2018).
  Community and Economic                       In the Circuit Court of Cook County,      Submit Michael D. Pakter’s Preliminary Expert
  Development Association of Cook              Illinois, County Department, Law          Opinions on Defendant’s Deviations from the
  County, Inc., (CEDA) v. Washington,          Division (Case No. 2017 L011583)          Standard of Care and Plaintiffs’ Resultant
  Pittman & McKeever, LLC.                                                               Damages (April 24, 2018).
  Frank Schmalz, v. Village of North           In the United States District Court for   Submit Michael D. Pakter’s Expert Report on
  Riverside, Hugh Hermanek, Ken                the Northern District of Illinois (Case   Frank Schmalz’s Lost Earnings and Diminished
  Krochmal, Tom Corgiat, Randy Czajka,         No. 1:13-cv-8012)                         Pension Benefits (May 7, 2018); and testify at
  H. Bob Demopoulos, Rocco Desantis,                                                     deposition (October 4, 2018).
  Vera Wilt and Lane Neimann
  Joel T. Osburn, et al v. Espinal Trucking,   In the United States District Court       Submit Michael D. Pakter’s Expert Report on
  et al                                        Northern District of Illinois, Eastern    Steel Warehouse Inc., Steel Warehouse
                                               Division (Case No. 14 cv 07917)           Company, LLC, and J. H. Jones LLC as of July 21,
                                                                                         2014 (May 15, 2018); and testify at deposition
                                                                                         (July 12, 2018).
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  MICHAEL D. PAKTER

  Locy Electric, LLC v. A2N2, LLC            In the Circuit Court, Fond Du Lac           Submit Michael D. Pakter’s Expert Report
                                             County, State of Wisconsin (Case No.        Responding to Claims of Financial Damages (June
                                             16-CV-453)                                  11, 2018).
  DeGroate Petroleum Service, Inc. v         In the Circuit Court of the Twelfth         Testify at trial (June 28, 2018).
  Illinois Concrete - I.C.I., Inc., et al.   Judicial Circuit, Will County, State of
                                             Illinois (Case No. 11 L 245)
  Michael D. Napoli, Receiver, The Ticket    In the United States District Court         Submit Michael D. Pakter’s Expert Rebuttal
  Reserve, Inc., vs. CBS Corporation.        Northern District of Texas Dallas           Report (June 22, 2018).
                                             Division (Civil Action No. 3:17-cv-
                                             01106-B)
  J&B Signs, Inc. and Chicago Title Land     In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Expert Report
  Trust Company v. Commonwealth              Illinois County Department, Chancery        Determining Plaintiff’s Lost Profits Resulting from
  Edison Company                             Division (Case No. 11 CH 36912)             Defendant’s Trespass (July 9, 2018); issue
                                                                                         supplemental letter (July 26, 2018); and testify at
                                                                                         deposition (July 27, 2018).
  Jean Ann Downey, as Trustee of the         In the Circuit Court of the 18th Judicial   Submit Michael D. Pakter’s Expert Report (July
  Jean Ann Downey Trust dated                Circuit, DuPage County, Illinois (Case      25, 2018); testify at deposition (October 11,
  8/15/1990, v. Downey & Rippe, LLC,         No. 2016 L 000054)                          2018); and testify at trial (July 12, 2019).
  and Trinity Guardion, LLC
  City of Chicago v. City of Harvey,         In the Circuit Court of Cook County,        Submit Forensic Accountant’s Status Report
  Village of Homewood, Village of Hazel      Illinois                                    (August 1, 2018); and submit Forensic
  Crest, Village of Posen, Village of        County Department, Chancery Division        Accountant’s Concluding Report (February 1,
  Dixmoor, Village of East Hazel Crest       (Case No. 12CH44855)                        2019).
  StormTrap, LLC and Worldwide               In the Circuit Court of the 12th Judicial   Submit calculation of David Charles Plummer’s
  StormTrap, LLC V. David Charles            Circuit, Will County, Illinois (Case No.    Expenses Charged to StormTrap Within Specific
  Plummer                                    2016 Ch 00991)                              Categories (September 13, 2018); and submit
                                                                                         updated calculation of David Charles Plummer’s
                                                                                         Expenses Charged to StormTrap Within Specific
                                                                                         Categories (September 24, 2018).
  Cendrowski Corporate Advisors, LLC v.      Before the American Arbitration             Submit Expert Report on the Reasonableness of
  James B. Finkl                             Association (Case No. 01-18-0001-           Claimant’s Billings (September 19, 2018)
                                             5303)
  Bino Oommen, M.D. v. Glen Health           In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Expert Report on Lost
  and Home Management, Inc. et al            Illinois County Division, Law Division      Earnings Resulting from the Improper
                                             (Case No. 2015L007699)                      Termination of Bino Oommen, M.D. in July 2015
                                                                                         (October 12, 2018) and testify at deposition
                                                                                         (November 8, 2018).
  The Endeavor Companies, LLC v.             In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Expert Report for
  VitalTech Consulting, Inc.                 Illinois, County Department, Law            Mediation Purposes Only on Plaintiff’s
                                             Division (Case No. 2018-L-005625)           Compensatory Damages as a Result of
                                                                                         Defendant’s Destruction of Plaintiff’s Database
                                                                                         (October 24, 2018).
  Metromotion Productions, Inc and           In the Supreme Court of the State of        Submit Michael D. Pakter’s Expert Report on
  Daylight Studio, L.L.C., v. Good Light     New York, County of New York (Index         Plaintiffs’ Lost Profits and Extra Expenses
  Studio, Inc., and Good Light Studio 2      No. 150804/2018)                            Resulting from February 1, 2015 Flood
  LLC, James Galloway and Studio with a                                                  (December 31, 2018) and testify at deposition
  View, Inc., and Robert F. Stuart & Co.,                                                (March 11, 2020).
  Inc. and 450 West 31st Owners Corp.
  Ahmed Atar dba Jabri Restaurant vs.        In the Circuit Court of Cook County,        Submit Affidavit (January 14, 2019).
  State Farm Fire and Casualty Company       Illinois
                                             County Department, Chancery Division
                                             (Case No. 2016 CH 11407)
  Sears Home Appliance Showrooms, LLC        In the Circuit Court of Cook County,        Submit Affidavit (March 19, 2019).
  and Sears Outlet Stores, LLC v.            Illinois, County Department, Law
  Charlotte Outlet Store, LLC, et al         Division, Case No. 2012 L 012357-cv-
                                             8478




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  MICHAEL D. PAKTER

  Kathleen Sicher, individually and as the    In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Expert Report on
  Executor and Trustee of the Estate of       County Department, Law Division             Federal and Illinois Estate Taxes That Could Be
  Lawrence Sicher, Michael Sicher and         (Case No. 2017 L001669)                     Avoided but For Defendants’ Alleged Negligence
  Zach Sicher, v. Robert Sternberg,                                                       (January 25, 2019); testify at deposition (August
  Gerald Smoller, Scott Weinstein, and                                                    8, 2019) and issue supplemental expert report
  Kovitz, Schifrim, Nesbit, P.C.                                                          (October 1, 2019).
  Thomas Tynan, individually and dba          In the United States District Court for     Submit Michael D. Pakter’s Expert Report on
  Karbiz v. Nation Motor Club, Inc., dba      the Northern District of Illinois Eastern   NSD’s Lost Profits Resulting from Thomas Tynan’s
  Nation Safe Drivers                         Division, Case No. 1:17-cv-05196.           Breach of Contract (February 15, 2019) and
                                                                                          testify at deposition (March 20, 2019).
  In the Matter of Ingram Micro, Inc.         Jesse White, Secretary of State of the      Submit Michael D. Pakter’s Expert Report
                                              State of Illinois, SOS No. F 5903-883-4,    Regarding Petitioner Ingram Micro, Inc.’s
                                              File No. C-D1-18                            Reporting of a Reduction in Paid-in Capital
                                                                                          Pursuant to Section 9.20 of the Business
                                                                                          Corporation Act of 1983 and Other Aspects of
                                                                                          Ingram Micro, Inc.’s June 20, 2018 Petition and
                                                                                          Request for Administrative Hearing (May 13,
                                                                                          2019).
  Mark Munizzi vs. UBS Financial              Before the Arbitration Committee of         Submit Michael D. Pakter’s Expert Report on
  Services, Inc.                              Financial Industry Regulatory               Claimant’s Lost Earnings Resulting from Improper
                                              Authority Dispute Resolution, Inc.          Termination on April 19, 2018 (May 14, 2019).
                                              FINRA Arbitration No. 18-02179.
  Mark Pent vs. UBS Financial Services,       Before the Arbitration Committee of         Submit Michael D. Pakter’s Expert Report on
  Inc.                                        Financial Industry Regulatory               Claimant’s Lost Earnings Resulting from Improper
                                              Authority Dispute Resolution, Inc.          Termination on April 19, 2018 (June 25, 2019);
                                              FINRA Arbitration No. 18-02012.             and testify at arbitration (November 6, 2019).
  Kurt Kaiser, Suzanne Kaiser, Plaintiffs,    In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Rule 213(f)(3)
  v. MB Real Estate Services, Inc., et al     Illinois County Department, Law             Disclosure Responding to Plaintiffs’ Rule 213(f)(3)
                                              Division, Case No. 2017 L 005900            Disclosure To Defendant MB Real Estate Services,
                                                                                          Inc. (July 12, 2019); and testify at deposition
                                                                                          (September 4, 2019).
  Midwest Valve & Fitting Company v.          In the Circuit Court for the County of      Submit Affidavit (July 29, 2019).
  City of Detroit                             Wayne, Michigan, Case No. CZ
  One Stop Shop Only, Inc., v. All            In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Expert Report
  American Midwest Insurance Brokers,         Illinois, County Department – Law           Determining the Loss of Business Income and
  Inc. and Penn-Star Insurance Company        Division, Case No. 2017-L-012168            Continuing Operating Expenses Arising from the
                                                                                          September 7, 2017 Burglary and Theft at 249 East
                                                                                          115th Street, Chicago IL 60628 (July 19, 2019).
  Norman Rose, as Independent                 In the United States District Court for     Submit Michael D. Pakter’s Expert Report on the
  Administrator of the Estate of Eric Holt,   the Northern District of Illinois,          Decedent’s Loss of Earning Capacity and Loss of
  Deceased v. United States of America        Eastern Division Case No. 18-cv-02927       Value of Household Services Reduced to Present
                                                                                          Cash Value (August 12, 2019); and testify at
                                                                                          deposition (October 7, 2019).
  Advanced Bio Development, Inc. v. Pri-      American Arbitration Association,           Submit Michael D. Pakter’s Expert Report
  Pak, Inc.                                   Case No. 01-18-0004-5899.                   Rebutting the July 26, 2019 Expert Report of Ned
                                                                                          S. Barnes, CPA (August 28, 2019); and testify at
                                                                                          arbitration (September 26, 2019).
  Element Construction LLC and 705-707        In the Court of Common Pleas of             Submit Michael D. Pakter’s Expert Report
  S. 5th Street, LLC v. The Lunar Agency      Pennsylvania; Philadelphia County -         Reviewing and Analyzing Plaintiffs’ $2,776,123
  et al.                                      Civil Trial Division; December Term         Damages Claim (October 1, 2019); and testify at
                                              2017; No. 261; Case ID: 171200261.          deposition (October 7, 2019).
  Sarah Johnson, M.D., v. Alexian             In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Expert Report On the
  Brothers Specialty Group, et al.            Illinois, County Department, Chancery       Improper Calculation of Bonus; the Lost
                                              Division Case No. 17 CH 15351.              Compensation from Wrongful Termination; and
                                                                                          the Loss of Benefits and Business Expense
                                                                                          Reimbursements Under Employment Agreement
                                                                                          (October 18, 2019); and testify at deposition
                                                                                          (January 8, 2020).

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  MICHAEL D. PAKTER

  UL LLC v. ManSeeManWant LLC                United States District Court for the       Submit Michael D. Pakter’s Expert Report
                                             Central District of California Case No.:   Responding to Deborah S. Dickson’s Accountant’s
                                             2:17-cv-08166; transferred to the          Letter (November 13, 2019).
                                             United States District Court for the
                                             Central District of Illinois Case No:
                                             3:2019-cv 03103.
  Casdan, Inc., v. Harold Rosen and          Circuit Court of Cook County, Illinois,    Submit Michael D. Pakter’s Expert Report On
  Wolin & Rosen                              County Department, Law Division,           Plaintiff’s Damages Caused by Defendants’
                                             Case No.2018-L-004362.                     Negligence (November 18, 2019); testify at
                                                                                        deposition (November 26, 2019); submit Michael
                                                                                        D. Pakter’s Supplemental Expert Report On
                                                                                        Plaintiff’s Damages Caused by Defendants’
                                                                                        Negligence (February 24, 2022); and testify at
                                                                                        deposition (March 28, 2022).
  Midwest Real Estate Investment             Circuit Court of Cook County, Illinois     Submit Michael D. Pakter’s Response to Expert
  Company, Atlantic Municipal                County Department, Law Division Case       Report and Disclosure of Mark J. Hosfield
  Corporation and Wheeler Financial,         No. 16 L 12434.                            (December 10, 2019); and testify at deposition
  Inc., v. Robert A. Palasz, CPA.                                                       (December 18, 2019).
  Gary Stittgen, Charles Schnuda, Harry      Circuit Court of Cook County, Illinois     Testify at deposition (December 23, 2019).
  Maisel, Connie Dornan, Leslie Glazier,     County Department, Chancery Division
  and Marguerite K. Dooley, on behalf of     Case No. 14 CH 1892.
  themselves and all other similarly
  situated individuals v. Midwest Realty
  Ventures, LLC D/B/A Prudential
  Rubloff, Home Services Of Illinois, LLC,
  Michael Pierson, Chris Eigel and Nancy
  Nagy.
  Lawrence Scott v. City of Chicago,         In the United States District Court for    Submit Michael D. Pakter’s Expert Report
  Officer Vahl, Officer Barsch, Officer      the Northern District of Illinois,         Responding to Phillip D. Sidlow’s Report (January
  Gentile, et al.                            Eastern Division Case No. 1:15-cv-         27, 2020).
                                             07172
  Christine Babnik v. The Village of         In the United States District Court for    Submit Michael D. Pakter's Expert Report on
  Antioch                                    the Northern District of Illinois,         Officer Christine Babnik’s Lost Wages and
                                             Eastern Division Case No. 1:18-cv-         Diminished Pension (March 10, 2020) and testify
                                             04490                                      at deposition (April 3, 2020).
  International Precision Components         In the Circuit Court of Cook County,       Submit Michael D. Pakter’s Expert Opinions On
  Corporation v. Miller Cooper & Co. Ltd.    Illinois County Department, Law            Defendant’s Deviations from the Standard of
                                             Division, Case No. 2018L010536             Care and Plaintiff’s Resultant Damages (April 13,
                                                                                        2020).
  Raenell T. Crenshaw, as Independent        In the United States District Court for    Submit Michael D. Pakter’s Expert Report on
  Administrator of the Estate of Rev.        the Central District of Illinois, Urbana   Plaintiff’s Loss of Pension, Loss of Foster Income,
  Floyd S. Crenshaw, Deceased, v. United     Division Case No. 2:17-cv-2304             and Lost Value of Household Services, Reduced
  States of America                                                                     to Present Cash Value (June 22, 2020) and testify
                                                                                        at deposition (June 30, 2020).
  Troika Media Group, Inc., Troika-          JAMS New York Arbitration, Reference       Submit Michael D. Pakter’s Expert Report on
  Mission Holdings, Inc., MissionCulture     No.: 1425029686                            Claimant’s Damages (August 3, 2020); submit
  LLC, Mission-Media Holdings Limited,                                                  Michael D. Pakter’s Expert Report, a Rebuttal of
  Mission-Media Ltd., and Mission Media                                                 Daniel Tinkelman’s August 3, 2020 Expert Report
  USA Inc., v. Nicola Stephenson and                                                    on Certain Accounting Matters (August 14, 2020);
  James Stephenson                                                                      and testify at arbitration (October 7-8, 2020).
  Central Carolina Hosiery, Inc. v. The      In the United States District Court for    Submit Michael D. Pakter’s Expert Report On
  Cincinnati Insurance Company,              the Middle District of North Carolina,     Plaintiff’s Lost Profits Resulting From Its
  Defendant                                  Case No. 01:19-cv-1041                     Hurricane Florence Shutdown in September 2018
                                                                                        and Defendant’s Denial of its Insurance Coverage
                                                                                        Claim (October 12, 2020).
  Estate of Harold E. Sippel v. Homestar     In the Circuit Court of the Twenty-First   Submit Michael D. Pakter’s Expert Report
  Bank                                       Judicial Circuit Kankakee County,          Responding to and/or Rebutting the Opinions of
                                             Illinois – in Probate, Case No. 16 P 131   Jerry Kinnan (November 18, 2020); and testify at
                                                                                        trial (March 12 and March 19, 2021).
                                                                                                                                 46
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  MICHAEL D. PAKTER

  Joseph Y. Perlman v. Miriam S Kolodny,       Supreme Court of the State of New           Submit Affidavits (September 17, 2020 and
  Basya R. Ely, John Doe 1-10, and Jane        York, Kings County, Index No.               October 31, 2020).
  Doe 1-10                                     1489/2018

  Douglas Friedrich and James R. Weill, v      Superior Court of New Jersey, Law           Submit Michael D. Pakter’s Expert Report On
  Willow Group Holdings, d/b/a Highline        Division, Essex County, Docket              Counter Plaintiffs’ Lost Profits, Actual Costs, and
  Fashion and Tamar Siedlecki                  number. L-5767-19                           Other Economic Damages Resulting from Counter
                                                                                           Defendants’ Breach of Contract and Lack of Good
                                                                                           Faith and Fair Dealing (November 30, 2020) and
                                                                                           testify at deposition (January 11, 2022).
  Zubair Kazi, and KFC of Pueblo, Inc. v.      In the United States District Court for     Submit Michael D. Pakter’s Expert Report
  KFC US, LLC.                                 District of Colorado, Case No. 1:19-cv-     Rebutting Jeffrey B. Opp’s Opinions On
                                               03300-RBJ                                   Franchisee’s Alleged Lost Operating Income
                                                                                           (December 24, 2020); testify at deposition
                                                                                           (February 4, 2021); submit updated economic
                                                                                           damages calculations (June 24-30, 2021); and
                                                                                           testify at trial (June 30 - July 1, 2021).
  Ash Janssen, Plaintiff, v. Michael           In the United States District Court,        Submit Michael D. Pakter’s Expert Report On BRI
  Reschke and Bobb/AAR, Defendants             Northern District of Illinois Eastern       Holding, LLC’s Inadequate Capital on January 12,
                                               Division, Case No. 17-cv-08625              2015 And Related Matters (January 15, 2020);
                                                                                           submit Michael D. Pakter’s Responsive Expert
                                                                                           Report Responding to the January 15, 2015
                                                                                           Expert Report of Kenneth J. Malek (February 26,
                                                                                           2021); and testify at deposition (March 10, 2021).
  Ali A. Mithani and Golden Jubilee, Inc.      In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Preliminary Expert
  (dba Subway) v. Natividad Almazan            Illinois, County Department Law             Report Responding to the Rule 213(f)(3)
  and Aurelio H. Almazan, Jr.                  Division, Case No. 2017 L 008220            Disclosures Of Murad Fazal and Tom Traina
                                                                                           (January 19, 2021); and testify at deposition
                                                                                           (January 26, 2021).
  Laborers’ Pension Fund, and Laborers’        In the United States District Court for     Submit Michael D. Pakter’s Preliminary Expert
  Welfare Fund of the Health and               the Northern District of Eastern            Report On Plaintiffs’ Claims of Allegedly Unpaid
  Welfare Department of the                    Illinois, Case No. 16 L cv 8043             Union Dues and Liquidated Damages (January 13,
  Construction and General Laborers’                                                       2021).
  District Council of Chicago and Vicinity
  et al v. Murphy Paving and Sealcoating
  and Michael Murphy
  Michael H. Moirano and Moirano               In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Expert Report
  Gorman Kenny, LLC v. Nisen & Elliott,        Illinois, County Department, Chancery       Calculating The Amounts Due Michael H.
  LLC, et al.                                  Division, Case No. 2016 CH 13179.           Moirano Upon His Withdrawal From Nisen &
                                                                                           Elliott, LLC. (January 22, 2021); and testify at
                                                                                           deposition (March 18, 2021).
  USPO Miami, LLC v. Zarco, Einhorn,           In the Circuit Court of the 11th Judicial   Submit Declaration of Michael D. Pakter’s
  Salkowski & Brito.                           Circuit In and For Miami-Dade County,       (January 26, 2021); and submit Supplemental
                                               Florida, Case No. 2019-013121 CA 01.        Declaration of Michael D. Pakter (January 28,
                                                                                           2021).
  Birch Hill Real Estate, LLC et al v. Kevin   In the Circuit Court for Outagamie          Submit Michael D. Pakter’s Preliminary Expert
  Breslin, William G. Burris, Jr., William     County, State of Wisconsin Case No.         Report on Defendants’ Breach of the Master
  G. Burris III, Vincent Tufariello, Mary      2018 CV 001190                              Facilities Lease, Resultant Economic Damages,
  Theresa Khawly, Elia Zois and MidCap                                                     and Related Matters (February 1, 2021); submit a
  Financial Services, LLC.                                                                 supplemental expert report (July 8, 2021); submit
                                                                                           an affidavit (July 8, 2021); submit an affidavit
                                                                                           (July 30, 2021); and testify at trial (September 21,
                                                                                           2021).
  Nicholas Vichio v. US Foods, Inc.            In the United States District Court for     Submit Michael D. Pakter’s Expert Report On the
                                               the Northern District of Illinois Eastern   Lost Earnings of Nicholas Vichio As a Result of His
                                               Division, Case No. 18-cv- 603               Improper Termination (February 1, 2021); and
                                                                                           testify at deposition (May 13, 2021).
  Peter N. Metrou, as Chapter 7 Trustee        In the United States Bankruptcy Court,      Submit Michael D. Pakter’s Expert Report On The
  of the Bankruptcy Estate of Kirk P.          Northern District of Illinois Eastern       Debtor’s Financial Solvency At June 27, 2013
                                                                                                                                     47
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  MICHAEL D. PAKTER

  Mauriello v. Cami Kaczor-Mauriello,         Division, Chapter 7, Bankruptcy No.         (February 19, 2021); and testify at trial (July 28,
  Stephen R. Chura, David Kaczor and          16-34329, Adversary No. 18-00290            2021).
  Old Plank Trail Community Bank, N.A.
  Pioneer General Contractors, Inc., et al,   In the Circuit Court for the County of      Submit Michael D. Pakter’s Expert Report
  v. 20 Fulton Street East Limited            Kent, State of Michigan, Case No.: 18-      Regarding Counter-Plaintiffs’ Economic Damages
  Dividend Housing Association Limited        11072                                       (November 21, 2020); submit Michael D. Pakter’s
  Partnership, et al.                                                                     Supplemental Expert Report Regarding Counter-
                                                                                          Plaintiffs’ Economic Damages (March 8, 20);
                                                                                          testify at deposition (March 29, 2021); and
                                                                                          submit Michael D. Pakter’s Supplemental Expert
                                                                                          Report Regarding Counter-Plaintiffs’ Economic
                                                                                          Damages (June 8, 2021).
  Byrider Franchising, LLC v. JDB Utah,       In the Judicial Arbitration and             Submit Michael D. Pakter’s Expert Report On
  LLC, et al.                                 Mediation Services, Case No.: JAMS-         Counter-Claimant’s Economic Damages (March
                                              1345001472                                  29, 2021, Revised April 19, 2021); submit Michael
                                                                                          D. Pakter’s Expert Report – A Rebuttal of the
                                                                                          Economic Damages Report of Claimant/Counter-
                                                                                          Respondent’s Expert (April 19, 2021); and testify
                                                                                          at deposition (April 30, 2021).
  Hudalla Associates, Inc. v. Bear            In the ADR Systems of America, LLC          Submit Michael D. Pakter’s Rebuttal Expert
  Archery, Inc. and Steve Lemaster            Commercial Arbitration, ADR File No.:       Report (April 23, 2021).
                                              48969CAJH
  In Regarding The Estate of Virginia M.      In the Circuit Court of the 16th Judicial   Submit Gould & Pakter Associates, LLC’s Court-
  Lucania, Deceased, Bruce Lucania v.         District, Kane County, Illinois, Case       Ordered Accounting for Decedent Virginia M.
  Joseph Lucania                              No.: 18-L-000264                            Lucania’s Financial Transactions From January 1,
                                                                                          2011 To Present (April 23, 2021).

  Bondar Insurance Group, inc. v. Starr       In the United States District Court For     Submit Michael D. Pakter’s Expert Report on
  Surplus Lines Insurance, Company and        the Northern District of Illinois,          Plaintiff’s Economic Damages (May 6, 2021) and
  Engle Martin & Associates, LLC              Eastern Division, Case No.: 19-cv-          testify at deposition (October 18, 2021).
                                              03188
  Philip D. Thompson v. Bino Oommen,          In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Expert Report
  M.D.                                        Illinois, County Department, Law            Responding to the Opinions of Colleen M. Kamin
                                              Division, Case No.: 20 L 152                (May 28, 2021); and testify at deposition (June
                                                                                          15, 2021).
  David Feldstein vs. Flack Management        In the Circuit Court of Cook County,        Submit Affidavit (May 28, 2021)
  Holding Company, Flack Steel, LLC, and      Illinois, County Department, Law
  Jeremy Flack                                Division, Case No.: 2019 CH05222
  Annex Wealth Management, LLC v.             In Waukesha County, Wisconsin, Case         Submit Michael D. Pakter’s Expert Report:
  Victor Reckmeyer and Reckmeyer Law,         No.: 2020CV000276                           Defendants’ Response to Plaintiff’s January 6,
  LLC                                                                                     2021 Economic Damages Calculation (June 2,
                                                                                          2021).
  4Front Advisors, LLC v. Greenhouse          In the American Arbitration                 Submit Michael D. Pakter’s Rebuttal Expert
  Group, LLC                                  Association, Commercial Arbitration,        Report (June 14, 2021); testify at deposition
                                              AAA Case No.: 01-19-0004-1387               (June 23, 2021); testify at arbitration (August 19,
                                                                                          2021); and submit Affidavit calculating economic
                                                                                          damages based on arbitral panel’s award
                                                                                          (November 11, 2021).
  Gaging Solutions & Services and             In the Washtenaw County Circuit             Submit Michael D. Pakter’s Preliminary Expert
  Production Services Management, Inc.        Court, State of Michigan, Case No.: 20-     Statement (June 22, 2021); submit Michael D.
  v. Jose Galindo, et al.                     000242-CB                                   Pakter’s Preliminary Expert Report Regarding
                                                                                          Plaintiffs’ Economic Damages (July 26, 2021);
                                                                                          submit Michael D. Pakter’s Revised Preliminary
                                                                                          Expert Report Regarding Plaintiffs’ Economic
                                                                                          Damages (December 7, 2021); and submit
                                                                                          Michael D. Pakter’s Supplemental Preliminary
                                                                                          Expert Report Regarding Defendants’ Unjust
                                                                                          Enrichment (December 30, 2021).

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  MICHAEL D. PAKTER

  Elizabeth Eakin et al. v Jack Tilka, d/b/a   In the Circuit Court of Cook County,       Submit Affidavit (July 13, 2021).
  Jack’s Wholesale Windows, et al.             Illinois, County Department, Law
                                               Division, Case No.: 18 L 1879

  U.S. Bank, et al. v. Krystyna                In The Circuit Court Of Cook County,       Submit Affidavit (August 24, 2021).
  Leszczynska, et al.                          Illinois County Department, Chancery
                                               Division, Case No.: 2013 CH 13110
  Dana Wesolek v. Lauren Wesolek &             In the United States District Court for    Submit Michael D. Pakter’s Expert Report On
  Bryan J. Wesolek                             the Middle District of Florida, Fort       Bryan J. Wesolek’s Taking Of The Net Proceeds of
                                               Myers Division, Case No. 2:19-cv-463-      Wesolek Properties LLC’s Sale of the Lee Street
                                               JES-MRM                                    Building During the Year Ended December 31,
                                                                                          2018 (August 26, 2021)
  Justin Murphy v. Vanguard Marketing          In Arbitration before the Financial        Submit Michael D. Pakter’s Expert Report On
  Corp.                                        Industry Regulatory Authority Dispute      Claimant’s Lost Earnings Resulting From
                                               Resolution (“FINRA”)                       Defamation, Workers’ Compensation Retaliation,
                                                                                          and Improper Termination On July 16, 2019
                                                                                          (September 1, 2021); and testify at arbitration
                                                                                          (September 24, 2021).
  Olympusat, Inc. and Tom Mohler v.            In the United States District Court        Submit Michael D. Pakter’s Expert Report On
  Maria Luz Zucchella                          Central District of California, Case No.   Olympusat’s Economic Damages (September 6,
                                               2:19-cv—07335-DSF-PLA                      2021); submit Michael D. Pakter’s Expert Report
                                                                                          Responding to the Reports of David T. Fractor
                                                                                          and Kathryn Arnold Dated September 6, 2021
                                                                                          (September 20, 2021); and submit Michael D.
                                                                                          Pakter’s Revised Expert Report On Olympusat’s
                                                                                          Economic Damages (September 29, 2021); and
                                                                                          testify at deposition (September 30, 2021).
  Lee Hunt, as the personal                    State Of New Mexico, County Of Santa       Submit affidavit (September 11, 2021).
  representative of the wrongful death         Fe, First Judicial District Court, Cause
  estate of SallyAnn Ulibarri, et al v The     No.: D-101-Cv-2019-03201
  Siegel Group Nevada, Inc. et al
  Touchwerx, Inc., Anthony Uhrick, and         In the Circuit Court for the County of     Submit Michael D. Pakter’s Preliminary Expert
  Marc Drenning v. Edward L. Gatt and          Washtenaw, Case No. 18-914                 Report (October 15, 2021) and Michael D.
  Dynics, Inc.                                                                            Pakter’s Supplemental Preliminary Expert Report
                                                                                          (March 1, 2022).
  Jeffrey Kropp v. National Association of     In the Circuit Court of Cook County,       Submit Michael D. Pakter’s Expert Report On
  Exclusive Buyer Agents, NAEBA                Illinois County Department, Chancery       Plaintiff’s Damages (October 22, 2021) and testify
  Referral Service, Inc., and Richard          Division, Case No. 2017 CH 10576           at deposition (October 27, 2021).
  Harty
  In re: Horizon Group Management, LLC,        In the United States Bankruptcy Court      Submit Michael D. Pakter’s Expert Report On The
  Debtor, Andrew J. Maxwell, Trustee           Northern District of Illinois County of    Debtor’s Solvency and Related Matters (October
  For The                                      Cook, State of Illinois, Case No. 14-      31, 2021) and testify at deposition (January 14,
  Estate of Horizon Group Management,          41230 – Chapter 7                          2022).
  LLC, vs. Daniel Michael et al.
  Greyhunt Holdings LLC and David M.           In the Circuit Court of Cook County,       Submit Michael D. Pakter’s Expert Report On
  Hunt v. Busey Bank as successor First        Illinois, Case No. 17 L 60988              Counter Plaintiffs Economic Damages Resulting
  Community Financial Bank                                                                from Counter Defendant’s Breach of Contract
                                                                                          and Lack of Good Faith and Fair Dealing (July 28,
                                                                                          2020); testify at deposition (January 11, 2021);
                                                                                          and testify at trial (October 12, 2021).
  McAllister Property, LLC v. Fidelity         In the Circuit Court of Cook County,       Submit Michael D. Pakter’s Report Responding to
  National Title Company                       Illinois County Department, Law            Michael LoGiudice’s Report Containing Subject
                                               Division Case No. 2018 L 012212            Matter, Conclusions, Opinions with Bases
                                                                                          Therefore, and Qualifications (November 29,
                                                                                          2021); and testify at deposition (December 17,
                                                                                          2021).
  F. Ned Dikmen and Chicago Title Land         In the Circuit Court of Cook County,       Submit Michael D. Pakter’s Expert Report
  Trust Company, Plaintiffs, v. Peoples        Illinois County Department, Law            Responding to the Supplemental Expert Report
  Gas Light and Coke Company                   Division, Case No. 2017 L 010518           of William A. Polash (December 10, 2021).
                                                                                                                                  49
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  MICHAEL D. PAKTER

  Laura E. Rice, as Special Representative      In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Expert Report on the
  of the Estate of Margaret L. Rice,            Illinois County Department, Law             Financial Condition of Marathon Petroleum
  Deceased, vs. Marathon Petroleum              Division Case No. 18 L 000783               Corporation and Related Matters (December 10,
  Corporation and Manoj Valiathara                                                          2021); and testify at deposition (December 29,
                                                                                            2021).
  Anna K. Nupson v. Schnader Harrison           In the United States District Court For     Submit Michael D. Pakter’s Expert Report On
  Segal & Lewis LLP, et al.                     The Eastern District of Pennsylvania,       Anna K. Nupson’s Economic Damages Assuming
                                                Case No. 2:18-cv-02505-NIQA,                Defendants’ Liability (December 13, 2021); and
                                                                                            submit declaration (March 8, 2022).
  Courtney Loos v. The County of Perry,         In the United States District Court For     Submit Michael D. Pakter’s Expert Report On
  Illinois, et al.                              The Southern District of Illinois, Case     Courtney Loos’ Lost Wages, Vacation Pay, and
                                                No. 3:20-cv-01107-MAB.                      IMRF Pension Benefits (December 15, 2021).
  Noble Desktop NYC, LLC and Mourad             In the American Arbitration                 Submit Michael D. Pakter’s Expert Report On
  Kattan v. American Graphics Institute,        Association, Case No. 01-21-002-2457        Claimant’s Lost Profits As A Result of
  LLC., et al.                                                                              Respondents’ Breach of Contract and Related
                                                                                            Matters (December 20, 2021); testify at
                                                                                            deposition (January 4, 2022); and testify at
                                                                                            arbitration (February 24, 2022).
  Jose Garcia v. Village of Lake Delton, et     In the United States District Court for     Submit Michael D. Pakter’s Expert Report On
  al.                                           the Western District of Wisconsin Case      Plaintiff Garcia’s Damages Resulting From
                                                No. 20 CV 988                               Wrongful Arrest and Unlawful Detention
                                                                                            (December 31, 2021) and testify at deposition
                                                                                            (January 21, 2022).
  Paul Weiss, Kathryn D. Carroll, Keith         In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Expert Report On
  Toriani and Arthur Kramer, v. Kevin M.        Illinois, County Department, Chancery       Plaintiff’s Damages and Defendants’ Lack of an
  Luthringshausen, Zydeco Asset                 Division, Case No. 2020CH07054              Accounting (January 10, 2022)and testify at
  Partners, LLC, et al.                                                                     deposition (February 15+17, 2022).
  Atlantic Recording Corporation, et al.        In the United States District Court of      Submit Michael D. Pakter’s Expert Report In
  v. Spinrilla, LLC and Jeffery Dylan           Georgia Atlanta Division, Civil Action      Response to the Expert Report Of Justin Lewis
  Copeland                                      No. 1:17-CV-00431-AT.                       Dated December 13, 2021 (January 12, 2022) and
                                                                                            testify at deposition (February 10, 2022).
  Lytiesa Little and Reginald Little, v. City   In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Expert Report
  of Chicago and Gloria Tirado                  Illinois County Department, Law             Responding to the Methodology, Conclusions and
                                                Division, Case No. 2018L010146              Opinions of Stan V. Smith (January 20, 2022).
  Rosendo Gonzalez, Chapter 7                   In the Superior Court of the State of       Submit Michael D. Pakter’s Expert Report On
  Bankruptcy Trustee; Nicholas La Roche,        California County of Los Angeles (the       Nicholas La Roche’s Lost Earnings As a Result of
  Plaintiff, v. American Skating                “Complaint for Damages”)                    His Allegedly Wrongful Termination (January 25,
  Entertainment Centers, LLC, et al.                                                        2022).
  Natasha Faison-Williams, v. The United        In the United States District Court         Submit Michael D. Pakter’s Expert Report On Lost
  States of America                             Southern District of New York, Case         Lifetime Earnings Capacity, Related Benefits, and
                                                No. 1:20-cv-08329-GHW                       Household Services (February 7, 2022)
  Averie Steele v. Thames America               In the Superior Court of the State of       Submit Michael D. Pakter’s Expert Report On
  Trading Co., Ltd. et al.                      California County of Alameda, Case          Averie Steele’s Lost Wages as a Result of Her
                                                No. RG19039619                              Allegedly Wrongful Termination (February 8,
                                                                                            2022).
  David B. Kahn & Associates, Ltd. et al.       In the Circuit Court of Cook County,        Submit Michael D. Pakter’s Expert Report On
  v. Harold Ramis Enterprises, Inc. et al.      Illinois, County Department, Law            Amount Due and Owing To David B. Kahn and
                                                Division, Case No. 2016 L 002747            Associates, Ltd. (February 11, 2022).
  Thomas Jester v. Chapin Davis,                FINRA Office of Dispute Resolution,         Submit Michael D. Pakter’s Expert Report On
  Stephanie Elliott, and Thomas                 Case No. 20-02297                           Respondent/Counter-Claimants Economic
  Brubaker                                                                                  Damages (January 3, 2022).
  Furniture Partners Inc., v. Slumberland,      In the American Arbitration                 Submit Michael D. Pakter’s Expert Report On
  Inc., and Slumberland Franchising Inc.        Association                                 Claimant’s Damages (February 15, 2022).
  Therapies 4 Kids, Inc., v. Victoria           In the Circuit Court of the 17th Judicial   Submit Michael D. Pakter’s Expert Report On
  Sobrino-Sanchez, Palm Beach Autism            Circuit in and for Broward County,          Plaintiff’s Damages And Related Matters
  Specialists, LLC, Connecting the Puzzle,      Florida, Case No. CACE-20-007355            (February 18, 2022).
  LLC, Maria Santoro, et al.

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  MICHAEL D. PAKTER

  The EquiTrade Group, Inc. and Jaime   In the Circuit Court of Cook County     Submit Michael D. Pakter’s Expert Report On
  Angulo v. John D. Beam, Margaret M.   Illinois, County Department, Law        Defendant Certified Public Accountants’ Breach
  Hunn and, Rozovics Group, LLP         Division, Case No. 19 L 2342            of Duty of Care, Indicia of Defendant Beam’s
                                                                                Breach of Fiduciary Duty, Issues Regarding
                                                                                Causation, Determination of Damages, and
                                                                                Related Matters (February 14, 2022) ; submit
                                                                                Declaration (March 8, 2022); and testify at
                                                                                deposition (March 24, 2022).
  Stats LLC v. Helen Sun, Ph. D         Before the American Arbitration         Submit Michael D. Pakter’s Expert Report On
                                        Association Case No. 01-20-0014-6637    Claimant’s Lost Earnings Resulting From
                                                                                Improper Termination (August 27, 2021), and
                                                                                testify at deposition (February 28, 2022).
  Women’s Healthcare Of Beverly, Ltd.   In The Circuit Court Of Cook County,    Testify at deposition (March 2 and 10, 2022).
  vs. Steven Ambrose, M.D.              Illinois County Department, Law
                                        Division, Case No. 2015 L 007356
  Timothy R. Schwingle and Bonnie D.    United States District Court for the    Submit Michael D. Pakter’s Expert Report On
  Schwingle, v. The United States of    Western District of New York, Case      Timothy R. Schwingle’s Lost Earnings, Past and
  America                               No. 20-CV-6766                          Future Medical Costs, Value of Household
                                                                                Services, and Related Matters (March 14, 2022).
  Nomad Global Communications           In the Montana Eleventh Judicial        Submit Michael D. Pakter’s Expert Report
  Solutions, Inc. v. Hoseline, Inc.     District Court, Flathead County, Case   Responding to the Damages Opinions Contained
                                        No. DV-15-2020-0000674-DK               in Plaintiff’s Opinions (March 21, 2022).

  March 24, 2022




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                            EXHIBIT B
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Shannon M. Blick v. Ann Arbor Public School District et al.
Summary of Economic Damages - Lost Salary, Benefits, and Pension
Schedule 1.0

                                          Retirement
                                          at age 67

Back Pay through Expected Date of Trial    $    66,384 (1)

Front Pay through age 67                   $   596,334 (1)

Lost Pension                               $   358,589 (1)

Prejudgment Interest                       $     2,201 (1)

Tax Component Award                        $   324,398 (2)

Total Damages                              $ 1,347,906



(1) Schedule 2.0
(2) Schedule 5.0
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Shannon M. Blick v. Ann Arbor Public School District et al.
Summary of Economic Damages - Lost Salary, Benefits, and Pension
Retire at Age 67
Schedule 2.0

Age                                                                    42                42                43                   44                    45

                                                          6/07/2021 -       8/24/2021-
Period                                                    08/23/2021        12/31/2021                  2022 (4)              2023                  2024

Principal Salary/Pension                                   $    23,705 (1) $       39,714 (2) $ 113,605              $    114,855         $      116,119

Teacher Salary/Pension                                     $       -         $     30,045 (3) $       85,946         $     86,892         $       87,847

Lost Salary/Pension                                        $    23,705       $      9,669        $    27,659         $     27,964         $       28,271

Lost Benefits                                              $     1,233 (5) $        1,067        $     3,050 (10)    $      3,084 (10) $           3,117 (10)

Lost Compensation                                          $    24,938       $     10,736        $    30,709         $     31,048         $       31,388

Present Cash Value of Lost Compensation                    $    24,938       $     10,736        $    30,709         $     30,589 (6)     $       30,018

Back Pay through Expected Date of Trial                                                          $    66,384

Prejudgment Interest                                       $     1,664 (7) $          537
                                                           Total           $        2,201

(1) Number of days: 23 + 31+ 23 = 77/365 x 2020 salary of $112,369.
(2) Number of days: 7 + 30 + 31 + 30 + 31 = 129/365 x 2020 salary of $112,369.
(3) Number of days: 7 + 30 + 31 + 30 + 31 = 129/365 x starting salary August 2021 of $85,011.
(4) Beginning in 2022, assumed 1.1% COLA for both Principal and Teacher salary.
(5) Ms. Blick had to pay health insurance for her and her family for four months per Plaintiff's Rule 26(a)(1) Initial Disclosures, page 22.
(6) Discounting begins with 2023, mid-year convention.
(7) Number of days: September 2021 - December 2022 - 30 + 31 + 30 + 31 + 365 = 487/365 x 5%.
(8) ($144,519 +$146,109 + $147,716)/3 = $117,942 x.015 x 42 (Average of highest three years salary x .015 x number of years in Michigan Fund.)
     See Michigan Office of Retirement Services - State Employees Defined Benefit Plan.
(9) ($109,333 +$110,536 + $111,752)/3 = $110,540 x.015 x 42 (Average of highest three years salary x .015 x number of years in Michigan Fund.)
     See Michigan Office of Retirement Services - State Employees Defined Benefit Plan.
(10) Schedule 3.0 (A)
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Shannon M. Blick v. Ann Arbor Public School District et al.
Summary of Economic Damages - Lost Salary, Benefits, and Pension
Retire at Age 67
Schedule 2.0

Age                                                                 46               47               48              49              50


                                                                   2025            2026             2027            2028            2029

Principal Salary/Pension                                $   117,396         $   118,687     $    119,993     $ 121,313       $ 122,647

Teacher Salary/Pension                                  $     88,814        $    89,791     $     90,778     $    91,777     $    92,786

Lost Salary/Pension                                     $     28,582        $    28,897     $     29,214     $    29,536     $    29,861

Lost Benefits                                           $      3,151 (10)   $     3,186 (10) $     3,221 (10) $    3,257 (10) $    3,293 (10)

Lost Compensation                                       $     31,733        $    32,083     $     32,435     $    32,793     $    33,154

Present Cash Value of Lost Salary                       $     29,458        $    28,910     $     28,371     $    27,843     $    27,324
                           Case 2:19-cv-12127-GAD-KGA ECF No. 49-1, PageID.1133 Filed 04/15/22 Page 70 of 83


Shannon M. Blick v. Ann Arbor Public School District et al.
Summary of Economic Damages - Lost Salary, Benefits, and Pension
Retire at Age 67
Schedule 2.0

Age                                                                   51              52              53              54              55              56


                                                                    2030            2031            2032            2033            2034            2035

Principal Salary/Pension                                  $ 123,996          $ 125,360       $ 126,739       $ 128,133       $ 129,543       $ 130,968

Teacher Salary/Pension                                    $    93,807        $    94,839     $    95,882     $    96,937     $    98,003     $    99,081

Lost Salary/Pension                                       $    30,189        $    30,521     $    30,857     $    31,196     $    31,540     $    31,887

Lost Benefits                                             $        3,329 (10) $    3,366 (10) $    3,403 (10) $    3,441 (10) $    3,478 (10) $    3,516 (10)

Lost Compensation                                         $    33,518        $    33,887     $    34,260     $    34,637     $    35,018     $    35,403

Present Cash Value of Lost Compensation                   $    26,814        $    26,315     $    25,825     $    25,344     $    24,871     $    24,407
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Shannon M. Blick v. Ann Arbor Public School District et al.
Summary of Economic Damages - Lost Salary, Benefits, and Pension
Retire at Age 67
Schedule 2.0

Age                                                                 57             58               59                60                61                62


                                                                   2036          2037             2038              2039              2040              2041

Principal Salary/Pension                                 $ 132,408         $ 133,865         $ 135,337        $ 136,826         $ 138,331         $ 139,853

Teacher Salary/Pension                                   $ 100,171         $ 101,273         $ 102,387        $ 103,513         $ 104,652         $ 105,803

Lost Salary/Pension                                      $   32,237        $   32,592        $ 32,950         $   33,313        $   33,679        $   34,050

Lost Benefits                                            $    3,555 (10)   $    3,594 (10)   $   3,634 (10)   $    3,674 (10)   $    3,715 (10)   $    3,755

Lost Compensation                                        $   35,792        $   36,186        $ 36,584         $   36,987        $   37,394        $   37,805

Present Cash Value of Lost Compensation                  $   23,952        $   23,506        $ 23,068         $   22,638        $   22,217        $   21,802
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     Shannon M. Blick v. Ann Arbor Public School District et al.
     Summary of Economic Damages - Lost Salary, Benefits, and Pension
     Retire at Age 67
     Schedule 2.0

     Age                                                                 63               64                  65               66                67


                                                                        2042            2043               2044              2045              2046

     Principal Salary/Pension                                 $ 141,391          $ 142,947          $ 144,519          $ 146,109         $ 147,716

     Teacher Salary/Pension                                   $ 106,967          $ 108,144          $ 109,333          $ 110,536         $ 111,752

     Lost Salary/Pension                                      $    34,424        $    34,803        $    35,186        $   35,573        $   35,964

(10) Lost Benefits                                            $     3,796 (10)   $     3,837 (10)   $     3,879 (10)   $    3,922 (10)   $    3,965 (10)

     Lost Compensation                                        $    38,220        $    38,640        $    39,065        $   39,495        $   39,929

     Present Cash Value of Lost Compensation                  $    21,396        $    20,996        $    20,605        $   20,221        $   19,844




                                                                                 Front Pay 2023-2046, through age 67                     $ 596,334
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   Shannon M. Blick v. Ann Arbor Public School District et al.
   Summary of Economic Damages - Lost Salary, Benefits, and Pension
   Retire at Age 67
   Schedule 2.0

                                       68             69              70         71         72         73         74         75


                                     2047           2048         2049          2050       2051       2052       2053       2054

   Principal Salary/Pension     $ 92,052 (8)   $ 92,052      $ 92,052      $ 92,052   $ 92,052   $ 92,052   $ 92,052   $ 92,052

   Teacher Salary/Pension       $ 69,640 (9)   $ 69,640      $ 69,640      $ 69,640   $ 69,640   $ 69,640   $ 69,640   $ 69,640

   Lost Salary Pension          $ 22,412       $ 22,412      $ 22,412      $ 22,412   $ 22,412   $ 22,412   $ 22,412   $ 22,412
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                      Shannon M. Blick v. Ann Arbor Public School District et al.
                      Summary of Economic Damages - Lost Salary, Benefits, and Pension
                      Retire at Age 67
                      Schedule 2.0

      76         77                                     78            79            80          81           82          83


    2055       2056                                   2057          2058         2059        2060          2061        2062

$ 92,052   $ 92,052 Principal Salary/Pension      $ 92,052     $ 92,052      $ 92,052    $ 92,052      $ 92,052   $ 92,052

$ 69,640   $ 69,640 Teacher Salary/Pension        $ 69,640     $ 69,640      $ 69,640    $ 69,640      $ 69,640   $ 69,640

$ 22,412   $ 22,412 Lost Salary Pension           $ 22,412     $ 22,412      $ 22,412    $ 22,412      $ 22,412   $ 22,412

                                                                                         Lost Pension 2047-2062   $ 358,589
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Shannon M. Blick v. Ann Arbor Public School District et al.
Summary of Shannon Blick's Pay Stubs
Ann Arbor Public Schools - Principal
Schedule 2.1

                                                 2015                2016               2017

Gross Pay                                 $ 99,350.26 (1)     $ 101,309.58 (2)   $ 105,065.04 (3)


Source: Shannon Blick's Ann Arbor Public Schools Lawton Elemenry Pay Stubs


(1) Pay Dates 11/29/2015 - 12/12/2015
(2) Pay Dates 11/27/2016-12/10/2016
(3) Pay Dates 11/26/2017 - 12/9/2017
(4) Pay Dates .11/25/2018 - 12/08/2018
(5) Pay Dates 12/06/2020 - 12/19/2020
(6) Pay Dates 12/05/2021 - 12/18/2021
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       2018               2019               2020              2021

$ 107,888.48 (4)   $ 105,984.43 (5)   $ 112,369.43 (6)   $ 81,862.25 (7)
                        Case 2:19-cv-12127-GAD-KGA ECF No. 49-1, PageID.1140 Filed 04/15/22 Page 77 of 83


Shannon M. Blick v. Ann Arbor Public School District et al.
Lost Benefits
Retire at Age 67
Schedule 3.0


Age                                          42                 43            44            45        46        47        48

                                   8/24/2021-
                                   12/31/2021                 2022 (3)      2023        2024        2025      2026      2027

Cost of Benefits - Teacher         $     2,152 (1)    $ 6,155            $ 6,223    $ 6,291      $ 6,360   $ 6,430   $ 6,501

Cost of Benefits - Principal       $     1,085 (2)    $ 3,105            $ 3,139    $ 3,174      $ 3,209   $ 3,244   $ 3,280

Additional Cost                    $     1,067        $ 3,050            $ 3,084    $ 3,117      $ 3,151   $ 3,186   $ 3,221




(1) Number of days: 7 + 30 + 31 + 30 + 31 = 129/365 x Benefit Cost - Teacher of $6,088.
(2) Number of days: 7 + 30 + 31 + 30 + 31 = 129/365 x Benefit Cost - Principal of $3,071.
(3) Beginning in 2022, assumed 1.1% COLA for both Principal and Teacher Cost of Benefits.
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Shannon M. Blick v. Ann Arbor Public School District et al.
Lost Benefits
Retire at Age 67
Schedule 3.0


Age                                           49              50        51        52        53        54        55


                                           2028           2029        2030      2031      2032      2033      2034

Cost of Benefits - Teacher             $ 6,573       $ 6,645       $ 6,718   $ 6,792   $ 6,867   $ 6,943   $ 7,019

Cost of Benefits - Principal           $ 3,316       $ 3,352       $ 3,389   $ 3,426   $ 3,464   $ 3,502   $ 3,541

Additional Cost                        $ 3,257       $ 3,293       $ 3,329   $ 3,366   $ 3,403   $ 3,441   $ 3,478
                        Case 2:19-cv-12127-GAD-KGA ECF No. 49-1, PageID.1142 Filed 04/15/22 Page 79 of 83


Shannon M. Blick v. Ann Arbor Public School District et al.
Lost Benefits
Retire at Age 67
Schedule 3.0


Age                                          56               57        58        59        60        61        62


                                           2035           2036        2037      2038      2039      2040      2041

Cost of Benefits - Teacher            $ 7,096        $ 7,174       $ 7,253   $ 7,333   $ 7,414   $ 7,496   $ 7,578

Cost of Benefits - Principal          $ 3,580        $ 3,619       $ 3,659   $ 3,699   $ 3,740   $ 3,781   $ 3,823

Additional Cost                       $ 3,516        $ 3,555       $ 3,594   $ 3,634   $ 3,674   $ 3,715   $ 3,755
                        Case 2:19-cv-12127-GAD-KGA ECF No. 49-1, PageID.1143 Filed 04/15/22 Page 80 of 83


Shannon M. Blick v. Ann Arbor Public School District et al.
Lost Benefits
Retire at Age 67
Schedule 3.0


Age                                           63              64        65        66        67


                                           2042           2043        2044      2045      2046

Cost of Benefits - Teacher             $ 7,661       $ 7,745       $ 7,830   $ 7,916   $ 8,003

Cost of Benefits - Principal           $ 3,865       $ 3,908       $ 3,951   $ 3,994   $ 4,038

Additional Cost                        $ 3,796       $ 3,837       $ 3,879   $ 3,922   $ 3,965
                      Case 2:19-cv-12127-GAD-KGA ECF No. 49-1, PageID.1144 Filed 04/15/22 Page 81 of 83


Shannon M. Blick v. Ann Arbor Public School District et al.
Assumptions
Schedule 4.0

Growth Rate                         1.1%       Michigan COLA

Discount Rate                      3.02%       20-year Treasury Rate at April 11, 2022

Discount to                  12/31/2022        Estimated trial date, also used for back pay/front pay split

Ending Salary - Principal    $ 112,369 (1)

Starting Salary - Teacher    $   85,011 (2)

Benefit Cost - Principal     $     3,071 (3)

Benefit Cost - Teacher       $     6,088 (4)

Insurance Cost - 4 months    $     1,233 (5)

Prejudgment Interest                  5%       Provided by Retaining Counsel


(1) 2020 salary per Schedule 2.1.
(2) Email to Shannon Blick from Holly Scherer dated August 12, 2021.
(3) Exceptional - Ann Arbor Public Schools - Current Benefits, Confirmation Statement for Shannon M. Blick - April 12, 2021.
(4) Exceptional - Ann Arbor Public Schools - Current Benefits, Confirmation Statement for Shannon M. Blick - April 11, 2022.
(5) Plaintiff's Rule 26(a)(1) Initial Disclosures.
                            Case 2:19-cv-12127-GAD-KGA ECF No. 49-1, PageID.1145 Filed 04/15/22 Page 82 of 83


Shannon M. Blick v. Ann Arbor Public School District et al.
Summary of Lost Salary, Benefits, and Pension - Tax Component Award
Schedule 5.0

Age                                                                42                42            43

                                                     6/07/2021 -        8/24/2021-
Period                                               08/23/2021         12/31/2021               2022

Principal Salary/Pension                             $      23,705      $    39,714       $   113,605

Federal Income Taxes (1)
   First Tax Brackets                                $       1,990      $     1,990       $     9,615
   Carry forward to next tax bracket                 $       3,805      $    19,814       $    30,055
   Rate                                                        12%              12%               22%
  Incremental tax at bracketed rate                  $         457      $     2,378       $     6,612
    Total Tax                                        $       2,447      $     4,368       $    16,227

Teacher Salary/Pension                               $         -        $    30,045       $    85,946

Federal Income Taxes (1)
   First Tax Brackets                                $         -        $     1,990       $     9,615
   Carry forward to next tax bracket                 $         -        $    10,145       $     2,396
   Rate                                                            0%           12%               22%
  Incremental tax at bracketed rate                  $         -        $     1,217       $       527
    Total Tax                                        $         -        $     3,207       $    10,142

Taxes Saved on Lost Salary/Pension                   $      (2,447)     $     (1,161)     $    (6,085)      $   (9,693)




Amounts Awarded excluding prejudgment interest:
 Back Pay through Expected Date of Trial                                                  $    66,384
 Front Pay through age 67                                                                 $ 596,334
 Lost Pension                                                                             $ 358,589
   Total Award                                                                            $ 1,021,307

Taxable income in year of Award (Teacher Salary/Pension + Award)                          $ 1,107,253

Federal Income Taxes (Teacher Salary/Pension + Award) (1)                                 $   344,233 (2)

Incremental Taxes Paid in Award Year                                                                        $ 334,091 (3)

Total Net Incremental Taxes 2021-2022                                                                       $ 324,398 (4)
                            Case 2:19-cv-12127-GAD-KGA ECF No. 49-1, PageID.1146 Filed 04/15/22 Page 83 of 83


Shannon M. Blick v. Ann Arbor Public School District et al.
Summary of Lost Salary, Benefits, and Pension - Tax Component Award
Schedule 5.0

(1) Federal Income Taxes were calculated using effective rates for 2021 for year 2021 Lost Salary/Pension and 2022 for all other
years. As State taxes in Michigan are a flat rate of 4.25%, there is no related tax component award.
                                                                                                                   First Tax
                                                                        2021 - Married Filing Joint                Bracket
                                                                     $0            $19,900              10%            1,990
                                                              $19,901              $81,050              12%            9,328
                                                              $81,051             $172,750              22%           29,502
                                                             $172,751             $329,850              24%           67,206
                                                             $329,851             $418,850              32%           95,686
                                                             $418,851             $628,300              35%         168,994
                                                             $628,301                                 37.0%

                                                                      2022 - Married Filing Joint
                                                                 $0             $20,550                 10%            2,055
                                                            $20,551             $83,550                 12%            9,615
                                                            $83,551           $178,150                  22%           30,427
                                                          $178,151            $340,100                  24%           69,295
                                                          $340,101            $431,900                  32%           98,671
                                                          $431,901            $647,850                  35%          174,254
                                                          $647,851                                    37.0%
(2) Calculation is: $174,254 + (($1,107,253 - 647,850)*37%)
(3) $344,233 - $10,142
(4) $334,091 + ($9,693)
